                EXHIBIT A




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                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


 SSG SHANE PAGE, et al.                           )
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )           CASE NO. 5:20-cv-00336-D
                                                  )
 BRAGG COMMUNITIES, LLC, et al.                   )
                                                  )
        Defendants.                               )
                                                  )
 ____________________________________

                 SPC SPENSER GANSKE’S AND EMILY GANSKE’S
                  SUPPLEMENTAL JULY 8, 2022 RESPONSES TO
                DEFENDANTS’ FIRST SET OF INTERROGATORIES

       Plaintiffs, SPC Spenser Ganske and Emily Ganske, by and through their undersigned

attorneys, pursuant to Fed. R. Civ. P. 26 and 33, by way of supplementing their prior answers to

the interrogatories propounded by Defendants, state as follows:

       Interrogatory No. 1. State Your full name, address, date of birth, current and past marital

status (including the date(s) of marriage and the full name of your spouse(s) (if applicable), Social

Security number, driver’s license number and cell phone number(s) and email(s) used while

residing at Fort Bragg.


       Answer:

      Plaintiffs object to the interrogatory to the extent it is overbroad, unduly burdensome
and harassing. For example, information about a past marriage outside of the pertinent time
period relevant herein is irrelevant nor likely to lead to the discovery of material and
admissible evidence.

       Without waiving any objections, Plaintiffs state:

       Emily Ganske
       4727 Whitewater Lane



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       Crestview, FL 32539


       910-964-5583
       NC 000049332948
       emilydraehn@gmail.com

       Spenser Ganske
       4727 Whitewater Lane
       Crestview, FL 32539


       910-920-8845
       NC 000045513818
       spenserganske@gmail.com



       Interrogatory No. 2. Identify all persons who are likely to have personal knowledge of

any fact alleged in the pleadings, and state the subject matter of the personal knowledge possessed

by each such person.


       Answer:


      Plaintiffs object to the extent the discovery request would require the disclosure of
information that may only be appropriately disclosed under the auspices of an appropriate
Court-approved confidentiality protective order. Without waiving any objections:

           1. All named Plaintiffs and Defendants, along with the individuals identified in
              their respective initial disclosures and discovery responses.

           2. All current and former tenants/residents of Corvias military housing at Fort
              Bragg during the class period.

           3. Alec & Shelby Tomaszewski
              244 Capital Castle Drive
              Fort Bragg, NC 28307

               The Tomaszewskis were neighbors of the Ganskes and have personal
               knowledge of the housing defects at 246 Castle Drive.

           4. Shelly Draehn
              2135 Old Mill Creek Road


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    Brenham, TX 77833
    979-406-0032

    Ms. Draehn is Emily Ganske’s mother and has personal knowledge of housing
    defects via her communications with the Ganskes. Ms. Draehn also visited
    military housing at Fort Bragg.

 5. Mary Schumpert
    4834 Jaske Rd.
    Brenham, TX 77833
    979-551-0835

    Ms. Schumpert is Spenser Ganske’s mother and has personal knowledge of
    housing defects via her communications with the Ganskes. Ms.Ganske
    Schumpert also visited military housing at Fort Bragg.

 6. John Picerne
    Founder/Chairman of the Board – Corvias
    1405 S County Trail #530
    East Greenwich, RI 02818
    401-228-2800

    Plaintiffs are informed and believe that Mr. Picerne has knowledge related to
    all facets of Corvias’ military housing operations at Fort Bragg.

 7. Patrick Bucolo
    Resident Manager-Corvias
    Fort Bragg

    Plaintiffs are informed and believe that Mr. Bucolo has knowledge related to
    all facets of Corvias’ military housing operations at Fort Bragg.

 8. Leonard Jones
    Resident Manager-Corvias
    Fort Bragg

    Plaintiffs are informed and believe that Mr. Jones has knowledge related to all
    facets of Corvias’ military housing operations at Fort Bragg.

 9. Amber Smiley
    Resident Assistant Manager-Corvias
    Fort Bragg

    Plaintiffs are informed and believe that Ms. Smiley has knowledge related to
    all facets of Corvias’ military housing operations at Fort Bragg.




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 10. Vanessa Hargrave
     Resident Associate-Corvias
     Fort Bragg

    Plaintiffs are informed and believe that Ms. Hargrave has knowledge related
    to all facets of Corvias’ military housing operations at Fort Bragg.

 11. Jenneisha Monroe
     Resident Associate-Corvias
     Fort Bragg

    Plaintiffs are informed and believe that Ms. Monroe has knowledge related to
    all facets of Corvias’ military housing operations at Fort Bragg.

 12. Mallory Dixon
     Resident Service Specialist-Corvias
     Fort Bragg

    Plaintiffs are informed and believe that Ms. Dixon has knowledge related to
    all facets of Corvias’ military housing operations at Fort Bragg.

 13. Kianna Amos
     Resident Service Specialist-Corvias
     Fort Bragg
     Plaintiffs are informed and believe that Ms. Amos has knowledge related to all
     facets of Corvias’ military housing operations at Fort Bragg.

 14. Heather Fuller
     Operations Director- Corvias Management
     1405 S County Trail #530
     East Greenwich, RI 02818
     401-228-2800

    Plaintiffs are informed and believe that Ms. Fuller has knowledge related to
    all facets of Corvias’ military housing operations at Fort Bragg.

 15. Deb Osmanski
     Former Program Office Administrator (Office Manager)
     Corvias-Fort Bragg
     Current Address Unknown
     Current Employer is ER Wagner in Menomonee Falls, Wisconsin
     800-558-5596

    Plaintiffs are informed and believe that Ms. Osmanski has knowledge related
    to all facets of Corvias’ military housing operations at Fort Bragg.




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 16. Michael Melia
     Former Director of Construction – Corvias
     Current Address Unknown
     Current Employer is RQ Construction in Pinehurst, North Carolina
     760-631-7707

    Plaintiffs are informed and believe that Mr. Melia has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 17. Jeremy Stefanko
     Former Senior Maintenance Manager
     Corvias Military Living, LLC
     Current Address Unknown
     Currently Employed by Cumberland County, NC

    Plaintiffs are informed and believe that Mr. Stefanko has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 18. Steve Maxwell
     Former Facilities Director
     Corvias Military Living, LLC
     Current Address Unknown
     Currently Employed by Balfour Beatty Communities in Wetumpka, Alabama

    Plaintiffs are informed and believe that Mr. Maxwell has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 19. Steve Boothe
     Former Director of Facilities Operations
     Corvias Military Living, LLC
     Current Address Unknown
     Currently Employed by Hunt Companies in Providence, Rhode Island

    Plaintiffs are informed and believe that Mr. Boothe has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 20. Charles Connors
     Director of Capital Assets
     Corvias Group
     1405 S County Trail #530
     East Greenwich, RI 02818
     401-228-2800



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    Plaintiffs are informed and believe that Mr. Connors has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 21. Chuck Cavaretta
     Former Vice President of Construction
     Corvias
     Current Address Unknown
     Current Employed by The Cassidy in Winter Haven, Florida

    Plaintiffs are informed and believe that Mr. Cavaretta has knowledge related
    to construction, maintenance, and management of military housing at Fort
    Bragg.

 22. John Shay
     Senior Vice President of Construction & Development
     Corvias
     1405 S County Trail #530
     East Greenwich, RI 02818
     401-228-2800

    Plaintiffs are informed and believe that Mr. Shay has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 23. Cindy Hart
     Assistant Operations Director- Corvias
     Fort Bragg, North Carolina

    Plaintiffs are informed and believe that Ms. Hart has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 24. Mike Sarisky
     Operations Director-Corvias
     Fort Bragg, North Carolina

    Plaintiffs are informed and believe that Mr. Sarisky has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 25. Mark Foraker
     Former Business Director – Corvias (Fort Bragg)
     Current Address Unknown
     Currently Employed by Barvin in Houston, Texas



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    Plaintiffs are informed and believe that Mr. Foraker has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 26. Toni Cornelius
     Professional Engineer-Cornelius Consulting
     4004 Park Avenue
     Wilmington, NC 28403

    Plaintiffs are informed and believe that Ms. Cornelius has knowledge related
    to construction, maintenance, and management of military housing at Fort
    Bragg.

 27. Robert Smith
     Maintenance Manager- Corvias, Fort Bragg
     1405 S County Trail #530
     East Greenwich, RI 02818
     401-228-2800

    Plaintiffs are informed and believe that Mr. Smith has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 28. Robert Leonard
     Facilities Director- Corvias, Fort Bragg
     1405 S County Trail #530
     East Greenwich, RI 02818
     401-228-2800

    Plaintiffs are informed and believe that Mr. Leonard has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 29. John Teague
     Service Center Coordinator- Corvias, Fort Bragg
     51 Skytrain Drive
     Fort Bragg, NC 28307
     910-764-4868

    Plaintiffs are informed and believe that Mr. Teague has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 30. Katie Culbreth
     Service Center Coordinator-Corvias, Fort Bragg



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    51 Skytrain Drive
    Fort Bragg, NC 28307
    910-764-4868

    Plaintiffs are informed and believe that Ms. Culbreth has knowledge related
    to construction, maintenance, and management of military housing at Fort
    Bragg.

 31. Michele Wooten
     Staff Accountant- Corvias
     406 Pershing Ct.
     Fort Riley, KS 66442
     785-717-2244

    Plaintiffs are informed and believe that Ms. Wooten has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 32. Scottie Miller
     Former Senior Manager- Corvias, Fort Bragg
     Current Address Unknown
     Currently Employed by Hunt Military Housing in Austin, Arkansas

    Plaintiffs are informed and believe that Mr. Smith has knowledge related to
    construction, maintenance, and management of military housing at Fort
    Bragg.

 33. Matt Brigman
     HVAC Installer
     Sandhills Heating, Refrigeration & Electrical
     Laurinburg, NC

    Plaintiffs are informed and believe that Mr. Brigman is a maintenance worker
    for an outside vendor who worked on HVAC systems in military houses at Fort
    Bragg, NC.

 34. Scotty Locklear
     J&L Contractors & Maintenance Services
     Pembroke, NC 28372
     910-280-0901

    Plaintiffs are informed and believe that Mr. Locklear has knowledge related
    to construction, maintenance, and management of military housing at Fort
    Bragg.

 35. Elizabeth A. Field



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     Director, Defense Capabilities and Management
     United States Government Accountability Office
     441 G St., NW
     Washington, DC 20548
     202-512-2775

     Ms. Field has knowledge of the GAO’s monitoring of privatized housing
     including analysis of data provided by all 14 private partners. Ms. Field
     authored a report entitled, “Military Housing Privatization: Preliminary
     Observations on DOD’s Oversight of the Condition of Privatized Military
     Housing. Ms. Fields testified on these topics before the Senate Armed Services
     Committee.

  36. Hon. Ryan D. McCarthy
      Former Secretary of the United States Army
      Millennium Corporation
      1400 Crystal Drive, Suite 400
      Arlington, VA 22202
      703-436-1343

     As part of his duties as Secretary of the Army, Mr. McCarthy monitored the
     status and condition of military housing. He visited Army installations across
     the country to observe the condition of military housing, including a visit to
     Fort Bragg in September 2020. Following his visit, McCarthy stated, "What
     you saw over time is an abdication of responsibility. We outsource this to a
     corporation. That's the danger when you set up these public-private
     partnerships. Over time, you get lazy. As an institution, we got lazy. The wake-
     up call came two years ago. It is embarrassing and it is awful”.

  37. Col. Phillip Sounia
      Former Garrison Commander- Fort Bragg
      United States Army
      Address Unknown

  38. Senator Elizabeth Warren
      309 Hart Senate Office Building
      Washington, DC 20510
      202-224-4543

     Senator Warren investigated military housing companies and submitted a
     written report dated April 30, 2019.

  39. Shannon Razsadin
      Executive Director of Military Family Advisory Network
      22015 W. 66th St.
      Unit 860635



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     Shawnee, KS 66286
     202-821-4195

     Ms. Razsadin and MFAN released a report that over 67% of all Bragg families
     surveyed reported manifest effects from maintenance, repairs and
     remediation.

  40. Heather Beckstrom
      Current or Former Tenant/Resident
      Address Unknown
      bckstromheather@gmail.com

     Ms. Beckstrom has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  41. Stephanie Blackadar
      Current or Former Tenant/Resident
      Address Unknown
      juggalatis@hotmail.com

     Ms. Blackadar has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  42. Jessica Brueck
      Current of Former Tenant/Resident
      Address Unknown
      Jessica.lynn.brueck@gmail.com

     Ms. Brueck has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  43. Regan Burke
      Current or Former Tenant/Resident
      Address Unknown
      morethanamilkmaid@yahoo.com

     Ms. Burke has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  44. Courtney Burks
      Current or Former Tenant/Resident
      Address Unknown
      courtflavin@yahoo.com

     Ms. Burks has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.



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  45. Cacee Cobarrubia
      Current or Former Tenant/Resident
      Address Unknown
      Cacee.nesbit93@yahoo.com

     Ms. Cobarrubia has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  46. Shyla Curry
      Current or Former Tenant/Resident
      Address Unknown
      Shylacurry98@gmail.com

     Ms. Curry has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  47. Marissa Dilliard
      Current or Former Tenant Resident
      Address Unknown
      Marrissa.dilliard@gmail.com

     Ms. Dilliard has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  48. Pennalla Evans
      Current or Former Tenant/Resident
      Address Unknown
      Mrsevans3013@gmail.com

     Ms. Evans has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  49. Vicki Ragsdale
      Current or Former Tenant/Resident
      Address Unknown
      Mrsforcier1031@gmail.com

     Ms. Ragsdale has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  50. Tia Geisler
      Current or Former Tenant/Resident
      Address Unknown
      Tia.c.geisler@gmail.com




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     Ms. Geisler has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  51. Julie Hilliard
      Current or Former Tenant/Resident
      Address Unknown
      Juliehilliard23@gmail.com

     Ms. Hilliary has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  52. Sarah Lenox
      Current or Former Tenant/Resident
      Address Unknown
      Sarahjclark1747@gmail.com

     Ms. Lenox has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  53. Jacqueline Haven Lyons
      Current or Former Tenant/Resident
      Address Unknown
      havenbrandhorst@gmail.com

     Ms. Lyons has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  54. Chanda Martin
      Current or Former Tenant/Resident
      Address Unknown
      Chandamartin279@gmail.com

     Ms. Martin has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  55. Emya Roberts
      Current or Former Tenant/Resident
      Address Unknown
      Emyareneerob15@gmail.com

     Ms. Roberts has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  56. Tamara Terry
      Current or Former Tenant/Resident
      Address Unknown



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     Jcm72611@gmail.com

     Ms. Terry has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  57. Amber Woollett
      Current or Former TenantResident
      Address Unknown
      amberdw@live.com

     Ms. Woollett has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  58. Sabrina Collins
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Collins has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  59. Danielle Olson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Olson has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  60. Tara Michelle
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Michelle has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  61. Ashlee Monzalvo
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Monzalvo has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  62. Toby DeJoinville
      Current or Former Tenant/Resident
      Current Contact Information Unknown




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     Ms. DeJoinville has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  63. Amber Lace
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Lace has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  64. Courtney Wong
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Wong has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  65. Alexis Danielle Martin
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Martin has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  66. Liz Stitt
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Stitt has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  67. Taylor Hinshaw
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Hinshaw has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  68. Cassandra Manis
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Manis has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  69. Lillian Bradford



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     Current or Former Tenant/Resident
     Current Contact Information Unknown

     Ms. Bradford has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  70. Lorena Butler
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Butler has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  71. Jennalynn Apedaile Thomas
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Thomas has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  72. Danielle Jackson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Jackson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  73. Lee Nash
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Mr. Nash has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  74. Tyler Cissna
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Cissna has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  75. Jessica Lynn Brueck
      Current or Former Tenant/Resident
      Current Contact Information Unknown




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     Ms. Brueck has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  76. Alena Martinez
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Martinez has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  77. Meagan Heady Solorzano
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Solorzano has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  78. Sharon Land
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Land has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  79. Taylor Bryant
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Bryant has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  80. Jessica Allen
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Allen has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  81. Jennifer Burt
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Burt has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  82. Briana Kramp



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     Current or Former Tenant/Resident
     Current Contact Information Unknown

     Ms. Kramp has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  83. KayKay Jackson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Jackson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  84. Hannah Gagnon
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Gagnon has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  85. Cat Billet
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Billet has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  86. JayBee Bar
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Bar has personal knowledge of housing defects based on her experience as
     a tenant/resident of Corvias at Fort Bragg, NC.

  87. Jayla Garcia
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Garcia has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  88. Kayla Reed
      Current or Former Tenant/Resident
      Current Contact Information Unknown




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     Ms. Reed has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  89. Brittany Opsomer
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Opsomer has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  90. Kaytlin Erickson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Erickson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  91. Amanda Anderson
      Current or Former Tenant/Resident
      Address Unknown
      a.anderson0228@gmail.com

     Ms. Anderson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  92. Amy Lohrenz and Major Michael Lohrenz are former residents. These
      individuals may have knowledge as per their lawsuit, see Lohrenz v. Bragg
      Communities, LLC, No. 5:2022cv00044 (E.D.N.C.).


  93. Plaintiffs in the Addi case and witnesses identified in that case may have
      knowledge regarding Corvias business operations, customer service, repair
      and maintenance practices, which while occurring at Fort Meade in Maryland
      could be relevant insofar as they reflect common corporate practices that were
      also used and imposed at Fort Bragg. See Addi v. Corvias Management-Army,
      LLC, No. 1:2019cv03253 (D. Md.).




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      Supplemental Answer dated 5/6/22:

DESIGNATED AS CONFIDENTIAL PER PROTECTIVE ORDER


CONFIDENTIAL - REDACTED




NONCONFIDENTIAL:

        Hannah Hurd, Assistant Resident Manager at Corvias, Fort Bragg, North Carolina,
United States. May have knowledge regarding Corvias property management practices.
States that she oversees a team of five in the Pope and Ardennes communities.

      Don Agel, Agel’s Home Inspections, Fayetteville NC. Phone: (910) 224-5076. May
have knowledge regarding repair, maintenance, tenant service issues.

        Wina Hathaway. Employed in contracts and vendor management with Corvias, at
Fort Bragg, since 2014. May have knowledge regarding repair, maintenance, tenant service
issues.

      PFC Anthony Blankenship, wife Brittney, son Jason. Per news reports, this family
moved to Fort Bragg in August 2018:


                                     19
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        Pfc. Anthony Blankenship points to mold on the grout of his bathroom and a
        greenish mildew stain around the tiles next to the toilet.

        "That's kind of a mold pattern growing underneath," he says. "Workers at
        times just put new grout over the mold. At times, contractors wouldn't show
        up at all for problems ranging from clogged plumbing to faulty ventilation
        ducts."

        "We'd call again, and they'd say we don't have any recollection you put in a
        work order," says Blankenship, who moved into this ranch-style house at Fort
        Bragg, N.C., back in August with his wife, Brittney, and their toddler, Jason.
        "A lot of families, unfortunately, their house is worse than ours," says
        Brittney. 1

         Heath Burleson. Corvias Partnership Advisor. Public biography shows intimate
involvement in Corvias MHPI matters. 2 Corvias materials state that in 2019 he was one of
the key executives who belatedly agreed that Corvias would fund $325M in direct investment
into its Army portfolio in order to remedy the longstanding housing problems. According to
Corvias, as the Senior Vice President of Operations, he was responsible for the oversight and
management of Corvias’ managers across the Army and AF portfolio. In 2018 he assumed
the role of Partnership Advisor for the Corvias Property Management portfolio which has a
2020 annual budget of $435M and development/construction budget of $335M.

      Mark Esper. In his role as Secretary of Defense, Esper went on record regarding the
poor housing conditions. Examples:

        "In too many cases, it is clear the private housing companies failed to uphold
        their end of the bargain, a failure that was enabled by the Army's insufficient
        oversight," Esper said. "We are determined to investigate these problems and
        to hold our housing contractors and chains of command accountable." 3

      SGT Terry Blood and wife, Krysta. Tenants of the Corvias housing at Fort Bragg.
Ms. Blood may have subsequently been hired by Corvias. Their complaints are described in
news articles:

        Sgt. Terry Blood and his wife, Krysta … showed the shoddy repairs at their
        house at Fort Bragg.

        Krysta points to the ceiling inside a closet in her garage. She says a
        subcontractor just plastered over what is a widening stain from a leak that has
        also damaged the floor. The source of the leak is the bathtub.

1
  https://www.cpr.org/2019/03/08/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders/
2
  https://www.congress.gov/116/meeting/house/110611/witnesses/HHRG-116-AP18-Bio-BurlesonM-20200303.pdf
3
  https://apnews.com/article/2f34561f12c743ec8ef349becd9c0802.


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        "For four years, that tub water has been leaking from children's baths," she
        says. "Can you imagine what kind of water has been in between the floors for
        that time?"

        Are their friends having troubles as well?

        "Pretty much the exact same issues," says Terry Blood. "Actually one of our
        friends right across the street, they just got surveyed, and they have found
        cracks. In the summer months they have grass growing up through their
        floor." 4

       Col. Kyle Reed, Fort Bragg Garrison Commander. May have knowledge regarding
the Corvias MHPI involvement at Fort Bragg. Should have knowledge regarding the fallout
from the press coverage, publicity and Congressional hearings occurring in 2018-19,
including steps the Army forced Corvias to take to remedy matters. 5

       Greg Jackson, Chief of Housing, Fort Bragg, Directorate of Public Works. May have
knowledge regarding the Corvias MHPI involvement at Fort Bragg. Should have knowledge
regarding the fallout from the press coverage, publicity and Congressional hearings
occurring in 2018-19, including steps the Army forced Corvias to take to remedy matters.
Has knowledge regarding how in the past, residents thought Housing (Army) and Corvias
were synonymous (which would tend to disincentivize soldiers from complaining). 6

       Krista Lindholm. Fort Bragg tenant. May have knowledge of housing problems at
Fort Bragg. Quoted as saying: "I've seen the mold, and it's legit," Krista Lindholm said of
mold in a neighbor's house. "They're sick, their kids are sick and housing is just not coming
and dealing with it." 7

      Donnie R. Smith, Maintenance Manager at Corvias. May have knowledge regarding
Corvias repair and maintenance practices. Contact information: Administrator, Dual
Impact LLC, Fayetteville, North Carolina; Donnie Smith Construction, LLC, 426 North
Whittington Lane, Dunn, NC, donniecsmith@embarqmail.com, (910) 890-3660, (910) 897-
4847.

     Lisa Sanford. She was an assistant property manager, Corvias, Fort Bragg, 2005 to
November 2017. She may now be working as a community manager in the Raleigh area.

     Marcy C. Woodard. 2908 Winton Drive, Fayetteville NC. Employed as an IT service
manager at Corvias, Fort Bragg, November 2017 to present. Previously employed as an IT

4
  https://www.wamc.org/2019-03-07/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders.
5
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
6
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
7
  https://www.wral.com/soldiers-families-complain-to-tillis-about-fort-bragg-housing/18662015/


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management lead (2015-17), a network administrator (2010-2015) and as a desktop
administrator (2006-2010), and resident service specialist (2005-06) for Corvias/Picerne.

       Peter Sims, managing director for Corvias. He has knowledge regarding Corvias
being compelled to install HVAC replacements and other renovations at 5,300 homes at Fort
Bragg. 8 This renovation work was being done as part of Corvias’ agreement to pay $325
million toward housing improvements subsequent to the late 2018 Reuters news article and
resultant controversy and Congressional hearings.

       Taylor Padgett. Fort Bragg Corvias housing resident. Complained of mold problems
in her housing occurring since February 2021.

        As the problem got worse, she hired an independent home inspector who went
        through the house and found major issues with the maintenance of the home.
        He said they contributed to the mold problem.

        “We found a bunch of damage issues with the exterior and roofing problems,”
        said Don Agel of Agel Home inspections. “There was cracked brick veneer
        allowing water to get into her child’s playroom.”

        He also found problems with the water heater and stove.

        “There is a natural gas leak at the water heater and a natural gas leak at the
        oven,” Agel said.

        The Padgett family is currently in an on-post hotel while the property
        management company makes repairs. 9

      Mary Humphreys. Corvias corporate spokesperson. Denied that there were any
problems at the Padgett’s residence.

      Fort Bragg Garrison Command Sgt. Major Jeffery Loehr. May have knowledge
regarding the MHPI housing program and the Corvias housing issues.

      Regan Burke. Fort Bragg Corvias home tenant. Complained of mold problems with
her Corvias home:

        Regan Burke’s family was moved to two different temporary houses on-post
        since September 2020 after mold was found all over her original house.

        Burke said a military inspector from on-post said the home “was
        uninhabitable.”


8
 https://www.corvias.com/news/corvias-updates-more-85-percent-fort-bragg-homes
9
 https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/


                                       22
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           Last week, the family was finally placed into new permanent housing but was
           still trying to get someone to pay for the replacement of their mold-infested
           possessions.

           Regarding the problems being experienced Padgett, Burke, and other
           homeowners, Loehr said: “As the housing property management, Corvias is
           responsible for ensuring prompt and professional maintenance. 10

        Unidentified Corvias employee, first name Leonard. Leonard was a gentleman who
called into CSPAN to speak about how he was working for Corvias when he was fired from
his job at Fort Bragg in 2019. He called on or about July 22, 2019 to complain that he was
being unjustly blamed for the housing issues. He said he was age 67; that it was a shame how
the residents were treated; that he and other employees lost their jobs; that the company was
trying to make the workers feel it was their fault; that they did what they had to do to keep
their jobs; that he was there for 10 years; and that he knew what these military wives were
talking about. 11

        Authors of the Army Inspector General Report, Report ID-1903, Feb.-March 2019. 12
The report found that family concerns about health and safety issues in military housing are
widespread, revealing systemic problems with relationships between the Army and housing
contractors. The government’s current oversight of these projects was insufficient to identify
housing challenges. Inspectors found there was lack of joint authority, confusion regarding
roles and responsibilities, lack of training, dramatic personnel cuts and lack of transparency
among privatized housing companies. Inspectors uncovered a 2013 Army policy that
specifically prohibited health and welfare inspections of military housing. Two-thirds of the
1,180 residents of military privatized housing communities who participated in the IG survey
stated they were dissatisfied with their overall housing experience. Sixty-four percent said
they would move off post if there were no financial costs or concerns, according to the report.
The review was ordered by then-Secretary of the Army Mark Esper in the wake of reports
about widespread problems of mold, water leakage, vermin infestations and other problems
in military housing. 13

Supplemental Answer dated 7/8/22:
Please note the following corrections to the response to Interrogatory 2:

           3.      Alec & Shelby Tomaszewski
                   244 Castle Drive
                   Fort Bragg, NC 28307



10
  https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/
11
  https://www.c-span.org/video/?c4809169/user-clip-corvias-employee-fired-called-report-
unjustly-blamed-housing-issues
12
     https://www.army.mil/e2/downloads/rv7/families/releaseable-housing-inspection.pdf
13
     https://www.upandcomingweekly.com/local-news-briefs/6565-military-housing-still-a-problem


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       The Tomaszewskis were neighbors of the Ganskes and have personal knowledge of
       the housing defects at 246 Castle Drive.

       5.      Mary Schumpert
               4834 Jaske Rd.
               Brenham, TX 77833
               979-551-0835

       Ms. Schumpert is Spenser Ganske’s mother and has personal knowledge of housing
       defects via her communications with the Ganskes. Ms. Schumpert also visited military
       housing at Fort Bragg.

       Interrogatory No. 3. State in detail Your employment history for the last ten (10) years.

For all military service, identify where You were stationed, where You resided while stationed

there, and Your duties and responsibilities at each station.


       Answer:

        Plaintiff objects to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiff
further objects on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

       1.     Emily Ganske: Ms. Ganske was in the past a bartender at “Chilis” Restaurant
in both Fayetteville, NC and Brenham, TX. She was also a bar manager at “Houlihan’s” in
Conroe, TX. She was also a bartender at the Cactus Lounge in Willis, TX. Ms. Ganske has
been a stay-at-home mother for the past approximately three years.

       2.      Spenser Ganske: Spenser Ganske has been in the United States Army for the
past approximately six years. Spc. Ganske’s first duty station was at Fort Bragg where he
resided with Emily Ganske and their minor child. Ganske was with the same Army unit
during his entire assignment at Fort Bragg. His duties were and are related to training
against chemical warfare. The Ganskes first resided off-base at 303 Whipple Tree Lane,
Fayetteville, NC, 28314, then moved on base to 246 Castle Drive, Fort Bragg, NC, followed
by a short duration at 509 Northampton Road, Fayetteville, NC, 28303. Ganske’s next duty
station is Eglin Airforce Base where Spc. Ganske’s special forces group is based with the
Army. His duties remain related to chemical warfare defenses. The Ganskes moved to
4727 Whitewater Lane, Crestview, FL 32539. Prior to enlisting, he was employed at the
Apple Ford Dealership in Brenham, TX, for mechanical work. Prior to the Army, Ganske
was also employed as a “disposal hand” at Key Energy.




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       Interrogatory No. 4. Identify where You have lived in the last ten (10) years including the

address, the dates You resided there, whether it was a single family or multifamily structure,

whether You owned or rented/leased the residence, and the name and contact information of any

owner, lessor and/or property manager if you rented/leased the residence.


       Answer:

        Plaintiff objects to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiff
further objects on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

       Prior to their marriage and moving to Fort Bragg with Spenser Ganske in 2018, Emily
Ganske resided at 800 Marie Street, Brenham, TX. Previous to that, Emily Ganske rented
a home in Conroe, TX, but does not recall the address given it was so long ago. Emily Ganske
does not recall the owner and/or property managers given it was so long ago.

       Prior to enlisting in the Army and moving to Fort Bragg, Spenser Ganske rented a
house in Brenham, TX, but does not recall the address given it was so long ago. Spenser
Ganske does not recall the owner and/or property managers given it was so long ago.

      The Ganskes first resided off-base at 303 Whipple Tree Lane, Fayetteville, NC, 28314,
then moved on base to 246 Castle Drive, Fort Bragg, NC, followed by a short duration at 509
Northampton Road, Fayetteville, NC, 28303.

Supplemental Answer dated 5/6/22:

Emily Ganske, pre-marriage:

        800 Marie Street, Brenham, TX 77833. Emily Ganske rented the home. (Spenser did
not live there; nor did     . She does not have a personal recollection of who was the owner,
lessor, or property manager. According to public records information, this is a single-family
home; this property has approximately 1,768 square feet of floor space; it was built in 1995;
the current record owner is Damian K. Jemaa, 1403 Salem Court, College Station TX 77845.

Spenser Ganske, pre-marriage:

       Spenser resided in Brenham, Texas prior to Fort Bragg. He cannot exactly recall his
addresses in Brenham TX; he was renting. Spenser Ganske’s Lexis report reflects the
following two home addresses in Brenham, TX which are also in his voter registration
data: 411 Hilltop Acres Lane; 1602 S. Austin Street (3 bedroom, 1 bath per Zillow); in


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Brenham TX 77833. Voting registration information reflects he was living at the S. Austin
Street address as of 2006-08; and the Hilltop Acres address.

Fayetteville/Fort Bragg:

       Spenser moved from Texas to 195 Ashley Street, at Fort Bragg, and he lived there for
6 or 7 months, in 2016. That was a Corvias address. He had a dependent showing;           .
But it was simply Spenser living there. Emily was still back at 800 Marie Street, with    .

       The next home, at 303 Whipple Tree Lane, Fayetteville NC 28314 was a single-family
residence. The home was rented. Spenser, Emily and           all lived there together. The
Ganskes do not recall the landlord’s name. The current Cumberland County GIS
information for the address shows the following owner information: Chadwick Bukle, PSC
10 Box 165, FBO, AE 09589. Public record information reflects the house has two bedrooms
and two baths. The Ganskes lived there around the 2017-2018 time period.

       Then, they moved to the subject Corvias home at 246 Castle Drive, Fort Bragg,
NC 28307. This was part of a triplex. Spenser and Emily lived there with their daughter,
Kira. They rented from Corvias. The time period was from Sept. 2018 onward until when
they left – Corvias would have the exact dates. Bragg Communities, LLC was the owner.
Corvias Management Army, LLC was the landlord. The Ganskes lived there until they
moved out to Northampton Road.

       Next, the family moved to 509 Northampton Road, Fayetteville, NC 28303. According
to public record information, this is a single-family home with three bedrooms and two
bathrooms, and the current record owner is Darling Peguero. A deed recorded for the sale
of the Northampton Road property to the Ganskes as buyers reflects a date of 6/2/21 and
that the document was recorded at Book 11141, Page 642, Cumberland County Register of
Deeds. Lender was Movement Mortgage LLC. An assessment record recorded at Book
11104, Page 197 reflects the lender was Freedom Mortgage. The home was owned by the
Ganskes. They resided there with their daughter,

Current address:

        4727 Whitewater Lane, Crestview, FL 32539-5756. Per public records information,
this is a single family dwelling with three bedrooms and two baths. It is owned by the
Ganskes. They live there with their daughter. They have lived there from Jan. 29, 2022 to
present.

Supplemental Answer dated 7/8/22:

Fayetteville/Fort Bragg:

       Spenser moved from Texas to 195 Ashley Street, at Fort Bragg, and he lived there
for 6 or 7 months, in 2016. That was a Corvias address. He had a dependent showing;
       But it was simply Spenser living there. Emily was still back at 800 Marie Street and



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      was living with Spenser’s mother. This corrects an inadvertent misstatement from
the Supplemental Answer dated 5/6/22.

       Interrogatory No. 5. Describe in detail any inspection, remediation, maintenance and/or

repairs related to housing or habitability issues, including but not limited to mold, water intrusion,

water leakage, water seepage, or flooding You experienced at any address identified in Your

previous answer, including all communications and actions that You or others took in response.


       Answer:

       Plaintiffs object to the extent that the interrogatory is overly broad and unduly
burdensome and seeks information neither relevant nor likely to lead to the discovery of
admissible evidence, including to the extent that the discovery requests seeks information
predating the relevant class period.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are informed and believe that Defendants possess all inspection,
remediation, maintenance and/or repair records that are responsive to this request.
Plaintiffs further make reference to the facts alleged in the Amended Complaint. Plaintiffs
also add the following:

       The Ganskes moved on-base at Fort Bragg in September of 2018. They were not able
to view the home before they moved in.

      Corvias, the landlord, had the Ganskes to come sign the lease to secure the home, but
the Ganskes never actually saw the home until they got the keys.

       In or about October 2018 was when the Ganskes started calling Corvias to have
multiple work orders put in on things that were wrong with the home.

      They had squirrels living in the attic, and they could smell the urine and odor soaking
through their roof in the living room area.

       They noticed mold in their daughter’s upstairs bedroom and bathroom windows.

       There was a huge crack in their ceiling going down the wall.

        The carpet was not replaced and it was filthy with a couple of bleach spots, nails
sticking out through the carpet, and with the surface of the carpet coming up in certain places
in the home.

       And none of the plug-ins in all of the bathrooms in the house worked.


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       After the Ganskes called those work orders in, they waited until April 2019 to
complain and ask why none of the work had been completed. It turned out that the lady
working at the Corvias “community center” never actually put their work orders in, or,
everything got deleted when they had a change in management.

      After that, it was a fight for the family to get anybody from Corvias to come do
anything in the house.

       Mrs. Ganske put in a work order to have their ducts cleaned because no one ever
showed up to clean theirs when it was scheduled for the routine cleaning in April 2019. The
workers who showed up to do the work only did half of the vents. The other ones they said
they could not get in to work on and so, they promised that they would be back to finish that
part at a later time. They never came back, and when confronted, denied saying and doing
that.

        The Ganskes were still getting bad smells in the home to where Mrs. Ganske had to
keep candles or wax warmers lit in the house 24/7. But no one came and checked out the
attic or elsewhere to see why the family was smelling bad things in the home.

       In June 2019, Mrs. Ganske requested to have an air quality test done in the home to
see what was going on. In July, the Ganskes got a phone call from a lady at the community
center asking questions to get the air quality test completed for them. Then the testing never
happened.

       In August 2019, someone finally came out to fix the mold problem in the Ganske’s
daughter’s bedroom and bathroom. Corvias sent someone out three times to fix the plugs
that were never completed. The last time or so, Corvias said they put in a new part on a plug
but they never did, so the plugs still were not working.

       Finally, after all of this nonsense, Mrs. Ganske finally had enough and went in the
office and threatened to stop the BAH rental lease payments if Corvias did not get the
residence fixed and did not get the family the air quality test. The Corvias woman told Mrs.
Ganske that it was not a good idea and showed that Corvias honestly did not care about the
family’s problems in the house.

        Not too long after that, Mrs. Ganske heard a leaking noise in one of the walls, and it
sounded like it was in the ceiling too. She turned everything off in the house so that she could
listen for it. It turned out that it was their HVAC unit in the house that was leaking. When
Mrs. Ganske opened the door, it was flooded, and that was how she found the major mold
problem.

       The ceiling of the unit was covered in mold, the outside was covered in mold, and the
flooring was black from the water dripping on it.




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      Mrs. Ganske called the Corvias landlord emergency line for them to come fix the
problem before it got worse. Sometime that night a man showed up to vacuum all the water
out. Mrs. Ganske watched him as he was doing everything to make sure he got it all.

       The man then told Mrs. Ganske that she had to pay him $20 for his services that night,
She told him that he needed to take that up with Corvias.

      After he left, Mrs. Ganske began taking pictures of all the mold damage, and she
opened the unit up and got pictures of the inside as well. Then she started looking around
the house to see what else she could find, and that was when she found mold around the
smoke detector upstairs as well.

      After all of this happening and Mrs. Ganske finding where these problems were, she
went up to the Corvias office and requested all of the work orders be printed out, because
she had been requesting for tests to be done and everyone ignored the situation like it was
nothing. She informed her husband of what was going on.

       SPC Ganske contacted his command and was told to make an IG (Inspector General)
complaint. The Ganskes went and filed an IG complaint and Corvias told them that they had
been taking care of the situation -- which they obviously were not because the problem would
have been found a long time ago if Corvias had taken the family seriously.

       Mrs. Ganske ended up contacting the CSM (Command Sergeant Major) and told him
about all of the family’s problems in the house. The CSM and a DPW (Directorate of Public
Works) man showed up to the house to do an assessment. The DPW representative brought
his moisture detector and it was reading 25-27 in the closet. She took him upstairs to show
them the little bit of mold that they had around the smoke detector and where they had the
problems in the bathroom and bedroom.

      After that, still, no one from Corvias came and no one closed off the problem areas so
they would not contaminate the rest of the home. Frankly, Corvias just really seemed like
they were not too worried about it.

       Corvias ended up sending ServPro to the house to vacuum off the surface mold.
However, ServPro did not close off the area properly and did not properly cover furniture
or any of the carpet.

       ServPro had to come back to cut out the ceiling, and they were supposed to properly
clean off all of the mold from everything it was on. When the worker cut open the ceiling, he
had Mrs. Ganske come inside so he could show Mrs. Ganske what was going on. She saw
that everything in the surrounding area in the attic was wet. The man mentioned mold being
in the attic and told Mrs. Ganske to not let them close the attic up until every single thing
was dry in there or the problem would keep coming back and that they needed to replace the
insulation.




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       After the man got done showing Mrs. Ganske the situation, she stayed in there talking
to him while he was doing everything. They started talking about all the mold in other
people’s homes on post. Mrs. Ganske mentioned to him how Corvias kept lying and not
admitting that they had a mold problem.

      The man said that they (Servpro) are supposed to do the same things – that is, lying.
He said how they were not allowed to tell residents about the problems they had in their
homes, but he did not feel like it was right to hide things.

       Mrs. Ganske told her husband about the problem in the attic and SPC Ganske called
up to the Corvias office to tell them they needed to fix every single thing.

        Heather (the Corvias manager) got word of what the Servpro man was telling Mrs.
Ganske and then called his boss to try to get him in trouble and fired. Mrs. Ganske had to
talk to the man’s boss on the phone and lie to him that he never said anything so he would
not get in trouble for being honest with her.

        Shortly after that, Corvias wanted to come and seal the attic up, but Mrs. Ganske
would not let them because of the mold that she saw on one of the air ducts in the attic. She
then had seven people show up at the house (Heather from Corvias, Tammy from Corvias,
three DPW men, the CSM, and a mold specialist) and the Corvias people denied there was a
problem. Mrs. Ganske asked if they could have the mold in the attic tested and they told her
that it was not mold and they no longer test for mold in any of the homes.

       Mrs. Ganske grew upset and asked why the family was not put in a different home or
a hospitality suite while all of this work was going on. Heather told her it was not dangerous
to be in the home because they “didn’t have mold.” Mrs. Ganske then asked if the others
would let their family live there and no one could answer. By this point, Mrs. Ganske did
not trust what she was being told and did not believe that Corvias would actually fix the
problem because they could not even admit to a problem in the first place.

        Mrs. Ganske told them that she would hire her own mold company to come out and
test things and that Mrs. Ganske would get in the attic to take more pictures of everything.
However, Corvias had someone come and seal off the area so that Mrs. Ganske could not
have access to it.

      The next day, Heather came back to the home to talk to Mrs. Ganske. She told Mrs.
Ganske that if the family could not trust Corvias, then they needed to move off post. Mrs.
Ganske was upset because it was Corvias who was not doing its job and fixing the homes
properly.

       Mrs. Ganske asked Heather about moving homes since Corvias did not want to do
anything about the attic of the existing home. Heather said that Corvias would find the
Ganskes a new home but that the Ganskes had to pay to move. However, on their limited
income, the family could not readily afford to move and further, the family should not have
had to pay to move because of something that was not their fault.


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       SPC Ganske called Corvias and Corvias told him that they would be charging the
family $1,400 to move to a new home, on top of what the Ganskes already paid in BAH. This
was very upsetting. It would mean that the family would have had to pay Corvias $2,579 in
one month to move to a clean safe home for their family.

       Mrs. Ganske let the Corvias workers come back and close the ceiling up, but they did
a horrible job. Corvias also sent a man out to check the mold around the smoke detector
and all he did was put a bigger smoke detector over it and hid the problem.

        The head tech for Corvias then came back out to check the work and he said
everything was completed and looked great. In fact, it did not look great though, there was
still mold, and it looked like the ceiling was not even closed up all the way.

        A lady from DPW came and inspected the work and she said it looked horrible and
that Corvias needed to come back and clean everything properly and finish the work. They
finally sent the same head tech man to scrub the mold off of the HVAC unit after they had
closed everything out saying it was completed.

       In short, Corvias’ approach was to put a band-aid on everything and call it a day, and
that was not how it should be. The Ganskes were distressed because a family should not
have to fight with a housing company to make sure they are not breathing in mold. Nor
should a tenant family have to threaten the landlord in order to get them to do the right
thing.

Supplemental Answer dated 5/6/22:

       With regard to whether Mr. or Mrs. Ganske ever had significant inspections or
repairs at other residences where they have lived aside from the Corvias home on Castle
Drive at Fort Bragg:

        The Ganskes owned their home at the 509 Northampton Road address. There may
have been one or more inspection reports prepared in connection with the purchase or the
sale of that home.

        The Ganskes own their home at the current Whitewater Lane address. There may
have been one or more inspection reports prepared in connection with the purchase or the
sale of that home.

        While they resided at the Brenham Texas address, the Ganskes can recall a time when
the air conditioning broke and they had no cool air. They were able to get it fixed in a timely
manner.

      Further facts regarding the defective maintenance and repairs at the Fort Bragg
Corvias home: Emily Ganske recalls that the windows at the house had mold around them.
The wood around the windows was rotting. In places one could stick one’s finger into the
wood.



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        They took some of the wood off. They talked to “TJ,” female, head of maintenance.
The windows were encased in metal. Corvias would not pay to replace the windows that
were encased in metal, which caused mold. TJ was a middle aged white female. There was
also a male named JT. This was circa 2018-2020. They worked out of the community center
for the Corregidor Courts/Bougainville community.

       At their Bragg house, the big issue was the ductwork. They had an HVAC closet.
There was mold in the area of the HVAC unit, the AC unit. The duct area was covered with
mold. There was mold around the AC vents. Corvias marked areas on the ceiling where
supposedly Corvias was going to go in and replace the HVAC ducts. Corvias personnel or
contractors marked with paint or marker or spraypaint the ceiling with some “X” marks. It
looked like Corvias was getting ready to cut out the walls and access the HVAC ducts.

       However, as it turned out, Corvias never did replace the duct work or the insulation,
as best as the Ganskes could tell. When the Ganskes moved out, they kept in touch with a
friend – Alec and Shelby Tomaszewski – who was a neighbor near their old home. The
neighbor said that after the Ganskes moved out, they never saw Corvias go in to finish the
work. Instead, they believe Corvias did not replace the HVAC and instead just rented the
house out to a new family.

       When the Ganskes complained, Corvias wanted them to go to the hospitality suite.
However, Corvias was too cheap to pay to board their two dogs. So, they ultimately just
found a new place to live that was off base.

        The Ganske story of the Corvias mold specialist is: They complained. Corvias cut
the area open. Corvias said that none of it was mold. Emily wanted to hire her own mold
spcialist to look at it. Five or six people came by to examine. A mold specialist person came
by for Corvias who said the moisture was high but what was growing there was not mold.

       After Emily said she would just hire her own consultant to come test it, Corvias taped
up the area and barred the family from having access to it.

       They had initially gotten approval for an air quality test, but, it did not happen.

      The ServPro man who came said, there was mold in the attic. He said, do not let
Corvias close up the area. Corvias who proceeded to try to fire the individual for discussing
mold.

      It appeared that Corvias had instructed contractors that they could not use the word
mold. There were two vendors for her home – Servpro, and, Precision.


       Interrogatory No. 6. State each and every instance in which You contend a defendant

failed to properly address a housing or habitability issue, including but not limited to alleged water

or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural issue, lead-based paint,



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mold, or suspect fungal growth; provide the dates thereof; and state what You contend the

defendant should have done differently. Set forth all facts on which You base Your contentions. If

You are relying on any written documents or records, identify those documents and records, and

state the material in each document which You contend demonstrates improper conduct.


       Answer: See Plaintiffs’ response to Interrogatory #5. Additionally, Plaintiffs add the
following:

      Work orders regarding squirrels in the attic and mold issues in the front upstairs
bedroom were deleted.

      When the Ganskes saw the house, there was water damage in the back upstairs
bedroom that the worker told us was just messed up paint. As it turned out, it was water
that was going through the windows and leaking into the walls causing the paint to droop
and expand.

       When the Ganskes told Corvias about the crack in their ceiling and wall, Corvias said
the house was just settling and would paste over it. But towards the end of their stay, a
different contractor said that it was supposed to be cut out and repaired correctly, not just
pasted over.

      When the Ganskes noticed the window in the front dining room that had rot and
water damage, one of the head of maintenance people said that because the windows are
encased in metal, everyone on post will always have a mold/water damage problem.

       When Mrs. Ganske found the mold in the HVAC closet, the floor was flooded, and
mold covered the ceiling, unit, walls, floor, inside the unit, literally everywhere. Corvias
eventually sent someone out to take a look. Mrs. Ganske was told that there was no mold,
even though she had plenty of pictures. Corvias sent a whole crew of people to come take a
look including a mold expert who denied the problem. Once Mrs. Ganske told them that she
would hire her own person to come look at things, Corvias taped the area restricting access.

       Mrs. Ganske also requested an air quality test and it was approved, but once Corvias
saw the mold it was never done.

        When a ServPro worker came to dry out the family’s HVAC closet, he told Mrs.
Ganske not to let them seal it up, that he sees mold in many base houses, and that Corvias
tells the contractors not to say it is mold.

        Then when Mrs. Ganske told a Corvias worker that she was told there was mold in
the attic, they called the ServPro supervisor and tried to get the honest worker fired. Mrs.
Ganske had to talk to his boss so he would keep his job.



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       The back door was rotten, so Corvias needed to remove the old door and replace it
with a new one. Mrs. Ganske was home when the workers said everything looked fine and
they were just going to put the new door in. Mrs. Ganske then stuck her foot through the
rotten wood and pulled it apart. The worker then said he thought it was going to just be an
easy job because after her house, he was leaving for vacation. In short, had Mrs. Ganske not
been there that day, the workers would have left the rotten wood under the new door that
would have just caused more problems. Also, they got blood on her living room wall and
then just painted over it.

       When the Ganskes called about the mold behind the light switch cover, they were told
that they should not touch it and that Corvias would be caulking around the covers so they
could not be taken off anymore. That was covering up, not addressing, the problem.

       The water damage around the toilet in the master bathroom never got fixed.

       The mold in the master shower never got fixed.

        Corvias was supposed to cut out the ceiling in the entire downstairs to replace all the
vents, yet that never happened.

      Water stains and water issues in the dining room area were never fixed nor did
Corvias ever indicate that it had determined why it was happening.

       Supplemental Answer dated 5/6/22:

       Plaintiffs have provided responsive information regarding Defendants’ failures to
address housing issues and habitability in connection with the other interrogatories herein,
one or more of which ask overlapping questions.

       The things the Defendants should have done differently include:

          1. Making a full and fair assessment of the existing housing conditions for the
             inventory of 6000 to 7000 housing units, or homes, that Corvias took over
             responsibility for when it won the bid for the 50 year ground lease for the
             housing at Fort Bragg in 2003.

          2. Communicating a fair and accurate assessment of the true condition of the
             existing housing inventory, and what would be needed to make sure the
             housing was in an acceptable and habitable status for the military families, to
             the Army, prior to or at the time of the bid award in 2003.

          3. Once Corvias won the bid and entered into the 50 year contract, Corvias had
             a duty to use Corvias Construction to tear down and rebuild or extensively
             renovate the deficient units. It should never have required the amount of
             tenant suffering from living in poor conditions, that occurred, before Corvias
             would remedy the problems. As it turned out, it was only after tenant
             complaints across multiple bases, investigative news coverage by Reuters and


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     others, and Congressional hearings, that Corvias announced it would spend
     over $300 million to remedy the problems. If Corvias had timely and properly
     remedied the problems years earlier when it should have done so, the Plaintiffs
     would not have incurred their suffering and damages.

  4. Once Corvias won the 50 year contract, the evidence indicates that the
     company’s top management was far more interested in expanding Corvias’
     portfolio of bases, and branching out into new areas like managing the housing
     for students bodies at schools, rather than carrying out and adequately
     funding its 50 year commitment to provide excellent livable housing. Corvias
     should have focused on carrying out the duties it had agreed to perform at the
     outset of the 50 year contract, rather than abandoning them.

  5. By the time the putative class period opened, in 2016, the situation on the
     ground at Fort Bragg was that Corvias was understaffing its tenant service,
     repair and maintenance capacity, and had not spent the monies or exercised
     the initiative to tear down and renovate the numerous units (like those of the
     Plaintiffs) that were in unacceptable condition. Corvias should have been
     better funding and staffing tenant service, repair and maintenance, and should
     have rebuilt or renovated applicable units.

  6. As of 2016, Corvias was using remote call centers to save money. Corvias
     should have had adequate, properly funded, supported, overseen, audited, and
     trained, employed Corvias staff at the base, to interact and communicate with
     tenants and their families and to address their concerns.

  7. As of 2016, Corvias had engendered a corporate culture which led to a pattern
     and practice of fraudulent, unfair and deceptive conduct and practices by its
     customer service and repair and maintenance personnel. Corvias should not
     have allowed these practices to occur.

  8. Most of the repair and maintenance personnel were outsourced, that is to say,
     the typical Corvias repair and maintenance workers who came out to the
     families’ homes were not employed by Corvias at all, due to Corvias’ desire to
     minimize costs and overhead and not have to pay employee wages and benefits.
     Corvias should not have used outsourced personnel. It should have had more
     of a directly employed, well-supported presence.

  9. As of 2016, the outside vendors Corvias used for repair and maintenance
     received poor to mediocre pay. They were not well-supervised by Corvias.
     Corvias should have paid them better and supervised and trained them better.
     Instead, Corvias made sure that they acted unfairly and deceptively toward
     customers when it came to root causes, chronic and longstanding unit
     problems, water damage and rot and mold. Corvias should not have allowed
     this situation to flourish. Corvias was aware of the fact that (or was willfully
     blind to the fact that) the housing was replete with units that were plagued
     with problems and unacceptable for leasing out to families. Corvias should


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     have replaced or rebuilt those units to start with. But aside from that fact,
     Corvias should have adequately repaired and maintained those units. Corvias
     should have not told contractors not to use the word “mold.” It should not
     have encouraged contractors to minimize problems and lie to tenants about
     conditions. It should not have kept its repair and maintenance vendors on
     such a limited budget and scope of authority that they were not allowed to
     work to address root cause problems.

  10. As of 2016, Corvias was using its pattern and practice of fraud and deception
      with regard to repair and maintenance to result in purported work orders and
      unit and tenant records that were false because they omitted key data
      regarding water damage, mold, tenant complaints, and other such things.

  11. As of 2016, Corvias in the tenant-facing part of its enterprise, both through its
      own direct employees and through its contractors, took a position of blanket
      denial that mold problems existed. This was improper given the true facts.

  12. Corvias should have trained and overseen its staff and vendors such that their
      work order records and tenant and unit records were true and accurate and
      could later be properly reviewed and audited. It did not. The faulty state of
      the records was later noted by the GAO and by one or more of the Plaintiffs
      themselves.

  13. Corvias knew or should have known as of 2016 that the HVAC systems in units
      were badly compromised by water damage, mold and filth collecting in the
      HVAC ductwork. Corvias furthermore knew or should have known that in
      the cases of many of the homes, access to see inside the ductwork was
      impractical. In short, Corvias knew, while the tenants did not, of conditions
      like those reflected by the ductwork in the home of the Thomas family (see
      supplemental documents produced). Corvias never should have allowed the
      conditions to grow to that extent, and never should have allowed unwitting
      tenants, mainly families with young children, to live in that environment.

  14. Corvias knew that the housing for the lower enlisted servicemembers was far
      worse than some of the housing reserved only for the higher ranked tenants
      such as upper level officers. Corvias however failed to remedy the problem in
      time to prevent the experiences endured by the Plaintiffs.

  15. Corvias knew that lower ranked servicemember tenants who leased the
      Corvias homes were much more likely to have spouses, and one or more
      infants or young children, compared to other families in other leased housing
      settings. This cohort group has higher vulnerability to filthy and unsafe
      conditions in the homes.

  16. Corvias knew that many of the families resided in leased units that were not
      self-standing, but rather, were in structures that also had one, two, or three
      other units in them. Corvias as the owner and the landlord had the duty to



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               ensure the upkeep and safety of the structure exterior, the roofing, the HVAC
               system, and the common areas. Corvias knew that the conditions in one unit
               could suffer due to the conduct of tenants in other adjoining units or due to its
               own failure to adequately maintain and service the other units. One or more
               of the Plaintiffs who lived in structures with more than one unit in them noted
               the presence of smells of moldy, mildewed, water-rotted conditions, and
               Corvias was also aware that the older the unit or the structure, the more like
               that it had problems that worsened over time unless Corvias rebuilt or
               renovated the structure.

       Interrogatory No. 7. Describe in detail every instance in which You sent or received a

complaint, inquiry, or other communication concerning a housing or habitability issue, including

but not limited to water or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural

issue, lead-based paint, mold, or suspect fungal growth in (or on the outside or perimeter of)

military housing at Fort Bragg, including all follow-up communications and actions that You or

others took in response to each such issue and identify the persons involved.


       Answer:

       Objection. This interrogatory is vague and overly broad. Plaintiffs cannot recall
“every instance” where a communication was made concerning military housing defects.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5 and #6.

        Plaintiffs are informed and believe that Defendants are in possession of all
maintenance and repair requests submitted by Plaintiffs, along with all records related to
Defendants’ responses. Additionally, Plaintiffs make reference to the facts and allegations
set out in the Amended Complaint.

Supplemental Answer dated 5/6/22:

       Plaintiffs complained of housing and habitability issues to Corvias with regard to the
Castle Drive home as should be documented in Corvias’ own records, to the extent they are
reliable. Plaintiffs describe their complaints and their communications with Corvias in their
response to interrogatory number 5, above.

       Interrogatory No. 8. If You allege you were exposed to mold, lead-based paint, or other

allegedly harmful substances while at Fort Bragg, describe such exposure in detail including the


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date such exposure took place, where such exposure took place, the date You first experienced

symptoms and any how You confirmed such exposure involved the alleged substance. If You are

relying on any written documents or records, identify those documents and records, and state the

material in each document which You contend demonstrates the presence of the alleged substance.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5 and #6.

Supplemental Answer dated 5/6/22:

    Plaintiffs allege that they were exposed to mold and air that passed through filthy
HVAC ducts while at the Castle Road address.


       Interrogatory No. 9. State whether or not You have been treated by, diagnosed by, or

admitted to any hospital or other healthcare facility in the last ten (10) years and if so, state the

name of the hospital or facility, the dates of treatment, diagnosis, or admission, the illness or

condition involved and the names and addresses of the health care provider(s) who treated You.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure


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to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      Plaintiffs will allow the Defendants to seek to obtain copies of their family’s medical
records for the last ten years, except, that Plaintiffs object to the Defendants obtaining Ms.
Ganske’s OB/GYN records.

       As to family medical records – The Ganskes recall going to the Robinson Clinic at
Fort Bragg and they saw Dr. Garcia. Also, Spenser Ganske had various physical fitness tests.
The Ganskes object to producing their OB GYN records as she had an ectopic pregnancy
and there are some personal photos and it should not be relevant.

SUPPLEMENTAL ANSWER DATED 7/8/2022:


       Plaintiffs provided their signed revised Medical Authorizations to Defendants on May
27, 2022 and June 8, 2022.


While in Brenham, Emily continued to go by her maiden name (“Draehn”). Spenser and
Emily believe that          while at Brenham, went to St. Joseph’s. They don’t remember the
full name of the healthcare center. It’s just a walk-in clinic there. Therefore, doctors varied
and they do not remember any doctors’ names. Spenser does not remember being seen in
Brenham within the ten-year period. In Brenham, Emily was seen at St Josephs a couple
times. Again, it is a walk-in clinic and she does not remember the treating physicians’ names.

While in Fort Bragg, Emily continued to go by her maiden name for a while. She changed
her name to her married name, Emily Ganske, while living there. Thus, some medical
records will be found under the maiden name and others under the married name. Emily
recalls going to the Robinson Clinic at Fort Bragg, and Dr. Garcia was her Primary Doctor.
Spenser was seen by several times at Robinson Clinic by doctors assigned to his Army Unit,
but he does not recall the names of the doctors treating him as they varied. He was also seen
at the Womack ER, but he does not recall the name of the doctor treating him.            only
received shots and a physical at Robinson Clinic. They do not recall the names of any of the


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treating physicians for        as they varied as well.    was seen once at the emergency
room at Womack ER, and Spenser and Emily do not recall the names of the doctor and other
treating medical staff. Also, Spenser Ganske had various military physical fitness tests.

While in Crestview, neither        nor Emily have been seen there. Spenser had to get some
vaccinations in Florida by the brigade medical team.


       Interrogatory No. 10. State whether You have undergone a physical examination in the

last ten (10) years. If so, state the date of any such examination, where it was conducted, who

conducted the examination and whether there is a report or other Document concerning such

physical examination.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      Plaintiffs will allow the Defendants to seek to obtain copies of their family’s medical
records for the last ten years, except, that Plaintiffs object to the Defendants obtaining Ms.
Ganske’s OB/GYN records.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.




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       Interrogatory No. 11. State whether You have consulted any health care provider in the

past ten (10) years. If so, specify in detail the nature of the condition for which You consulted the

health care provider and the name and address of each health care provider who provided treatment

for the condition.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      Plaintiffs will allow the Defendants to seek to obtain copies of their family’s medical
records for the last ten years, except, that Plaintiffs object to the Defendants obtaining Ms.
Ganske’s OB/GYN records.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.

       Interrogatory No. 12. State whether You ever experienced any respiratory conditions,

breathing difficulties, asthma, allergies, headaches, skin conditions, chronic nasal congestion,

chronic sinus infections, or lead poisoning symptoms. If so, describe the treatment You received

for such condition, including the name and address of each healthcare provider who treated you,




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the time period in which you were treated, and any prescription or over-the-counter medications

taken to treat such conditions.


          Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

          Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      Plaintiffs will allow the Defendants to seek to obtain copies of their family’s medical
records for the last ten years, except, that Plaintiffs object to the Defendants obtaining Ms.
Ganske’s OB/GYN records.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

          See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.

          Interrogatory No. 13. Describe the injuries You contend You sustained as a result of the

Your military housing experience at Fort Bragg. If you claim You are still afflicted with or

suffering from the effects of any such injury, describe Your claim and all supporting evidence in

detail.




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       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs during the pertinent times suffered discomfort, annoyance, irritation and
loss of use of their ability to enjoy their property. See In re NC Swine Farm Nuisance Litig.,
No. 5 7:14-cv-00180-BR (E.D.N.C.), jury instructions filed at Doc. 262, on April 26, 2018, at
p. 14 (private nuisance jury instruction for damages: “The plaintiffs claim that the
interference with the use and enjoyment of his or her property has caused him or her anger,
embarrassment, annoyance, inconvenience, decreased quality of life, and/or physical and
mental discomfort. There is no fixed formula for placing a value on these alleged harms. You
will determine what is fair compensation by applying logic and common sense to the
evidence.”).

      Plaintiffs further suffered from a loss of the comfort, quiet and enjoyment and
habitability of their rented premises during the pertinent times.

        Plaintiffs further suffered from the injury of not getting the benefit of their bargain
with regard to their rented housing. During the pertinent times, the Plaintiffs duly and
timely paid any and all rent that was due and owing for their rented Corvias military housing
home. However, they did not receive the quality of rented housing to which they were
entitled and for which, with their limited means, they paid.

Supplemental Answer dated 5/6/22:

      Plaintiffs will allow the Defendants to seek to obtain copies of their family’s medical
records for the last ten years, except, that Plaintiffs object to the Defendants obtaining Ms.
Ganske’s OB/GYN records.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.



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       Interrogatory No. 14. If You were treated, attended or examined by any physician(s) or

others for the injuries identified in responses to Interrogatories 12-13, state the names and

addresses of all such persons and the nature of the medical treatment given by each physician or

other person. If any diagnostic tests were performed, state the type of test performed, name and

address of the place where it was performed, date each test was performed and what each test

disclosed.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      Plaintiffs will allow the Defendants to seek to obtain copies of their family’s medical
records for the last ten years, except, that Plaintiffs object to the Defendants obtaining Ms.
Ganske’s OB/GYN records.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.

       Interrogatory No. 15. Identify any communications, whether written or oral, You had

with any person, including but not limited to other residents of Fort Bragg, environmental



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consultants, and members and civilian employees of the Army, media outlet, or federal, state or

local government agency, official, staff member or employee wherein you discussed any alleged

housing issues at Fort Bragg, including but not limited to mold, health or habitability issues.


       Answer:

       Objection. This Interrogatory is vague and overly broad. Plaintiffs cannot possibly
remember and recount each and every conversation, written or oral, that they had over the
course of multiple years, let alone the topic of each conversation.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5 and #6.

        Defendants are believed to have records kept in the normal course of business and
reflecting numerous of the complaints and relevant communications from, to and with the
Plaintiffs, or either of them.

Supplemental Answer dated 5/6/22:

       Plaintiffs described their interactions and communications that they could recall with
regard to their housing at Fort Bragg, in their response to the interrogatories above. They
respectfully direct Defendants to those responses.


       Interrogatory No. 16. If You have ever been convicted or pleaded guilty, no contest, or

entered an Alford plea to an offense punishable by imprisonment of more than one year or any

crime of dishonesty or false statement, regardless of the punishment actually imposed, please state

the date of each conviction or plea, the name and location of the court in which You were convicted

or pleaded in, and the crime of which you were convicted or pleaded guilty, no contest, or entered

an Alford plea to.


       Answer:


      Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence. Plaintiffs further


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object that the scope of the request is unlimited in time. Plaintiffs further object to the extent
the discovery requests would purport to elicit information on old matters or misdemeanor
matters with no potential relevance herein.

       Without waiving any objections:

       Not applicable.

       Interrogatory No. 17. Identify each person whom You may call as an expert witness at

trial. With respect to each expert, state his or her name and address, the subject matter on which

the expert is expected to testify, the substance of the facts and opinion to which the expert is

expected to testify, and a summary of the grounds for each opinion.


       Answer:


       Objection. The time for the Plaintiffs to be obligated to name any of their experts in
this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their expert witnesses in this matter.

       Plaintiffs reserve the right to supplement this response in due course.

       Interrogatory No. 18. List any photographs, diagrams, or other exhibits which You or

your attorney have which you will or may introduce at trial.


       Answer:

         Objection. The time for the Plaintiffs to be obligated to determine and disclose their
list of exhibits for trial in this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their exhibits in this matter.

       Plaintiffs reserve the right to supplement this response in due course.




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       Interrogatory No. 19. Have You ever been named as a plaintiff or defendant in any type

of litigation other than this lawsuit? If so, please state the name, county court or federal district,

and case number as well as the outcome of the litigation.


       Answer:


      Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence.

       Without waiving any objections:

       No.


       Interrogatory No. 20. Please state the full names and dates of birth of any person who

resides, or resided at the time period of the allegations contained in the Amended Complaint, with

You at Fort Bragg.


       Answer:

       Objection. Plaintiffs wish to safeguard relevant information regarding their minor
children.

       Without waiving any objections, Plaintiffs state:

       No other individuals resided with Plaintiffs’ family during the relevant times.

Supplemental Answer dated 5/6/22:

       Kira Ganske.


       Interrogatory No. 21. Itemize and show how you calculate any damages claimed by You

in this Action, whether economic, non-economic, or other.


       Answer:




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     Objection. This interrogatory calls for a legal conclusion and attorney work product.
Moreover, Plaintiffs have not formulated a settlement demand at this stage.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #13.

Supplemental Answer dated 5/6/22:

       Actual damages will be calculated in accordance with the allowable categories of
damages under the North Carolina Pattern Jury Instructions and/or traditional jury
instructions for whichever causes of action the Court may allow to go to trial. Contract
damages could be measured by the total amount of the BAH rent paid by the soldier or on
his behalf, or some percentage thereof, on the theory that the soldier paid to receive decent
accommodations, did not receive them, and did not receive the benefit or the bargain.
Damages for private nuisance would include damages for discomfort, annoyance, irritation,
annoyance, and loss of use and enjoyment. Damages for breach of the warranty of
habitability may include via the measure of damages by the difference between the value of
the rented premises in its uninhabitable condition and its fair market rental value otherwise.
Under Chapter 75, a prevailing plaintiff may be entitled to three times actual damages.

       Plaintiffs reserve the right to supplement to the extent they are able to identify
damages in other respects including out of pocket expenses; moving expenses; costs
associated with relocating to a new home that would not otherwise have been expended;
values of lost or damaged clothing, linens or furniture; etc.

      Plaintiffs do not claim lost wages or lost income (e.g., taking time away from work
because of the conditions at the home, and suffering lost wages as a result).

       Plaintiffs reserve the right to allege other claims including but not limited to punitive
damages if the discovery so supports in assessing the gravity of the fraud and recklessness-
related allegations in the complaint, e.g. regarding the work order process and purported
tenant customer service facility of the enterprise.




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Date: July 8, 2022            Respectfully submitted,

                                     s/John Hughes
                                     Mona Lisa Wallace
                                     NC State Bar No. 009201
                                     John Hughes
                                     NC State Bar No. 22126
                                     WALLACE & GRAHAM, PA
                                     525 N. Main Street
                                     Salisbury, North Carolina 28144
                                     Telephone: 704-633-5244
                                     Fax: 704-633-9434
                                     mwallace@wallacegraham.com
                                     jhughes@wallacegraham.com

                                     J. Anthony Penry
                                     N.C. Bar No. 8936
                                     PENRY | RIEMANN PLLC
                                     2245 Gateway Access Point, Suite 203
                                     Raleigh, NC 27607
                                     (919) 792-3891
                                     Andy.Penry@PenryRiemann.com

                                     Robert S. Metro
                                     S.C. Bar No. 69494
                                     BAUER & METRO, PC
                                     Post Office Box 7965
                                     Hilton Head, SC 29938
                                     (843) 842-5297
                                     Rmetro@bauerandmetro.com
                                     Appearing pursuant to Local Rule 83.1(e)

                                     Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022 I served this document on counsel for the Defendants

herein, by email, as follows:

                                      Mark P. Henriques
                                      Matthew F. Tilley
                           WOMBLE BOND DICKINSON (US) LLP
                               3500 One Wells Fargo Center
                                  301 South College Street
                            Charlotte, North Carolina 28202-6025
                            E-mail: Mark.Henriques@wbd-us.com
                            E-mail: Matthew.Tilley@wbd-us.com

                                       Thomas J. Yoo
                                 HOLLAND & KNIGHT LLP
                                  400 S. Hope St., 8th Floor
                                   Los Angeles, CA 90071
                                  Thomas.Yoo@hklaw.com

                                        Jessica L. Farmer
                                 HOLLAND & KNIGHT LLP
                                800 17th Street, N.W., Suite 1100
                                    Washington, D.C. 20006
                                  Jessica.Farmer@hklaw.com

Date: July 8, 2022                          Respectfully submitted,

                                            s/John Hughes
                                            Mona Lisa Wallace
                                            NC State Bar No. 009201
                                            John Hughes
                                            NC State Bar No. 22126
                                            WALLACE & GRAHAM, PA
                                            525 N. Main Street
                                            Salisbury, North Carolina 28144
                                            Telephone: 704-633-5244
                                            Fax: 704-633-9434
                                            mwallace@wallacegraham.com
                                            jhughes@wallacegraham.com




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                                                        VERIFICATION
            I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
            correct:
                     1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                        personal knowledge.

                     2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                        for the housing at Fort Bragg.

                     3. From time to time, I have provided information to my lawyers to prepare
                        “interrogatory responses.”

                     4. I have now been asked to verify that as to the responses being served, the information
                        that is in them that came from me or that I know personally, in fact is true to the best
                        of my knowledge. I have gone over these interrogatory responses.

                     5. Where those responses contain facts about my family or me personally and other facts
                        of which I have personal knowledge, I swear and affirm under penalty of perjury that
                        those facts and statements are true to the best of my knowledge.

                     6. Where the facts are based on information provided by other people, I state that I
                        believe that information to be true.

                     7. Where the facts are about other things like facts learned from public records, I am
                        relying on my attorneys and the investigation that my attorneys did.

                     8. I declare under penalty of perjury that the foregoing is true and correct.

                      7/7/2022
            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Emily Ganske


            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Spenser Ganske




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DocuSign Envelope ID: BC9C72CA-B6F0-4B08-9817-CF561C7AF25D




                                                       VERIFICATION
            I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
            correct:
                    1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                       personal knowledge.

                    2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                       for the housing at Fort Bragg.

                    3. From time to time, I have provided information to my lawyers to prepare
                       “interrogatory responses.”

                    4. I have now been asked to verify that as to the responses being served, the information
                       that is in them that came from me or that I know personally, in fact is true to the best
                       of my knowledge. I have gone over these interrogatory responses.

                    5. Where those responses contain facts about my family or me personally and other facts
                       of which I have personal knowledge, I swear and affirm under penalty of perjury that
                       those facts and statements are true to the best of my knowledge.

                    6. Where the facts are based on information provided by other people, I state that I
                       believe that information to be true.

                    7. Where the facts are about other things like facts learned from public records, I am
                       relying on my attorneys and the investigation that my attorneys did.

                    8. I declare under penalty of perjury that the foregoing is true and correct.


            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Emily Ganske


                     7/7/2022
            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Spenser Ganske




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                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


 SSG SHANE PAGE, et al.                           )
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )           CASE NO. 5:20-cv-00336-D
                                                  )
 BRAGG COMMUNITIES, LLC, et al.                   )
                                                  )
        Defendants.                               )
                                                  )
 ____________________________________

                     TIMOTHY AND KATELYN MURPHY’S
                  SUPPLEMENTAL JULY 8, 2022 RESPONSES TO
                DEFENDANTS’ FIRST SET OF INTERROGATORIES

       Plaintiffs, Timothy and Katelyn Murphy, by and through their undersigned attorneys, and

by way of supplementing their answers to the interrogatories propounded by Defendants, pursuant

to Fed. R. Civ. P. 26 and 33, state as follows:

       Plaintiffs assert attorney-client privileges and immunities as to all communications

between Plaintiffs and legal counsel, and thus object to producing or disclosing such

communications. Undersigned counsel asserts work-product privileges and immunities as to their

own work product. Plaintiffs therefore object to producing such work-product. Plaintiffs assert

work-product privileges and immunities as to all communications and documentation prepared in

anticipation of litigation and thus object to producing such work product.

       In setting forth these answers, Plaintiffs do not waive any attorney-client, work-product, or

other privilege or immunity which may attach to information called for in, or which may be

responsive to, these interrogatories. Plaintiffs do not concede the relevance or materiality of these

interrogatories, the subject matter of these interrogatories, or documents produced in response to




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these interrogatories.    Plaintiffs reserve the right to question the competency, relevancy,

materiality, privilege, and admissibility of any documents produced or referred to herein.

Plaintiffs also reserve the right to revise, correct, supplement, or clarify any of their answers or

documents referred to herein. The above objections, privileges, and immunities are asserted in

response to each of the following interrogatories as if set forth verbatim at the beginning of the

answers to each interrogatory:

       Interrogatory No. 1. State Your full name, address, date of birth, current and past marital

status (including the date(s) of marriage and the full name of your spouse(s) (if applicable), Social

Security number, driver’s license number and cell phone number(s) and email(s) used while

residing at Fort Bragg.


       Answer:

      Plaintiffs object to the interrogatory to the extent it is overbroad, unduly burdensome
and harassing. For example, information about a past marriage outside of the pertinent time
period relevant herein is irrelevant nor likely to lead to the discovery of material and
admissible evidence.

       Without waiving any objections, Plaintiffs state:

       Timothy Scott Murphy (left military 10/4/21, now a civilian)
       7554 Decatur Drive
       Fayetteville, NC 28303


       352-262-8111 / 352-575-8144
       usairborne.89@gmail.com
       Murphboy22@gmail.com (old email)

       Katelyn Murphy
       7554 Decatur Drive
       Fayetteville, NC 28303


       910-920-8845
       lovekate690@gmail.com



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       Interrogatory No. 2. Identify all persons who are likely to have personal knowledge of

any fact alleged in the pleadings, and state the subject matter of the personal knowledge possessed

by each such person.


       Answer:


      Plaintiffs object to the extent the discovery request would require the disclosure of
information that may only be appropriately disclosed under the auspices of an appropriate
Court-approved confidentiality protective order. Without waiving any objections:

           1. All named Plaintiffs and Defendants, along with the individuals identified in
              their respective initial disclosures and discovery responses.

           2. All current and former tenants/residents of Corvias military housing at Fort
              Bragg during the class period.

           3. Angela and Nathan Nolan
              Former Neighbor, Galaxy Street address
              Current contact information unknown

               Mr. and Mrs. Nolan were neighbors on the north side of the four-unit
               (quadruplex) building. The Nolan’s unit address may have been 23 Galaxy
               Street. They shared a carport and adjoining walls and roof in the four-unit
               building. Plaintiffs spoke with them generally about the housing problems. It
               is believed that the Nolans had work done to their own unit.

           4. Ashley (last name unknown).
              Former Neighbor, Galaxy Street address
              Current contact information unknown

               Ashley was a neighbor with a unit in the four-unit building. Her unit address
               may have been 19 Galaxy Street. Plaintiffs spoke with them generally about
               the housing problems. It is believed that she moved because of the mold and
               the poor housing conditions.

           5. Phil and Katie Smith.
              Former Neighbor, Galaxy Street address
              Current contact information unknown

               Mr. and Mrs. Smith were neighbors with a unit in the four-unit building, on
               Galaxy Street. Plaintiffs spoke with them generally about the housing
               problems. It is believed that the Smiths had issues but gave up on trying to get



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     Corvias to fix them; this included floods in their living room, flooring issues,
     carpet, linoleum, wet carpet issues. May still be living in the neighborhood.

  6. Katie (last name unknown).
     Former Neighbor, Galaxy Street address
     Current contact information unknown

     Katie was a neighbor who lived not in, but near the four-unit building where
     the Plaintiffs were residing. Her unit address may have been 15 Galaxy Street.
     Plaintiffs spoke with them generally about the housing problems. It is believed
     that she had complaints about the poor housing conditions.

  7. John Picerne
     Founder/Chairman of the Board – Corvias
     1405 S County Trail #530
     East Greenwich, RI 02818
     401-228-2800

     Plaintiffs are informed and believe that Mr. Picerne has knowledge related to
     all facets of Corvias’ military housing operations at Fort Bragg.

  8. Patrick Bucolo
     Resident Manager-Corvias
     Fort Bragg

     Plaintiffs are informed and believe that Mr. Bucolo has knowledge related to
     all facets of Corvias’ military housing operations at Fort Bragg.

  9. Leonard Jones
     Resident Manager-Corvias
     Fort Bragg

     Plaintiffs are informed and believe that Mr. Jones has knowledge related to all
     facets of Corvias’ military housing operations at Fort Bragg.

  10. Amber Smiley
      Resident Assistant Manager-Corvias
      Fort Bragg

     Plaintiffs are informed and believe that Ms. Smiley has knowledge related to
     all facets of Corvias’ military housing operations at Fort Bragg.

  11. Vanessa Hargrave
      Resident Associate-Corvias
      Fort Bragg




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     Plaintiffs are informed and believe that Ms. Hargrave has knowledge related
     to all facets of Corvias’ military housing operations at Fort Bragg.

  12. Jenneisha Monroe
      Resident Associate-Corvias
      Fort Bragg

     Plaintiffs are informed and believe that Ms. Monroe has knowledge related to
     all facets of Corvias’ military housing operations at Fort Bragg.

  13. Mallory Dixon
      Resident Service Specialist-Corvias
      Fort Bragg

     Plaintiffs are informed and believe that Ms. Dixon has knowledge related to
     all facets of Corvias’ military housing operations at Fort Bragg.

  14. Kianna Amos
      Resident Service Specialist-Corvias
      Fort Bragg
      Plaintiffs are informed and believe that Ms. Amos has knowledge related to all
      facets of Corvias’ military housing operations at Fort Bragg.

  15. Heather Fuller
      Operations Director- Corvias Management
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

     Plaintiffs are informed and believe that Ms. Fuller has knowledge related to
     all facets of Corvias’ military housing operations at Fort Bragg.

  16. Deb Osmanski
      Former Program Office Administrator (Office Manager)
      Corvias-Fort Bragg
      Current Address Unknown
      Current Employer is ER Wagner in Menomonee Falls, Wisconsin
      800-558-5596

     Plaintiffs are informed and believe that Ms. Osmanski has knowledge related
     to all facets of Corvias’ military housing operations at Fort Bragg.

  17. Michael Melia
      Former Director of Construction – Corvias
      Current Address Unknown
      Current Employer is RQ Construction in Pinehurst, North Carolina



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     760-631-7707

     Plaintiffs are informed and believe that Mr. Melia has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  18. Jeremy Stefanko
      Former Senior Maintenance Manager
      Corvias Military Living, LLC
      Current Address Unknown
      Currently Employed by Cumberland County, NC

     Plaintiffs are informed and believe that Mr. Stefanko has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  19. Steve Maxwell
      Former Facilities Director
      Corvias Military Living, LLC
      Current Address Unknown
      Currently Employed by Balfour Beatty Communities in Wetumpka, Alabama

     Plaintiffs are informed and believe that Mr. Maxwell has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  20. Steve Boothe
      Former Director of Facilities Operations
      Corvias Military Living, LLC
      Current Address Unknown
      Currently Employed by Hunt Companies in Providence, Rhode Island

     Plaintiffs are informed and believe that Mr. Boothe has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  21. Charles Connors
      Director of Capital Assets
      Corvias Group
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

     Plaintiffs are informed and believe that Mr. Connors has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.



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  22. Chuck Cavaretta
      Former Vice President of Construction
      Corvias
      Current Address Unknown
      Current Employed by The Cassidy in Winter Haven, Florida

     Plaintiffs are informed and believe that Mr. Cavaretta has knowledge related
     to construction, maintenance, and management of military housing at Fort
     Bragg.

  23. John Shay
      Senior Vice President of Construction & Development
      Corvias
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

     Plaintiffs are informed and believe that Mr. Shay has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  24. Cindy Hart
      Assistant Operations Director- Corvias
      Fort Bragg, North Carolina

     Plaintiffs are informed and believe that Ms. Hart has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  25. Mike Sarisky
      Operations Director-Corvias
      Fort Bragg, North Carolina

     Plaintiffs are informed and believe that Mr. Sarisky has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  26. Mark Foraker
      Former Business Director – Corvias (Fort Bragg)
      Current Address Unknown
      Currently Employed by Barvin in Houston, Texas

     Plaintiffs are informed and believe that Mr. Foraker has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.



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  27. Toni Cornelius
      Professional Engineer-Cornelius Consulting
      4004 Park Avenue
      Wilmington, NC 28403

     Plaintiffs are informed and believe that Ms. Cornelius has knowledge related
     to construction, maintenance, and management of military housing at Fort
     Bragg.

  28. Robert Smith
      Maintenance Manager- Corvias, Fort Bragg
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

     Plaintiffs are informed and believe that Mr. Smith has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  29. Robert Leonard
      Facilities Director- Corvias, Fort Bragg
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

     Plaintiffs are informed and believe that Mr. Leonard has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  30. John Teague
      Service Center Coordinator- Corvias, Fort Bragg
      51 Skytrain Drive
      Fort Bragg, NC 28307
      910-764-4868

     Plaintiffs are informed and believe that Mr. Teague has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  31. Katie Culbreth
      Service Center Coordinator-Corvias, Fort Bragg
      51 Skytrain Drive
      Fort Bragg, NC 28307
      910-764-4868




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     Plaintiffs are informed and believe that Ms. Culbreth has knowledge related
     to construction, maintenance, and management of military housing at Fort
     Bragg.


  32. Michele Wooten
      Staff Accountant- Corvias
      406 Pershing Ct.
      Fort Riley, KS 66442
      785-717-2244

     Plaintiffs are informed and believe that Ms. Wooten has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  33. Scottie Miller
      Former Senior Manager- Corvias, Fort Bragg
      Current Address Unknown
      Currently Employed by Hunt Military Housing in Austin, Arkansas

     Plaintiffs are informed and believe that Mr. Smith has knowledge related to
     construction, maintenance, and management of military housing at Fort
     Bragg.

  34. Matt Brigman
      HVAC Installer
      Sandhills Heating, Refrigeration & Electrical
      Laurinburg, NC

     Plaintiffs are informed and believe that Mr. Brigman is a maintenance worker
     for an outside vendor who worked on HVAC systems in military houses at Fort
     Bragg, NC.

  35. Scotty Locklear
      J&L Contractors & Maintenance Services
      Pembroke, NC 28372
      910-280-0901

     Plaintiffs are informed and believe that Mr. Locklear has knowledge related
     to construction, maintenance, and management of military housing at Fort
     Bragg.

  36. Elizabeth A. Field
      Director, Defense Capabilities and Management
      United States Government Accountability Office
      441 G St., NW



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     Washington, DC 20548
     202-512-2775

     Ms. Field has knowledge of the GAO’s monitoring of privatized housing
     including analysis of data provided by all 14 private partners. Ms. Field
     authored a report entitled, “Military Housing Privatization: Preliminary
     Observations on DOD’s Oversight of the Condition of Privatized Military
     Housing. Ms. Fields testified on these topics before the Senate Armed Services
     Committee.

  37. Hon. Ryan D. McCarthy
      Former Secretary of the United States Army
      Millennium Corporation
      1400 Crystal Drive, Suite 400
      Arlington, VA 22202
      703-436-1343

     As part of his duties as Secretary of the Army, Mr. McCarthy monitored the
     status and condition of military housing. He visited Army installations across
     the country to observe the condition of military housing, including a visit to
     Fort Bragg in September 2020. Following his visit, McCarthy stated, "What
     you saw over time is an abdication of responsibility. We outsource this to a
     corporation. That's the danger when you set up these public-private
     partnerships. Over time, you get lazy. As an institution, we got lazy. The wake-
     up call came two years ago. It is embarrassing and it is awful”.

  38. Col. Phillip Sounia
      Former Garrison Commander- Fort Bragg
      United States Army
      Address Unknown

     May have knowledge regarding the housing conditions given his post.

  39. Senator Elizabeth Warren
      309 Hart Senate Office Building
      Washington, DC 20510
      202-224-4543

     Senator Warren investigated military housing companies and submitted a
     written report dated April 30, 2019.

  40. Shannon Razsadin
      Executive Director of Military Family Advisory Network
      22015 W. 66th St.
      Unit 860635
      Shawnee, KS 66286



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     202-821-4195

     Ms. Razsadin and MFAN released a report that over 67% of all Bragg families
     surveyed reported manifest effects from maintenance, repairs and
     remediation.

  41. Heather Beckstrom
      Current or Former Tenant/Resident
      Address Unknown
      bckstromheather@gmail.com

     Ms. Beckstrom has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  42. Stephanie Blackadar
      Current or Former Tenant/Resident
      Address Unknown
      juggalatis@hotmail.com

     Ms. Blackadar has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  43. Jessica Brueck
      Current of Former Tenant/Resident
      Address Unknown
      Jessica.lynn.brueck@gmail.com

     Ms. Brueck has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  44. Regan Burke
      Current or Former Tenant/Resident
      Address Unknown
      morethanamilkmaid@yahoo.com

     Ms. Burke has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  45. Courtney Burks
      Current or Former Tenant/Resident
      Address Unknown
      courtflavin@yahoo.com

     Ms. Burks has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.




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  46. Cacee Cobarrubia
      Current or Former Tenant/Resident
      Address Unknown
      Cacee.nesbit93@yahoo.com

     Ms. Cobarrubia has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  47. Shyla Curry
      Current or Former Tenant/Resident
      Address Unknown
      Shylacurry98@gmail.com

     Ms. Curry has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  48. Marissa Dilliard
      Current or Former Tenant Resident
      Address Unknown
      Marrissa.dilliard@gmail.com

     Ms. Dilliard has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  49. Pennalla Evans
      Current or Former Tenant/Resident
      Address Unknown
      Mrsevans3013@gmail.com

     Ms. Evans has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  50. Vicki Ragsdale
      Current or Former Tenant/Resident
      Address Unknown
      Mrsforcier1031@gmail.com

     Ms. Ragsdale has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  51. Tia Geisler
      Current or Former Tenant/Resident
      Address Unknown
      Tia.c.geisler@gmail.com




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     Ms. Geisler has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  52. Julie Hilliard
      Current or Former Tenant/Resident
      Address Unknown
      Juliehilliard23@gmail.com

     Ms. Hilliary has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  53. Sarah Lenox
      Current or Former Tenant/Resident
      Address Unknown
      Sarahjclark1747@gmail.com

     Ms. Lenox has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  54. Jacqueline Haven Lyons
      Current or Former Tenant/Resident
      Address Unknown
      havenbrandhorst@gmail.com

     Ms. Lyons has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  55. Chanda Martin
      Current or Former Tenant/Resident
      Address Unknown
      Chandamartin279@gmail.com

     Ms. Martin has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  56. Emya Roberts
      Current or Former Tenant/Resident
      Address Unknown
      Emyareneerob15@gmail.com

     Ms. Roberts has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  57. Tamara Terry
      Current or Former Tenant/Resident
      Address Unknown



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     Jcm72611@gmail.com

     Ms. Terry has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  58. Amber Woollett
      Current or Former TenantResident
      Address Unknown
      amberdw@live.com

     Ms. Woollett has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  59. Sabrina Collins
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Collins has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  60. Danielle Olson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Olson has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  61. Tara Michelle
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Michelle has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  62. Ashlee Monzalvo
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Monzalvo has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.


  63. Toby DeJoinville
      Current or Former Tenant/Resident
      Current Contact Information Unknown




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     Ms. DeJoinville has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  64. Amber Lace
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Lace has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  65. Courtney Wong
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Wong has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  66. Alexis Danielle Martin
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Martin has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  67. Liz Stitt
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Stitt has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  68. Taylor Hinshaw
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Hinshaw has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  69. Cassandra Manis
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Manis has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  70. Lillian Bradford



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     Current or Former Tenant/Resident
     Current Contact Information Unknown

     Ms. Bradford has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  71. Lorena Butler
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Butler has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  72. Jennalynn Apedaile Thomas
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Thomas has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  73. Danielle Jackson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Jackson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  74. Lee Nash
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Mr. Nash has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  75. Tyler Cissna
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Cissna has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  76. Jessica Lynn Brueck
      Current or Former Tenant/Resident
      Current Contact Information Unknown




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     Ms. Brueck has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  77. Alena Martinez
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Martinez has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  78. Meagan Heady Solorzano
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Solorzano has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  79. Sharon Land
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Land has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  80. Taylor Bryant
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Bryant has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  81. Jessica Allen
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Allen has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  82. Jennifer Burt
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Burt has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  83. Briana Kramp



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     Current or Former Tenant/Resident
     Current Contact Information Unknown

     Ms. Kramp has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  84. KayKay Jackson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Jackson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  85. Hannah Gagnon
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Gagnon has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  86. Cat Billet
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Billet has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  87. JayBee Bar
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Bar has personal knowledge of housing defects based on her experience as
     a tenant/resident of Corvias at Fort Bragg, NC.

  88. Jayla Garcia
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Garcia has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  89. Kayla Reed
      Current or Former Tenant/Resident
      Current Contact Information Unknown




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     Ms. Reed has personal knowledge of housing defects based on her experience
     as a tenant/resident of Corvias at Fort Bragg, NC.

  90. Brittany Opsomer
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Opsomer has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  91. Kaytlin Erickson
      Current or Former Tenant/Resident
      Current Contact Information Unknown

     Ms. Erickson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  92. Amanda Anderson
      Current or Former Tenant/Resident
      Address Unknown
      a.anderson0228@gmail.com

     Ms. Anderson has personal knowledge of housing defects based on her
     experience as a tenant/resident of Corvias at Fort Bragg, NC.

  93. Amy Lohrenz and Major Michael Lohrenz are former residents. These
      individuals may have knowledge as per their lawsuit, see Lohrenz v. Bragg
      Communities, LLC, No. 5:2022cv00044 (E.D.N.C.).


  94. Plaintiffs in the Addi case and witnesses identified in that case may have
      knowledge regarding Corvias business operations, customer service, repair
      and maintenance practices, which while occurring at Fort Meade in Maryland
      could be relevant insofar as they reflect common corporate practices that were
      also used and imposed at Fort Bragg. See Addi v. Corvias Management-Army,
      LLC, No. 1:2019cv03253 (D. Md.).




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      Supplemental Answer dated 5/6/22:

DESIGNATED AS CONFIDENTIAL PER PROTECTIVE ORDER


CONFIDENTIAL - REDACTED




NONCONFIDENTIAL:

        Hannah Hurd, Assistant Resident Manager at Corvias, Fort Bragg, North Carolina,
United States. May have knowledge regarding Corvias property management practices.
States that she oversees a team of five in the Pope and Ardennes communities.

      Don Agel, Agel’s Home Inspections, Fayetteville NC. Phone: (910) 224-5076. May
have knowledge regarding repair, maintenance, tenant service issues.

        Wina Hathaway. Employed in contracts and vendor management with Corvias, at
Fort Bragg, since 2014. May have knowledge regarding repair, maintenance, tenant service
issues.

      PFC Anthony Blankenship, wife Brittney, son Jason. Per news reports, this family
moved to Fort Bragg in August 2018:


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        Pfc. Anthony Blankenship points to mold on the grout of his bathroom and a
        greenish mildew stain around the tiles next to the toilet.

        "That's kind of a mold pattern growing underneath," he says. "Workers at
        times just put new grout over the mold. At times, contractors wouldn't show
        up at all for problems ranging from clogged plumbing to faulty ventilation
        ducts."

        "We'd call again, and they'd say we don't have any recollection you put in a
        work order," says Blankenship, who moved into this ranch-style house at Fort
        Bragg, N.C., back in August with his wife, Brittney, and their toddler, Jason.
        "A lot of families, unfortunately, their house is worse than ours," says
        Brittney. 1

         Heath Burleson. Corvias Partnership Advisor. Public biography shows intimate
involvement in Corvias MHPI matters. 2 Corvias materials state that in 2019 he was one of
the key executives who belatedly agreed that Corvias would fund $325M in direct investment
into its Army portfolio in order to remedy the longstanding housing problems. According to
Corvias, as the Senior Vice President of Operations, he was responsible for the oversight and
management of Corvias’ managers across the Army and AF portfolio. In 2018 he assumed
the role of Partnership Advisor for the Corvias Property Management portfolio which has a
2020 annual budget of $435M and development/construction budget of $335M.

      Mark Esper. In his role as Secretary of Defense, Esper went on record regarding the
poor housing conditions. Examples:

        "In too many cases, it is clear the private housing companies failed to uphold
        their end of the bargain, a failure that was enabled by the Army's insufficient
        oversight," Esper said. "We are determined to investigate these problems and
        to hold our housing contractors and chains of command accountable." 3

      SGT Terry Blood and wife, Krysta. Tenants of the Corvias housing at Fort Bragg.
Ms. Blood may have subsequently been hired by Corvias. Their complaints are described in
news articles:

        Sgt. Terry Blood and his wife, Krysta … showed the shoddy repairs at their
        house at Fort Bragg.

        Krysta points to the ceiling inside a closet in her garage. She says a
        subcontractor just plastered over what is a widening stain from a leak that has
        also damaged the floor. The source of the leak is the bathtub.

1
  https://www.cpr.org/2019/03/08/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders/
2
  https://www.congress.gov/116/meeting/house/110611/witnesses/HHRG-116-AP18-Bio-BurlesonM-20200303.pdf
3
  https://apnews.com/article/2f34561f12c743ec8ef349becd9c0802.


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        "For four years, that tub water has been leaking from children's baths," she
        says. "Can you imagine what kind of water has been in between the floors for
        that time?"

        Are their friends having troubles as well?

        "Pretty much the exact same issues," says Terry Blood. "Actually one of our
        friends right across the street, they just got surveyed, and they have found
        cracks. In the summer months they have grass growing up through their
        floor." 4

       Col. Kyle Reed, Fort Bragg Garrison Commander. May have knowledge regarding
the Corvias MHPI involvement at Fort Bragg. Should have knowledge regarding the fallout
from the press coverage, publicity and Congressional hearings occurring in 2018-19,
including steps the Army forced Corvias to take to remedy matters. 5

       Greg Jackson, Chief of Housing, Fort Bragg, Directorate of Public Works. May have
knowledge regarding the Corvias MHPI involvement at Fort Bragg. Should have knowledge
regarding the fallout from the press coverage, publicity and Congressional hearings
occurring in 2018-19, including steps the Army forced Corvias to take to remedy matters.
Has knowledge regarding how in the past, residents thought Housing (Army) and Corvias
were synonymous (which would tend to disincentivize soldiers from complaining). 6

       Krista Lindholm. Fort Bragg tenant. May have knowledge of housing problems at
Fort Bragg. Quoted as saying: "I've seen the mold, and it's legit," Krista Lindholm said of
mold in a neighbor's house. "They're sick, their kids are sick and housing is just not coming
and dealing with it." 7

      Donnie R. Smith, Maintenance Manager at Corvias. May have knowledge regarding
Corvias repair and maintenance practices. Contact information: Administrator, Dual
Impact LLC, Fayetteville, North Carolina; Donnie Smith Construction, LLC, 426 North
Whittington Lane, Dunn, NC, donniecsmith@embarqmail.com, (910) 890-3660, (910) 897-
4847.

     Lisa Sanford. She was an assistant property manager, Corvias, Fort Bragg, 2005 to
November 2017. She may now be working as a community manager in the Raleigh area.

     Marcy C. Woodard. 2908 Winton Drive, Fayetteville NC. Employed as an IT service
manager at Corvias, Fort Bragg, November 2017 to present. Previously employed as an IT

4
  https://www.wamc.org/2019-03-07/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders.
5
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
6
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
7
  https://www.wral.com/soldiers-families-complain-to-tillis-about-fort-bragg-housing/18662015/


                                       22
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management lead (2015-17), a network administrator (2010-2015) and as a desktop
administrator (2006-2010), and resident service specialist (2005-06) for Corvias/Picerne.

       Peter Sims, managing director for Corvias. He has knowledge regarding Corvias
being compelled to install HVAC replacements and other renovations at 5,300 homes at Fort
Bragg. 8 This renovation work was being done as part of Corvias’ agreement to pay $325
million toward housing improvements subsequent to the late 2018 Reuters news article and
resultant controversy and Congressional hearings.

       Taylor Padgett. Fort Bragg Corvias housing resident. Complained of mold problems
in her housing occurring since February 2021.

        As the problem got worse, she hired an independent home inspector who went
        through the house and found major issues with the maintenance of the home.
        He said they contributed to the mold problem.

        “We found a bunch of damage issues with the exterior and roofing problems,”
        said Don Agel of Agel Home inspections. “There was cracked brick veneer
        allowing water to get into her child’s playroom.”

        He also found problems with the water heater and stove.

        “There is a natural gas leak at the water heater and a natural gas leak at the
        oven,” Agel said.

        The Padgett family is currently in an on-post hotel while the property
        management company makes repairs. 9

      Mary Humphreys. Corvias corporate spokesperson. Denied that there were any
problems at the Padgett’s residence.

      Fort Bragg Garrison Command Sgt. Major Jeffery Loehr. May have knowledge
regarding the MHPI housing program and the Corvias housing issues.

      Regan Burke. Fort Bragg Corvias home tenant. Complained of mold problems with
her Corvias home:

        Regan Burke’s family was moved to two different temporary houses on-post
        since September 2020 after mold was found all over her original house.

        Burke said a military inspector from on-post said the home “was
        uninhabitable.”


8
 https://www.corvias.com/news/corvias-updates-more-85-percent-fort-bragg-homes
9
 https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/


                                       23
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        Last week, the family was finally placed into new permanent housing but was
        still trying to get someone to pay for the replacement of their mold-infested
        possessions.

        Regarding the problems being experienced Padgett, Burke, and other
        homeowners, Loehr said: “As the housing property management, Corvias is
        responsible for ensuring prompt and professional maintenance. 10

        Unidentified Corvias employee, first name Leonard. Leonard was a gentleman who
called into CSPAN to speak about how he was working for Corvias when he was fired from
his job at Fort Bragg in 2019. He called on or about July 22, 2019 to complain that he was
being unjustly blamed for the housing issues. He said he was age 67; that it was a shame how
the residents were treated; that he and other employees lost their jobs; that the company was
trying to make the workers feel it was their fault; that they did what they had to do to keep
their jobs; that he was there for 10 years; and that he knew what these military wives were
talking about. 11

        Authors of the Army Inspector General Report, Report ID-1903, Feb.-March 2019. 12
The report found that family concerns about health and safety issues in military housing are
widespread, revealing systemic problems with relationships between the Army and housing
contractors. The government’s current oversight of these projects was insufficient to identify
housing challenges. Inspectors found there was lack of joint authority, confusion regarding
roles and responsibilities, lack of training, dramatic personnel cuts and lack of transparency
among privatized housing companies. Inspectors uncovered a 2013 Army policy that
specifically prohibited health and welfare inspections of military housing. Two-thirds of the
1,180 residents of military privatized housing communities who participated in the IG survey
stated they were dissatisfied with their overall housing experience. Sixty-four percent said
they would move off post if there were no financial costs or concerns, according to the report.
The review was ordered by then-Secretary of the Army Mark Esper in the wake of reports
about widespread problems of mold, water leakage, vermin infestations and other problems
in military housing. 13


        Interrogatory No. 3. State in detail Your employment history for the last ten (10) years.

For all military service, identify where You were stationed, where You resided while stationed

there, and Your duties and responsibilities at each station.




10
   https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/
11
   https://www.c-span.org/video/?c4809169/user-clip-corvias-employee-fired-called-report-unjustly-blamed-
housing-issues
12
   https://www.army.mil/e2/downloads/rv7/families/releaseable-housing-inspection.pdf
13
   https://www.upandcomingweekly.com/local-news-briefs/6565-military-housing-still-a-problem


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       Answer:

        Plaintiffs object to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiffs
further object on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

        1.     Tim Murphy: As of 2012, Tim worked in fire rescue at the fire department,
until he went into the military. That was in Williston FL. While working as a
firefighter/paramedic he was also qualified as a HazMat response technician. He also did
construction work with his father, at Dan Murphy home remodeling, until his father passed
in 2018. on remodeling homes, and then later in life, as a home inspector. When he worked
with his father, Tim learned about the building trade and also more generally about mold.
He also had worked as a supervisor for a remediation company that specialized in working
with fishing houses that had been damaged by water intrusion and sinkholes. In 2018, he
went into the military. First, he was stationed at Fort Benning, GA for infantry basic
training. He went to airborne school at Fort Benning. In January 2019, he came to Fort
Bragg solely for a special operations qualification course. However, when in training, he was
injured. Subsequently, he was honorably discharged with a disability rating. Today, Tim
works as a project manager position at a company (Showcase Restorations) and also has his
own home remodeling company with a proper license and insurance.

       2.      Katelyn Murphy: Katelyn during the 2011-14 time period worked at Publix
in customer service and she also waiting tables at the Copper Monkey in Gainesville FL from
2013-14. She worked as office staff, retinal specialist, Vitreo Retinal, Gainesville FL, from
2014 to 2016. Then she was a stay-at-home Mom. In 2020, she began to work at a rape crisis
center, as a domestic violence and sexual assault victim advocate. She also writes children’s
books for children, under grant funding.

       Interrogatory No. 4. Identify where You have lived in the last ten (10) years including the

address, the dates You resided there, whether it was a single family or multifamily structure,

whether You owned or rented/leased the residence, and the name and contact information of any

owner, lessor and/or property manager if you rented/leased the residence.


       Answer:

        Plaintiffs object to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiffs


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further object on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

       See Plaintiff’s Response to Interrogatory #3. In addition, for Tim Murphy, when he
was young, Tim was residing at 20451 East Levy Street, in Williston FL. Tim’s mother Cindy
Murphy owned the home. It was the family home; he lived there with family. He moved out
when he got married to 1140 NE State Road 47, Trenton FL with Katelyn. He lived there
until he joined the military. The couple rented the 1140 address home from Katelyn’s
mother Dennette Hide. While at Fort Benning, he lived in the barracks there. Then Katelyn
moved in with him when he moved over to Fort Bragg. The family now resides at the home
located at 7554 Decatur Drive, Fayetteville, NC 28303. They moved there after Fort Bragg.
Strother Property Management, which recently changed its name to Empower, is the
landlord for this leased home.

       Prior to her marriage with Tim, circa 2012, Katelyn was living in Tampa, but does
not recall the exact address. She later moved to Gainesville but does not recall the exact
address.

Supplemental Answer dated 5/6/22:

       Bragg residence: 21 Galaxy Street, Quadraplex home – Pope Neighborhood.

       Historical Residences:

      Timothy Murphy lived at 20451 East Levy Street, Williston, FL from 2003 – 2015
(Tim’s Mother Cindy Murphy owned the home). Per Zillow, it has four bedrooms, two
bathrooms, and 1,801 square feet.

       In 2015, When he and Katelyn married, he moved in with Katelyn at 1140 NE State
Road [Route] 47, Trenton, FL. They rented this house from Katelyn’s mother, Dennette
Hide, until 2018. Per Zillow, the residence had three bedrooms, two bathrooms, and 1,008
square feet.

      In Aug. 27, 2018, Tim moved to Fort Benning. While he was at Fort Benning, Katelyn
and       lived at 20451 East Levy Street, Williston, FL. Per Zillow, this residence has four
bedrooms, two bathrooms, and 1,801 square feet.

      When Tim left Fort Benning on Feb. 14, 2019, Tim, Katelyn and             moved to 21
Galaxy Street (Pope neighborhood), Fort Bragg.

      Tim, Katelyn and         moved out of that Fort Bragg location on Oct. 11, 2019, and
moved to 7554 Decatur Dr., Fayetteville. Per Zillow, this residence has three bedrooms, two
bathrooms, and 1,250 square feet.

      Circa 2012 for Katelynn – she moved several times in 2012 and cannot remember the
addresses. The name of the Apartment Complexes were: Polos Apartments, The Gardens


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                                                                             Redacted - Confidential

Apartments, The Reflections Apartments. All in Gainesville, Florida.                            was born while
they lived at the Trenton, FL, location.

       Interrogatory No. 5. Describe in detail any inspection, remediation, maintenance and/or

repairs related to housing or habitability issues, including but not limited to mold, water intrusion,

water leakage, water seepage, or flooding You experienced at any address identified in Your

previous answer, including all communications and actions that You or others took in response.


       Answer:

       Plaintiffs object to the extent that the interrogatory is overly broad and unduly
burdensome and seeks information neither relevant nor likely to lead to the discovery of
admissible evidence, including to the extent that the discovery requests seeks information
predating the relevant class period.

       Without waiving any objections, Plaintiffs state:

        Plaintiffs are informed and believe that Defendants possess all inspection,
remediation, maintenance and/or repair records that are responsive to this request.
Plaintiffs make reference to the facts alleged in the Amended Complaint. Plaintiffs also add
the following:

      On February 21, 2019, Tim executed a lease with the Corvias landlord for a unit at
21 Galaxy Street. That unit was one of four two-story in-line townhouse-style units with
shared garages and walls on a single slab.

       The units were poorly designed. Each had an interior HVAC and water heater area
located on the first-floor interior. The attics for the units did not have a proper fire wall
between them, which allowed mold and water from the roof to freely spread throughout the
four-unit building.

        Also, the attic space was inadequate to provide proper ventilation, which increased
the likelihood that water invasion would lead to mold contamination.

       Inside the Galaxy street units, there was no vapor or moisture barrier between the
plywood and the linoleum floors. The drywall was water-permeable and was not moisture-
rated.

        The front and back doors both had visible light through the seals because they were
not properly fitted. That led to water invasion every time it rained and gave insects access
to the home.




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      The units had lead pipes and lead paint. Corvias told the Murphys not to drink the
tap water and not to let their toddler eat the paint chips.

      One or more Corvias representatives admitted to Tim that Corvias had used
“horrible contractors” in the past and the one who built the Galaxy Street units had been
“black-balled” from future contracts.

       The rent was the family’s entire $1,134.00 per month BAH. This was later lowered
to $918.00 per month, in apparent acknowledgement of the poor condition. Also, utilities
were waived as Corvias apparently acknowledged that the utility bills would be too high for
the Murphys to pay, given the age and condition of the home.

       Prior to moving in, Tim Murphy inspected the unit and filled out a four-page list of
the many defects and issues that he observed. He saw prior water damage in the kitchen,
master bathroom, and upstairs bedroom. The cabinets, counters, and baseboards in the
master bathroom, the half-bath and the kitchen were damaged, reflecting prior water
invasion.

       Tim observed mushy/soft flooring in the master bathroom and the upstairs hall
bathroom, due to prior water invasion. He saw a roof leak and cracked drywall around the
vent in the upstairs hall bathroom. There was a poor ceiling patch job in the master closet,
apparently from repairing damage from prior water invasion. There was visible mold,
damaged drywall and warped shelves in the outdoor storage area.

       Once they moved in, the family experienced numerous problems with the property.
The Corvias work order list dating from October 2019 (which is not a complete listing of the
reported problems) reported things like a “roof leak” on March 1, 2019; “mold in vents” on
April 2, 2019, and a “flood” on May 21, 2019.

       On May 29, 2019, the “cabinets fell off” in the kitchen.

       On July 10, 2019, “dishwasher internal damage” was logged.

      On July 19, 2019, in the worst heat of the summer, it was “A/C not cooling” and “no
AC / burning smell.”

      Various work orders and service calls were falsely marked by Corvias as “cancelled”
or “completed.” Other service requests were deleted or never logged in the first place.

       As early as April of 2019, the Murphys were reporting to Corvias that 21 Galaxy
Street had a mold problem. Tim found mold in the HVAC room and found cracked drywall
near the HVAC air intake, which was sucking the mold from the wall interior space and
distributing the spores through the home.

      Corvias outsourced the response to a company called Paragon, which, on information
and belief, was at one time terminated for billing for inspections and remedial work that it



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did not actually do. However while Corvias eventually said it would not work with Paragon,
it is believed that Corvias has still used Paragon since then.

       Tim directed Paragon to where there was mold in the HVAC room and showed them
that there was mold in the vents. Tim directed workers to other locations in the unit with
mold and sodden flooring and cabinets.

       However, Corvias did nothing to remediate the mold hazard. Instead, in April 2019,
Corvias marked the item as “work completed” even though they had done nothing. Corvias
did not bother to log many subsequent reports about mold.

     Plaintiffs started to document the conditions by photos. (Please see photos in the
Complaint and in the document production).

       After moving in, Tim came home in a light rainstorm to find his wife in tears. She
showed him that the upstairs hall bathroom had water dripping through the ceiling fan. Tim
found that the surrounding ceiling was mushy to the touch and at risk of falling in.

       He reported to Corvias that the roof had a severe leak. When Corvias came out to
inspect, they only did a surface patch on the ceiling. Corvias also made a minor repair on
the roof flashing but denied that there was a more extensive problem with the roof or water
invasion. Since the underlying water invasion issue from the roof was not fixed, the new
drywall patch soon became saturated.

        When they called Corvias on subsequent occasions about the same water invasion
problem in the second-floor hall bath, Corvias voiced doubt that the water invasion in a
second-floor ceiling was due to a roof leak. Meanwhile there was water dripping from the
ceiling vent onto the toilet seat and the ceiling was mushy around it. Corvias refused to
investigate and fix the roof leak, or its root cause.

       Water came in the home throughout summer 2019. In the upstairs master bedroom,
the access point from the closet to the attic sagged inward from the moisture.

      The Murphys had to seal off the master closet from the rest of the bedroom. This was
because if they did not seal the closet door, the moisture migrated into the bedroom and
would fog up the bedroom windows.

      The mold and mildew in the closet stank so badly that the Murphys were not able to
wash the stench out of their clothes. They had to throw everything from that closet away.

        Tim and Katelyn sometimes slept downstairs on the couches to escape the worst
effects. This, however, led to exposure to carbon monoxide.

      They also had to throw away the bedding from the upstairs bedrooms and the
downstairs upholstered furniture before moving out.




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       The air in the attic and in the vicinity of the roof leak was foul and musty. The
elevated moisture content in the interior air was noticeable. By the summer of 2019, the
entire upstairs reeked of mold and mildew.

        The smell in the hall bathroom was particularly horrendous. The Murphys had to
keep the bathroom fan on all night, disturbing sleep and peace of mind. They began to keep
the air conditioner turned down to 66 degrees in an effort to slow the growth of the mold and
mildew, making the home uncomfortably chilly for Mrs. Murphy and their young daughter.

       Tim repeatedly directed Corvias to the upstairs hall bathroom, which had water
invasion and mold. He told them that the that the spongy floor in the upstairs hall bathroom
was saturated with water and was an obvious mold growth zone. The Murphys put in
multiple work orders requesting that this spongy floor be replaced. Corvias deleted one or
more of the work orders.

        Finally, in August or early September, the floor was so wet that the linoleum began
to peel back. Tim investigated and discovered that there were three additional stacked layers
of linoleum beneath the floor surface. Each linoleum layer was covered with mold.

       When it rained, the hall bathroom floor would become so saturated with water that
it would leak out into the hall. When the Murphys stepped on the floor in this area after a
storm, water that was discolored from rusty nails in the subfloor would squirt out and drip
down the stairs.

       When this issue was pointed out, Corvias denied that the discoloration was from
water and suggested that the discoloration was due to tile and carpet glue. This issue too was
apparently deleted from the work order logs that Corvias gave to the Murphys in October
2019.

      Tim’s later inspection through the closet access point into the attic space in about
September of 2019 showed that the roof leak had not been properly repaired.

       Other families in the fourplex had similar water invasion issues. Corvias similarly
denied that the roof was at fault. However, the Murphy’s adjoining neighbor persisted after
the Murphys moved out, and Corvias ultimately had to acknowledge that the roof did indeed
leak. In early 2020, Corvias was said to have belatedly repaired or replaced the roof.

       Throughout the Murphys’ stay at 21 Galaxy Drive, Corvias never properly
remediated any of the water invasion and mold growth issues. Instead, Corvias merely
caulked or painted over or (as with the hall bathroom) a new layer of linoleum was layered
over the existing wet, moldy layer.

      In May 2019, the Murphy family sought Corvias’ help again. The downstairs
bathroom had flooded with water and the water was entering from underneath the wall.
Corvias inspected and attributed the flood to an AC line. The Murphys asked for
dehumidifiers to remove the moisture from within the walls. Corvias refused, creating one



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more unremediated area of water damage and mold growth. The baseboards in that area
swelled and split open.

       Also in May of 2019, the family’s air conditioning unit in the interior HVAC room
backed up and flooded the HVAC room and out into the adjoining hallway. Corvias came
to repair but did only the bare minimum and refused to provide a dehumidifier, despite
requests. Water then soaked into the floor and into the thickly painted walls and baseboards
and became yet another incubation area for interior mold. Corvias did not open the wall to
remediate the water damage inside it, leading to another reservoir of water and mold.

       Corvias continued to deny that there was a problem with roof leaks and rejected the
notion that the water invasion could be causing mold growth. Corvias denied that mold
might adversely affect the family’s health. The Murphys believed that the unit was toxic and
was making them sick. They took to spending more time outdoors, where there were heaps
of trash Corvias had not picked up, despite requests. (See, e.g., June 21, 2019, work order
for “Trash clean up” marked cancelled.)

       In July of 2019, the heating element in the dishwasher caught on fire. Tim smelled
the burning odor, investigated and saw smoke. Luckily Tim was a former fireman and so
was able to rapidly extinguish the fire before it spread. He called the event in to Corvias.
This event was logged but marked “cancelled.” It took Corvias some two weeks to replace
the dishwasher and they did nothing to check for electrical issues or other fire hazards.

       In July of 2019, in the thick of the summer heat, the air conditioning failed. The
capacitor on the air conditioning unit made noise whenever it was in operation, and the noise
was getting worse. This was brought to Corvias’ attention, but they did not investigate or
remediate. Finally, the capacitor failed and tripped the breaker. It would have started a fire
had Tim again not been there to detect the electrical fire smell and respond.

       The most serious and life-threatening defect of all, however, was an insidious,
odorless, colorless carbon monoxide (“CO”) leak. Prior to August 2019, Tim had discovered
that he felt physically better when away from home on grueling training exercises. When he
came home, his health and physical condition would deteriorate.

       In August, shortly after Tim came to home recuperate from shoulder surgery, a
Corvias team knocked on the door and told Tim that they had to come in to check the AC
and the vents in the interior HVAC room. They hooked up a drain to the water heater line
and drained it. When Tim looked in to see what they were doing, one worker told Tim that
there was a bad gas leak and that the CO detector was not working. The worker’s supervisor
then denied there was a leak, told the worker to be quiet, and told Tim that he would have
to direct any questions to management. Corvias replaced the smoke and CO detector.

       Tim became concerned for his family’s health, because news was just breaking about
a potentially life-threatening CO problem on base. See Associated Press, Carbon monoxide
problem discovered at Fort Bragg housing, August 15, 2019 (“A family that went to the
hospital with symptoms that suggested carbon monoxide poisoning has led military officials
to warn dozens of families at Fort Bragg about possible exposure. News outlets report


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military officials said Wednesday that a combination of factors caused the issue, including
partially blocked air ducts that allowed carbon monoxide to build when the laundry room's
door was closed. The investigation began after the family's hospital visit Aug. 4.”),

       Tim called the Corvias office and was told that there was no issue with the gas line or
the CO detectors at the unit. Corvias publicly stated that it would be sending engineers to
inspect potentially impacted homes. Yet on the day of the “inspection,” Tim opened the door
and found that Corvias had not sent a trained engineer. Instead, it was the same repairman
who had worked on Tim’s pipes a few weeks before.

       The repairman confirmed that he was not a trained engineer. The only “fix” that he
made on that visit was to remove the door into the interior HVAC area, which left the high
voltage in that area accessible to a curious toddler and at just the right height for her to stick
her fingers into.

       On information and belief, Corvias did not have licensed plumbers doing the work on
the gas line and water heater in the HVAC area, and did not have the system periodically
inspected by a licensed plumber. Corvias’ improper installation and maintenance of the CO
detector at 21 Galaxy Street then compounded the risk of CO exposure.

        Other residents during this episode noted that as was typical of its maintenance
practices, Corvias was failing to do a root cause analysis or address the root cause. See Haley
Britzky, Army reporter, Task & Purpose, More than 80 homes found to be at-risk of carbon
monoxide poisoning at Fort Bragg, Aug. 15, 2019 (“Tamara Terry, an active-duty Army wife
of almost four years who lives in Corvias housing at Fort Bragg, told Task & Purpose that
the ‘entire base is appalled at what's happening.’ ‘What is going on? You're telling me you
have over 100 homes at risk ... and you're just letting them stay there? Knowing that it's a
risk, you're allowing them to still live in those homes with their children?’ She added that
removing the doors is ‘not actually fixing the problem,’ and that they should ‘take out and
put it somewhere else. ... They're once again not getting to the root of the problem.’”).

       Corvias disguised this entire episode, which could have severely injured or even killed
the Murphys, in a bland September 5, 2019 work order entry that said only “GHWH
Inspection.” The underlying screen shot which Tim captured revealed a different story --
that the root cause was “gas leak on hard line” and that Corvias had “changed combo
detector” and acknowledged that this issue was a “Health/Safety” issue.

        When Tim subsequently had the Fire Department come out to verify that the CO leak
had been fixed, he also had them check that the CO monitor was working. The inspector
from the fire department told him that Corvias had never had the fire department come out
to test either the CO monitors or the smoke detectors.

       Finally, on October 8, 2019, the Murphy family gave notice that they were vacating
the property. The cited as a reason for the move, amongst the many problems the family
had experienced, the “mold issues.” The Murphys moved into off-base housing.




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       The Murphys had to pay about $4,000 out of their savings to move into housing off-
base. The Murphys were fortunate that they had some personal savings from Tim’s pre-
enlistment work to fund the move. Tim’s military pay, at about $24,000 per year, barely
covered the family’s expenses and did not leave enough cushion to pay for a move.

      Corvias withheld the Murphys’ BAH for October 2019 until mid-November, which
made it more difficult for the Murphys to move out of their unit. Corvias threatened to
charge an additional $1000 for breaking the lease. The Murphys had to take a loan to assist
with moving into their new home.

       During the course of the Murphys’ almost eight months at 21 Galaxy Street, their
health deteriorated, due to their exposure to the mold and CO in the house.

        Katelyn Murphy developed fatigue, headaches and memory loss. She had congestion,
sinus issues and respiratory distress. The longer she was at 21 Galaxy Street, the worse she
felt. Her symptoms mostly cleared after moving out of 21 Galaxy Street.

       The young daughter began to have headaches and a runny nose that would not stop,
even with medication. Finally, the pediatrician discovered that the inside of her nose was
blue. He attributed this to mold in the unit. Her symptoms improved after the family moved.

       Tim, who had spent much of his time at home recuperating from shoulder surgery,
developed chronic severe headaches, fatigue and respiratory distress. He also developed
gastrointestinal problems. The headaches and fatigue lessened after moving out.

       In October 2019, Tim Murphy requested a copy of the work order history for the
unit. He discovered that the work order history had been edited in October 2019 right before
Corvias provided the report to him.

      Specifically, Corvias had edited the work orders to disguise the gas line leak causing
the CO issue and had re-written the calls as a gas water heater inspection.

       Tim also noticed that Corvias had gone back and edited some of the entries in order
to whitewash the pervasive issues with the home.

Supplemental Answer dated 5/6/22:

       With regard to whether Mr. or Mrs. Murphy ever had significant inspections or
repairs at other residences where they have lived aside from the Corvias home at Fort Bragg:

       The Plaintiffs have not to date located additional responsive information.


       Interrogatory No. 6. State each and every instance in which You contend a defendant

failed to properly address a housing or habitability issue, including but not limited to alleged water



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or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural issue, lead-based paint,

mold, or suspect fungal growth; provide the dates thereof; and state what You contend the

defendant should have done differently. Set forth all facts on which You base Your contentions. If

You are relying on any written documents or records, identify those documents and records, and

state the material in each document which You contend demonstrates improper conduct.


        Answer: See Plaintiffs’ response to Interrogatory #5.


Supplemental Answer dated 5/6/22:

       With regard to whether Mr. or Mrs. Murphy ever had significant habitability issues
at other residences where they have lived aside from the Corvias home at Fort Bragg: The
Plaintiffs have not to date located additional responsive information.

      With regard to the habitability issues at Fort Bragg: By way of supplemental
information, the Plaintiffs state as follows:

      Sounia Situation – Carbon Monoxide Poisoning: On or about August 15, 2019, a
neighbor across the street had to be hospitalized for carbon monoxide poisoning and the local
news came in. 14

        In response, the Murphy’s understanding is that then-garrison commander Col.
Phillip Sounia took the media to a beautiful officer’s housing section of Bragg (off limits to
enlisted personnel), which in no way reflected the condition of most properties, and said
something like, “Look, our houses are beautiful. They’re fine.”

       It is unknown whether Heather Fuller or anyone else associated with Corvias
educated Col. Sounia on the nature of the actual lower-level enlisted-soldier housing
conditions at the housing that Corvias oversaw. It is believed that Ms. Fuller and Col. Sounia
were in close touch with one another during that time period. Plaintiffs contend that Corvias,
as the self-professed expert on housing, had the primary duty to inform Army personnel
about the real facts of the housing situation. Corvias did not do that until too late, meaning
that many families had to suffer living through unacceptable housing conditions, before
belatedly under media, public, Army and Congressional pressure, the company finally
agreed to spend $300 million-plus to renovate and teardown homes.



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  https://www.wect.com/2019/08/15/ft-bragg-family-hospitalized-after-reported-carbon-monoxide-poisoning-
home/#:~:text=FAYETTEVILLE%2C%20N.C.%20(WNCN)%20%E2%80%94,released%20on%20the%20same%
20day.


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       According to public information, on or about June 23, 2020, Col. Sounia, who had
been the Fort Bragg garrison commander, was relieved of the command because of a "loss
of trust and confidence in his abilities to command." 15 The details are unknown and
Plaintiffs will supplement as they learn more.

      The Murphy family heard that the Galaxy property was officer housing in the 70s
and subsequently became enlisted housing.

       A couple days after the news that a neighbor was hospitalized for carbon monoxide,
Katelyn saw several people in suits across the street at the neighbor’s property. About four
days later, there was a knock on their door and there were Corvias Alabama personnel. They
smelled for gas and asked them to leave the house.

        Plaintiffs do not know why it was that Corvias had to bring in personnel from one of
the other military bases it managed the housing for, when Corvias has led the public to
believe that the company had enough staff at Bragg to adequately manage the housing
situation.

       The Murphy’s daughter,       was there at this time (2-3 years old). Katelyn was a
stay-at-home mother and       was with her all day.       started having headaches.

       The neighbor’s address (with the carbon monoxide/gas leaks) was also on Galaxy
Street. The properties in this Galaxy Street neighborhood had the same general
design/floorplan although some of the laundry rooms were different. Presumably, the same
manufacturer built these homes in 1970s. Corvias, of course, should readily have this exact
information which it would have received when it first bid on the Bragg project, or
subsequently after 2003 as it owned and leased out the housing.

       In the Galaxy Street units, the Murphys noticed that water heaters and gas were
located next to living room and kitchen (centrally located gas, air conditioning, water heater
with no ventilation-unvented). Propane gas would burn and the post-combustion gases would
pervade the living area and kitchen.

       They believe they could smell, were affected by, the gases. Katelyn can recall
instances when she would walk into the kitchen and forget what she was doing.

        Corvias Poor Work: Corvias pulled the doors off of the air conditioning and inside
closet, which actually increased their exposure to off gassing and created an electrical shock
hazard (high voltage electrical equipment exposure (220 Volts within arm’s reach of
daughter)) in a house with a three-year old.

        Tim told Corvias that was the last straw. They had to get out of the house for the sake
of their family. The remedies proposed by Corvias were unacceptable. One was to take an
A/C vent cover and put it on the door. Tim, who has knowledge, expertise and experience in
construction and building code standards, told them that their proposal failed to satisfy the

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     https://taskandpurpose.com/news/fort-bragg-garrison-commander-relieved/


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code requirements. It was obvious to him, by that time, that Corvias – not just as a one-off
event but as a profound and fundamental matter of their business model and their business
structure, their culture -- was not going to handle the issue properly and the family was
going to have to get out of the uninhabitable housing.

       Katelyn called the Corvias representatives almost weekly asking for doors and they
never did anything to mitigate the hazard they created. They didn’t even tape it off.

       Tim believes, based on his experience and expertise, that the work that Corvias has
recently announced making a capital investment of $300 million to do now, completely
replacing HVAC systems, should have been done years ago.

        He has heard that that these homes were to be remodeled in the early 2000s and
Corvias said at the time that they didn’t need to be remodeled – they handled it with just a
facelift. They put carpet in, they put linoleum over other linoleum (which also proved to
ensure mold stayed in the home), and they used heavy paint called Kilz to cover up lead-
based paint and mold, etc.

       His own expertise was such that a contractor at Bragg wanted to hire him, ironically,
to do work on Corvias housing renovation work once the company finally announced it was
putting up the funds. He declined. His reasons why included the poor to mediocre pay that
came with Corvias projects; the abysmal quality of the Corvias repair, maintenance and
construction efforts when it had come to their own home on Galaxy Street; and the evidence
that Corvias still had not changed its culture or its ways.

       He recall that he was offered $27.00 per hour as a supervisor. The contractor told
him that Paragon was still working for Corvias -- Paragon being a contractor who had done
the shoddy work on his home at Galaxy Street. This fact – them still using Paragon – along
with others, told him that Corvias did not care. He did not want his name associated with it.
He was embarrassed about the work performed there and the quality of his work is
important to him.

       In short, even after the news of the terrible military housing and the complaints made
by the families at Bragg and elsewhere came out, and even after Mr. Picerne had testified to
Congress in 2019, Corvias was still using Paragon.

        During the pertinent times, the circumstances indicated that Corvias was badly
mismanaging its housing. Homes that had no business still being in use without substantial
renovations or rebuilds were nonetheless still in use. Corvias though owning its own
vertically integrated construction business (Corvias Construction), was failing to recognize
the unacceptable quality of the housing, failing to address the root cause of the poor
habitability conditions and tenant complaints and repair requests, and on information and
belief, misleading the Army that wholesale renovation/rebuilding was not necessary. Corvias
while getting paid millions from the Army and servicemember rents, yet it only had a small
number of hired employee repair and maintenance persons on-site at Bragg. Most of the
work was farmed out to independent contractors who Corvias poorly paid without insurance



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and no healthcare. The result was undertrained, low-morale and low-quality, even with
substance-abusing repair people showing up to homes.

       One contractor said he pays the guys on Tuesdays, because he knows they like to do
meth on the weekends. Corvias paid for no better than ragtag repair crews, who were never
allowed to evaluate nor so much as mention to the customer (the tenant) the root causes of
the recurrent problems. (If they even had the capacity to determine them).

       A contractor said to Tim how once an employee came in with a homeless person,
someone in a suit and a woman and that one or more of them were going to do his work for
him because he was too drunk to work. The Corvias standard was low pay, a ragtag crew,
not drug testing, and poor quality. Tim wanted to have nothing to do with this.

       On the issue of being able to inspect home before moving in: Corvias will say that
families like the Murphys had ample chance to look at the home before they agreed to the
lease and moved in. That is misleading. First, the types of problems these homes had were
often ones going on below the surface and out of ready sight. They were problems the
landlord and owner should have known about, but not the newly arriving family seeing the
unit for the first time. These are generally young families, with limited education; without
construction or building experience.

        Military housing is a lottery type system. If you don’t have a home, you have to stay
at a hotel. The Murphys could not stay in officer housing. Tim’s rank was not high enough.
And they had limited resources, limiting their housing choices. In their early interactions
with Corvias, the company led them to believe 1) that there was a huge demand for the on-
base homes, so they better jump at the first opportunity to get one; and 2) that the housing
was fine, they could trust Corvias, and any problems they noticed would be fixed.

       They were offered two homes to choose from. Corvias sold them on 21 Galaxy Street
by saying it was high level officer housing, superior to other houses. They were told they
could inspect it one time and Corvias had someone else interested in the house so they should
hurry. Tim was given about 20 minutes to look at the house. Tim told the Corvias people
that he saw a few things during his walkthrough. They told him to write down whatever he
found and they would fix the issues within 48 hours. He believed that as a good faith response
and he accepted it. In the first five days, he created a punchlist and he specifically noted
mold in the vent. Again, they promised they would fix within 48 hours. But they did not.

       In that regard, the average servicemember family will not learn of how poor the
Corvias tenant service, repair and maintenance practices are, until after they have signed
the lease and moved in.

       The Galaxy Street unit had a centrally located HVAC. Tim noted the fact that in
newer and safer construction, the water heaters are usually placed away from the living area
within the home (like in the garage) as they can explode. The hot water heater by being
centrally located in the home was in a less safe place.




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        A lot of the houses had plumbing issues. However, Corvias always blamed it on the
soldiers. Corvias would say that water problems in the home were caused by soldiers not
putting a towel on the water on the floor to sop it up. That’s the same thing Corvias told Tim
– that if there was water on the floor, it was because the family members were not using a
towel. The message was: any water damage is your fault.

        At one point, a contractor said to Tim that a lot of the houses were going to collapse
so it would be good if they were going to be able to get to them before that happened, to pull
them apart and rebuild/renovate.

        During the limited walkthrough afforded to Tim Murphy at move-in for Galaxy
Street, it was impossible for him just based on that walkthrough to discover that the house
was inhabitable. However, by the end of their tenancy and based on his extensive experience
in the construction industry, his informed opinion would be that the house was absolutely
uninhabitable.

       Again, he was noting problems even before he moved into the 21 Galaxy Street
address with his family – he made the punch list right at the start, and believed in good faith
that Corvias would fix the problems. He also believed and assumed, in good faith, that there
were no serious underlying root problems with the unit that the owner or landlord were
allowing to continue along – known to the landlord but not to the tenants.

       On the first day he walked in and documented the problems he found, and Corvias
said they would quickly resolve the issues. The family took the Corvias person at her word.
But they did not fix the problems.

        The reason he took the house to start with was based on the pressure from Corvias
that, if you don’t take it, someone else would. And the promises from Corvias that the
housing was fine. As to the Galaxy Street home, Corvias made it seem like they won the
lottery when they leased it.

       Mold in the vents were never addressed. The repair folks said they couldn’t remove
the vent from the wall because it was covered by several layers of paint. He measured it to
be 1/8” thick of paint – you cannot pull the vent off.

      He fears, however, that the conditions of the HVAC ductwork inside the vent
resembled what has come to light for other homes. See photos regarding the Thomas home,
produced in supplemental document production.

       From talking to others, Tim also learned that the lower personnel were closing out
work orders without the upper level management knowing. It appears that Corvias failed
to have an audit or oversight system in effect to prevent this unfair and deceptive practice.

       Katelyn recalls that about five days after they moved in, Tim was gone for an
extended period and she was stuck with the situation alone. Corvias only fixed the small
items, or did minor things, but did nothing for the bigger issues. At one point she had a fan



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needed fixing. The guy who came to fix the fan told her that the floor was rotted, but he
would not fix it. He said words to the effect of, “Your floor is really spongy, it’s like your
floor is going to fall through.”

        Some of the workers who came by the house were disrespectful and rude to Katelyn,
saying things like, “You don’t know what you’re talking about.” She can recall an exchange
like that occurring after they had been in the Galaxy Street home for about two weeks.

       The workers were also loud and messy. For instance, when they came to fix the
bathroom ceiling, they would leave insulation on the hallway floor. This was offensive to a
family with a young child.

       The neighbor was having the same problem. They were not fixing work orders and
her husband was away. Tim came back a month later and soon had to leave for another three
weeks. Once he got back, the problem became more clear to him.

        Another time, they woke up one morning and there was about an inch of water in
their downstairs bathroom. Tim checked the piping and the problem was not obvious. The
Murphy family called in an emergency work order and Corvias came out. The worker said
that the A/C line backed up. Walls were saturated at the base and even the interior. The
worker was supposed to bring in a dehumidifier to reduce the moisture, but did not. They
called in another work order for this, and it was not provided. This supplemental work was
necessary to prevent future/further issues.

       Regarding complaints: When they first started complaining, Corvias would say
words to the effect of “don’t worry, we’ll send someone out.” They said they had a required
response time for mold of 24-48 hours. But, when the personnel would come out, they would
only remedy the problem – not fix it.

       Tim and Katelyn finally figured this out once it happened enough times that they saw
a pattern. That’s when Tim escalated the problem by emailing them a couple times a day.
He doesn’t know if they got blacklisted, but it appeared that Corvias employees were told to
stop responding to Murphy complaints.

       In September-October 2019: They called Corvias repeatedly. Once when Tim called
them, the person on phone said, “Oh, your 21 Galaxy Street. We were told that Cindy Hart
is handling your situation” or something similar. They actually filed complaints and never
heard anything back. Tim was emailed surveys and he would fill them out and hear nothing
back. Even when he told them the wood was rotted, Corvias would tell them that if they did
any damage, they would be charged for it. And, that it would be reported to his chain of
command (i.e., a threat).

       Surveys would be emailed to Tim/Katelyn and say, “Now that your work order is
done, complete the survey.” At least half of the time, the work was not even done yet.




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        When the family first got to Fort Bragg, complaints had to go through a complaint
line (telephone): call 800 number, record the issue, wait for help in a 24 to 48 hour period.

       Then, Corvias implemented by July 2019 a new, online process for complaint
management. Cindy Hart gave an explanation for why Corvias had switched to the new
system. She said that sometimes those operators would mess up so it was better to have an
online portal to expedite the process. Corvias said it was more efficient.

        Corvias never explained to the Plaintiffs or their neighbors that the real reason why
it was having to go to the new complaint management system was because of the trouble the
company was in over the publicity over the terrible housing for many soldier families. In
fact, the timeline shows that after the Reuters article in late 2018, and after Mr. Picerne was
called to testify at Congres and to apologize, Corvias told Congress that it was ending the use
of remote call centers as part of its overall effort to remedy the problems. That is different
from that the Corvias personnel told the Murphys.

       It is believed that Corvias also put in the internet complaint management system in
order to try to save labor costs by eliminating the need for additional full-time Bragg-located
employee hires.

        Cindy Hart came out with two people on one occasion to the Galaxy Street home. One
person claimed to be an Environmental Specialist (he was African American; he said he was
a licensed and/or trained biologist).

       The other was said to be the Head Technician (Caucasian, middle aged with ponytail,
wearing a red Corvias shirt; Cindy introduced him as being from the construction side of
the company). (By comparison, the typical Corvias repair people would often show up at the
house in an old T-shirt and pants).

        The Head Technician agreed with Tim that the house had a façade going on – it was
not as good as it looked. The environmental specialist said something like “Well, don’t pull
that duct work out. If you damage something, we can report it to your chain of command.”
(This is one reason why Plaintiffs are entitled to discovery from Corvias and from the Army
on relevant communications – to see whether Chain of Command have any idea that such
threats were being made.).

       In about September/October 2019. Cindy brought in its so-called environmental
specialist to try to disprove Tim’s allegations. The Environmental Specialist found out that
Tim was a HazMat Technician. He tried to tell Tim that the holes in the linoleum were dirt.
Katelyn, Tim and            were there at the time of the visit. The Environmental Specialist
claimed, “There is no such thing as mold.”

                Problems: Headaches started with their young daughter,              within a
month of moving to the property. Katelyn took           to the doctor, and the doctors said it
could be allergies, but they didn’t know.         started getting black spots under her eyes
in a couple of months and had constant allergies.



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       The house had few windows and Katelyn recalls that it was hard to breathe in. She
got concerned again about how         looked and took her to the doctor again.       s nose
was blue inside. The doctor became concerned. He said that they needed to get out of the
house they were in and move to another residence. The doctor felt that something in the
house was affecting       . Katelyn recalls that the doctor wrote them a letter hoping that
would help get them a new place to live, but that did not work. Meanwhile, Katelyn herself
was having constant allergies, headaches and wasn’t feeling good.

        They gave the letter to Cindy Hart (she believes), but Corvias did nothing. The family
dealt with Cindy as they understood her to be the manager of the community that their home
was in.

        Corvias was going to charge them $3000 to let them get out of the lease.

       Katelyn recalls that other women with babies and toddlers in their community were
also having some of the same issues. There was a girl next door to them who had to leave the
home next door because the baby was getting so sick from living in that house. As soon as
that family moved, the baby was no longer sick.

      Work Orders: The Murphys have evidence showing how the work order language
changed over time. Corvias would send someone out, they would not fix the problem, but
the work order would say otherwise.

        It took several weeks to get Cindy Hart to get them the work order history, but they
finally got it. Tim noticed an error from looking over one of the work orders, but Cindy
Hart’s response was something like, “Well, that’s what I have.”

        The Murphys were specifically told that they were only allowed to speak to Cindy
Hart.

      The electronic work order system had a “last edited” date that shows when the
language changed in some instances.

        Paragon: Paragon was a contractor that did some ceiling repairs at their property
because of a roof leak that never was properly addressed. The family would joke that after
their repairs happened, you could actually multitask when sitting on the toilet as water would
drip on you: “You could take a shower and go to the bathroom at the same time.”

        Regarding families/homes with similar situations:

       23 Galaxy Street – Nathan and Angela Nolan – they had to have their whole house
stripped, upstairs, where they had a water leak. There was a sweet-sour odor of ammonia
they had, like urea. They had to stay in hotel when work was done.




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        19 Galaxy Street – They went in one day and the neighbor said they were having
flooding problems in their home. Instead of fixing the problem (weather stripping, etc.),
Corvias pulled up carpeting and installed linoleum in the house because intruding water was
easier to cope with that way.

        Plaintiffs may seek to qualify Tim Murphy as an expert, as well as a Plaintiff, in light
of his education and experience in construction and homes. Based on the information that
he has reviewed so far, starting out from his own family’s facts regarding the Galaxy Street
address, Tim is of the opinion that:

    •   The Galaxy Street home was in unacceptable and uninhabitable condition when
        Corvias leased it to his family.

    •   The home in the condition that it was in, when his family lived there, needed a
        complete teardown and rebuild. Comparing the condition of that home to other
        residential properties that may be “flipped,” or renovated, prior to being rented out
        or sold, this unit at Galaxy Street needed more than a routine renovation.

    •   Under the circumstances (lack of true and accurate information from the company;
        use of bad faith, unfair and deceptive practices in tenant communications, tenant
        service, repair and maintenance), the presence of lead paint and/or pipes in the home
        was unacceptable.

    •   The unit needed a whole new roof. The attic space was highly humid. Studs were
        rotted. The floor was rotted.

    •   Corvias should have known that the house was uninhabitable. Presumably, Corvias
        in both its owner and landlord and property manager and construction company
        capacities, knew the prior history of the unit, knew of past repair and maintenance
        issues, and knew of past tenant complaints.

    •   The conditions in the home indicated years of faulty maintenance and repair. In the
        bathroom, there were four layers of linoleum, each with mold problems. This
        suggests they didn’t get rid of mold, in the past, but hid it with a new layer of linoleum
        – three times.

    •   The conditions were rendered worse because Corvias had told contractors and
        vendors only to engage in very limited (and cheaper) tasks, both when the Murphys
        were there, and, inferably, over the years prior to that dating back to 2003. As an
        example, regarding the defective roof, when the Paragon contractor came to fix the
        bathroom ceiling, they told Tim they were not there to fix the attic problem. It was
        another example of taking a “band aid” approach to handing major problems.




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       Interrogatory No. 7. Describe in detail every instance in which You sent or received a

complaint, inquiry, or other communication concerning a housing or habitability issue, including

but not limited to water or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural

issue, lead-based paint, mold, or suspect fungal growth in (or on the outside or perimeter of)

military housing at Fort Bragg, including all follow-up communications and actions that You or

others took in response to each such issue and identify the persons involved.


       Answer:

       Objection. This interrogatory is vague and overly broad. Plaintiffs cannot recall
“every instance” where a communication was made concerning military housing defects.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs are informed and believe that Defendants are in possession of all
maintenance and repair requests submitted by Plaintiffs, along with all records related to
Defendants’ responses. Additionally, Plaintiffs make reference to the facts and allegations
set out in the Amended Complaint.

       Supplemental response dated 5/6/22:

       Plaintiffs have provided all responsive information they have regarding complaints,
inquiries and communications, in connection with the other interrogatory responses herein.
Plaintiffs respectfully request that the Defendants review those responses.

       Interrogatory No. 8. If You allege you were exposed to mold, lead-based paint, or other

allegedly harmful substances while at Fort Bragg, describe such exposure in detail including the

date such exposure took place, where such exposure took place, the date You first experienced

symptoms and any how You confirmed such exposure involved the alleged substance. If You are

relying on any written documents or records, identify those documents and records, and state the

material in each document which You contend demonstrates the presence of the alleged substance.




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       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

Supplemental Answer dated 5/6/22:

    Plaintiffs allege that they were exposed to mold and air that passed through filthy
HVAC ducts while at the Fort Bragg address.

        Plaintiffs are in the process of obtaining the family’s medical records and reserve the
right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       Plaintiffs provided their signed revised Medical Authorizations to Defendants on May
27, 2022 and June 8, 2022.

       Interrogatory No. 9. State whether or not You have been treated by, diagnosed by, or

admitted to any hospital or other healthcare facility in the last ten (10) years and if so, state the

name of the hospital or facility, the dates of treatment, diagnosis, or admission , the illness or

condition involved and the names and addresses of the health care provider(s) who treated You.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss


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of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

       Supplemental response dated 5/6/22:

       Plaintiffs are in the process of obtaining copies of their medical records and reserve
the right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       Plaintiffs provided their signed revised Medical Authorizations to Defendants on May
27, 2022 and June 8, 2022.

        As to medical providers Plaintiffs have seen in the last 10 years, Timothy Murphy,
while living in Williston Florida, saw Dr. David Wise, Nature Coast Medical Group. Mr.
Murphy was treated at Sandhill Medical Clinic for an abrasion and was treated at Clarks
Clinic in Fort Bragg by Dr. Ormsbee.

       Katelyn Murphy recalls seeing a provider in Shands Hospital. While living in
Williston with her mother-in-law, Ms. Murphy was seen at UF Health Internal Medicine (Dr.
Maska). Ms. Murphy was also treated at Cape Fear Family Medicine, Owen Drive,
Fayetteville, NC, Womack Army Hospital ER, and Cape Fear Orthopedics.

       The Murphys’ daughter,           was born at Shands Hospital in Gainesville, and was
seen by Alliance Pediatrics in Gainesville.      was also treated at Kidzcare Pediatrics in
Spring Lake, NC, Womack Hospital, Cape Fear Hospital, Carolina Child Neurology, and
Cape Fear Pediatrics.

       Interrogatory No. 10. State whether You have undergone a physical examination in the

last ten (10) years. If so, state the date of any such examination, where it was conducted, who

conducted the examination and whether there is a report or other Document concerning such

physical examination.




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       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

       Supplemental response dated 5/6/22:

       Plaintiffs are in the process of obtaining copies of their medical records and reserve
the right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 11. State whether You have consulted any health care provider in the

past ten (10) years. If so, specify in detail the nature of the condition for which You consulted the

health care provider and the name and address of each health care provider who provided treatment

for the condition.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL



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11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

       Supplemental response dated 5/6/22:

       Plaintiffs are in the process of obtaining copies of their medical records and reserve
the right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 12. State whether You ever experienced any respiratory conditions,

breathing difficulties, asthma, allergies, headaches, skin conditions, chronic nasal congestion,

chronic sinus infections, or lead poisoning symptoms. If so, describe the treatment You received

for such condition, including the name and address of each healthcare provider who treated you,

the time period in which you were treated, and any prescription or over-the-counter medications

taken to treat such conditions.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:



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       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

          Supplemental response dated 5/6/22:

       Plaintiffs are in the process of obtaining copies of their medical records and reserve
the right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

          See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


          Interrogatory No. 13. Describe the injuries You contend You sustained as a result of the

Your military housing experience at Fort Bragg. If you claim You are still afflicted with or

suffering from the effects of any such injury, describe Your claim and all supporting evidence in

detail.


          Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

          Without waiving any objections, Plaintiffs state:

          See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs during the pertinent times suffered discomfort, annoyance, irritation and
loss of use of their ability to enjoy their property. See In re NC Swine Farm Nuisance Litig.,
No. 5 7:14-cv-00180-BR (E.D.N.C.), jury instructions filed at Doc. 262, on April 26, 2018, at
p. 14 (private nuisance jury instruction for damages: “The plaintiffs claim that the
interference with the use and enjoyment of his or her property has caused him or her anger,


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embarrassment, annoyance, inconvenience, decreased quality of life, and/or physical and
mental discomfort. There is no fixed formula for placing a value on these alleged harms. You
will determine what is fair compensation by applying logic and common sense to the
evidence.”).

      Plaintiffs further suffered from a loss of the comfort, quiet and enjoyment and
habitability of their rented premises during the pertinent times.

        Plaintiffs further suffered from the injury of not getting the benefit of their bargain
with regard to their rented housing. During the pertinent times, the Plaintiffs duly and
timely paid any and all rent that was due and owing for their rented Corvias military housing
home. However, they did not receive the quality of rented housing to which they were
entitled and for which, with their limited means, they paid.

       Supplemental response dated 5/6/22:

       Plaintiffs are in the process of obtaining copies of their medical records and reserve
the right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 14. If You were treated, attended or examined by any physician(s) or

others for the injuries identified in responses to Interrogatories 12-13, state the names and

addresses of all such persons and the nature of the medical treatment given by each physician or

other person. If any diagnostic tests were performed, state the type of test performed, name and

address of the place where it was performed, date each test was performed and what each test

disclosed.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living


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with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

       Supplemental response dated 5/6/22:

       Plaintiffs are in the process of obtaining copies of their medical records and reserve
the right to supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 15. Identify any communications, whether written or oral, You had

with any person, including but not limited to other residents of Fort Bragg, environmental

consultants, and members and civilian employees of the Army, media outlet, or federal, state or

local government agency, official, staff member or employee wherein you discussed any alleged

housing issues at Fort Bragg, including but not limited to mold, health or habitability issues.


       Answer:

       Objection. This Interrogatory is vague and overly broad. Plaintiffs cannot possibly
remember and recount each and every conversation, written or oral, that they had over the
course of multiple years, let alone the topic of each conversation.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Defendants are believed to have records kept in the normal course of business and
reflecting numerous of the complaints and relevant communications from, to and with the
Plaintiffs, or either of them.

       At one point, Tim Murphy sent a letter to JAG, and communicated with Captain
Monea, who wrote back in an email and a letter under letterhead. Tim met personally with
him as well.



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Supplemental Answer dated 5/6/22:

       Plaintiffs described their interactions and communications that they could recall with
regard to their housing at Fort Bragg, in their response to the interrogatories above. They
respectfully direct Defendants to those responses.


       Interrogatory No. 16. If You have ever been convicted or pleaded guilty, no contest, or

entered an Alford plea to an offense punishable by imprisonment of more than one year or any

crime of dishonesty or false statement, regardless of the punishment actually imposed, please state

the date of each conviction or plea, the name and location of the court in which You were convicted

or pleaded in, and the crime of which you were convicted or pleaded guilty, no contest, or entered

an Alford plea to.


       Answer:


        Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence. Plaintiffs further
object that the scope of the request is unlimited in time. Plaintiffs further object to the extent
the discovery requests would purport to elicit information on old matters or misdemeanor
matters with no potential relevance herein.

       Without waiving any objections:

       For Katelyn Murphy – Not applicable.

      For Tim Murphy – Not applicable. (In or about the 2007-08 time period, as a young
man, Tim and a friend were hunting and shot a deer. As it turned out, this was outside of the
hunting season, and so, the game warden charged him. He was briefly detained in jail
because he lacked the funds to get out at the time. It was believed to be merely a
misdemeanor.).

       Interrogatory No. 17. Identify each person whom You may call as an expert witness at

trial. With respect to each expert, state his or her name and address, the subject matter on which




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the expert is expected to testify, the substance of the facts and opinion to which the expert is

expected to testify, and a summary of the grounds for each opinion.


       Answer:


       Objection. The time for the Plaintiffs to be obligated to name any of their experts in
this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their expert witnesses in this matter.

       Plaintiffs reserve the right to supplement this response in due course.

       Interrogatory No. 18. List any photographs, diagrams, or other exhibits which You or

your attorney have which you will or may introduce at trial.


       Answer:

         Objection. The time for the Plaintiffs to be obligated to determine and disclose their
list of exhibits for trial in this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their exhibits in this matter.

       Plaintiffs reserve the right to supplement this response in due course.


       Interrogatory No. 19. Have You ever been named as a plaintiff or defendant in any type

of litigation other than this lawsuit? If so, please state the name, county court or federal district,

and case number as well as the outcome of the litigation.


       Answer:


      Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence.



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       Without waiving any objections:

       No.


       Interrogatory No. 20. Please state the full names and dates of birth of any person who

resides, or resided at the time period of the allegations contained in the Amended Complaint, with

You at Fort Bragg.


       Answer:

       Objection. Plaintiffs wish to safeguard relevant information regarding their minor
children.

       Without waiving any objections, Plaintiffs state:

       No other individuals resided with Plaintiffs’ family during the relevant times.

       Objection. Plaintiffs’ do not wish to identify their minor children.            No other
individuals resided with Plaintiffs.

Supplemental Answer dated 5/6/22:




       Interrogatory No. 21. Itemize and show how you calculate any damages claimed by You

in this Action, whether economic, non-economic, or other.


       Answer:

     Objection. This interrogatory calls for a legal conclusion and attorney work product.
Moreover, Plaintiffs have not formulated a settlement demand at this stage.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #13.

Supplemental Answer dated 5/6/22:

     Actual damages will be calculated in accordance with the allowable categories of
damages under the North Carolina Pattern Jury Instructions and/or traditional jury


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instructions for whichever causes of action the Court may allow to go to trial. Contract
damages could be measured by the total amount of the BAH rent paid by the soldier or on
his behalf, or some percentage thereof, on the theory that the soldier paid to receive decent
accommodations, did not receive them, and did not receive the benefit or the bargain.
Damages for private nuisance would include damages for discomfort, annoyance, irritation,
annoyance, and loss of use and enjoyment. Damages for breach of the warranty of
habitability may include via the measure of damages by the difference between the value of
the rented premises in its uninhabitable condition and its fair market rental value otherwise.
Under Chapter 75, a prevailing plaintiff may be entitled to three times actual damages.

       Plaintiffs reserve the right to supplement to the extent they are able to identify
damages in other respects including out of pocket expenses; moving expenses; costs
associated with relocating to a new home that would not otherwise have been expended;
values of lost or damaged clothing, linens or furniture; etc.

      Plaintiffs do not claim lost wages or lost income (e.g., taking time away from work
because of the conditions at the home, and suffering lost wages as a result).

       Plaintiffs reserve the right to allege other claims including but not limited to punitive
damages if the discovery so supports in assessing the gravity of the fraud and recklessness-
related allegations in the complaint, e.g. regarding the work order process and purported
tenant customer service facility of the enterprise.




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Date: July 8, 2022.                 Respectfully submitted,

                                    s/John Hughes
                                    Mona Lisa Wallace
                                    NC State Bar No. 009201
                                    John Hughes
                                    NC State Bar No. 22126
                                    WALLACE & GRAHAM, PA
                                    525 N. Main Street
                                    Salisbury, North Carolina 28144
                                    Telephone: 704-633-5244
                                    Fax: 704-633-9434
                                    mwallace@wallacegraham.com
                                    jhughes@wallacegraham.com

                                    J. Anthony Penry
                                    N.C. Bar No. 8936
                                    PENRY | RIEMANN PLLC
                                    2245 Gateway Access Point, Suite 203
                                    Raleigh, NC 27607
                                    (919) 792-3891
                                    Andy.Penry@PenryRiemann.com

                                    Robert S. Metro
                                    S.C. Bar No. 69494
                                    BAUER & METRO, PC
                                    Post Office Box 7965
                                    Hilton Head, SC 29938
                                    (843) 842-5297
                                    Rmetro@bauerandmetro.com
                                    Appearing pursuant to Local Rule 83.1(e)

                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022 I served this document on counsel for the Defendants

herein, by email, as follows:

                                      Mark P. Henriques
                                      Matthew F. Tilley
                           WOMBLE BOND DICKINSON (US) LLP
                               3500 One Wells Fargo Center
                                  301 South College Street
                            Charlotte, North Carolina 28202-6025
                            E-mail: Mark.Henriques@wbd-us.com
                            E-mail: Matthew.Tilley@wbd-us.com

                                       Thomas J. Yoo
                                 HOLLAND & KNIGHT LLP
                                  400 S. Hope St., 8th Floor
                                   Los Angeles, CA 90071
                                  Thomas.Yoo@hklaw.com

                                        Jessica L. Farmer
                                 HOLLAND & KNIGHT LLP
                                800 17th Street, N.W., Suite 1100
                                    Washington, D.C. 20006
                                  Jessica.Farmer@hklaw.com

Date: July 8, 2022.                         Respectfully submitted,

                                            s/John Hughes
                                            Mona Lisa Wallace
                                            NC State Bar No. 009201
                                            John Hughes
                                            NC State Bar No. 22126
                                            WALLACE & GRAHAM, PA
                                            525 N. Main Street
                                            Salisbury, North Carolina 28144
                                            Telephone: 704-633-5244
                                            Fax: 704-633-9434
                                            mwallace@wallacegraham.com
                                            jhughes@wallacegraham.com




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                                                       VERIFICATION
            I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
            correct:
                    1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                       personal knowledge.

                    2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                       for the housing at Fort Bragg.

                    3. From time to time, I have provided information to my lawyers to prepare
                       “interrogatory responses.”

                    4. I have now been asked to verify that as to the responses being served, the information
                       that is in them that came from me or that I know personally, in fact is true to the best
                       of my knowledge. I have gone over these interrogatory responses.

                    5. Where those responses contain facts about my family or me personally and other facts
                       of which I have personal knowledge, I swear and affirm under penalty of perjury that
                       those facts and statements are true to the best of my knowledge.

                    6. Where the facts are based on information provided by other people, I state that I
                       believe that information to be true.

                    7. Where the facts are about other things like facts learned from public records, I am
                       relying on my attorneys and the investigation that my attorneys did.

                    8. I declare under penalty of perjury that the foregoing is true and correct.

                      7/7/2022
            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Katelyn Murphy




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                           IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION


    SSG SHANE PAGE, et al.                                 )
                                                           )
          Plaintiffs,                                      )
                                                           )
    v.                                                     )             CASE NO. 5:20-cv-00336-D
                                                           )
    BRAGG COMMUNITIES, LLC, et al.                         )
                                                           )
          Defendants.                                      )
                                                           )
    ____________________________________

                     SSG SHANE PAGE’S 1 AND BRITTANY PAGE’S
                     SUPPLEMENTAL JULY 8, 2022 RESPONSES TO
                   DEFENDANTS’ FIRST SET OF INTERROGATORIES

         Plaintiffs, SSG Shane Page and Brittany Page, by and through their undersigned attorneys,

and by way of supplementing their answers to the interrogatories propounded by Defendants,

pursuant to Fed. R. Civ. P. 26 and 33, state as follows:

         Plaintiffs assert attorney-client privileges and immunities as to all communications

between Plaintiffs and legal counsel, and thus object to producing or disclosing such

communications. Undersigned counsel asserts work-product privileges and immunities as to their

own work product. Plaintiffs therefore object to producing such work-product. Plaintiffs assert

work-product privileges and immunities as to all communications and documentation prepared in

anticipation of litigation and thus object to producing such work product.

         In setting forth these answers, Plaintiffs do not waive any attorney-client, work-product, or

other privilege or immunity which may attach to information called for in, or which may be


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  Shane Page is in Africa with limited connectivity. Plaintiffs are endeavoring to obtain a signed verification page
from his wife signing in her capacity as his power of attorney. Update: as of 7/8/22, SSG Page is in Bosnia.
However, Plaintiffs are working with him so that he can review information.



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responsive to, these interrogatories. Plaintiffs do not concede the relevance or materiality of these

interrogatories, the subject matter of these interrogatories, or documents produced in response to

these interrogatories.    Plaintiffs reserve the right to question the competency, relevancy,

materiality, privilege, and admissibility of any documents produced or referred to herein.

Plaintiffs also reserve the right to revise, correct, supplement, or clarify any of their answers or

documents referred to herein. The above objections, privileges, and immunities are asserted in

response to each of the following interrogatories as if set forth verbatim at the beginning of the

answers to each interrogatory:

       Interrogatory No. 1. State Your full name, address, date of birth, current and past marital

status (including the date(s) of marriage and the full name of your spouse(s) (if applicable), Social

Security number, driver’s license number and cell phone number(s) and email(s) used while

residing at Fort Bragg.


       Answer:

      Plaintiffs object to the interrogatory to the extent it is overbroad, unduly burdensome
and harassing. For example, information about a past marriage outside of the pertinent time
period relevant herein is irrelevant nor likely to lead to the discovery of material and
admissible evidence.

       Without waiving any objections, Plaintiffs state:

       Brittany M. Page
       69 Baltic Circle
       Fort Bragg, NC 28307


       828-390-1829
       NC 000034227128
       Watsonbrittany282@yahoo.com

       SSG Shane Page
       69 Baltic Circle
       Fort Bragg, NC 28307



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       315-460-6897
       NC 000036896571
       Sppackfan19@gmail.com

       Interrogatory No. 2. Identify all persons who are likely to have personal knowledge of

any fact alleged in the pleadings, and state the subject matter of the personal knowledge possessed

by each such person.


       Answer:


      Plaintiffs object to the extent the discovery request would require the disclosure of
information that may only be appropriately disclosed under the auspices of an appropriate
Court-approved confidentiality protective order. Without waiving any objections:

           1. All named Plaintiffs and Defendants, along with the individuals identified in
              their respective initial disclosures and discovery responses.

           2. All current and former tenants/residents of Corvias military housing at Fort
              Bragg during the class period.

           3. Jessica Mundus
              Former Neighbor
              Florida Address Unknown
              910-527-3506

               Ms. Mundus was the Pages’ neighbor at 274 Spear Drive and has personal
               knowledge of housing defects via her verbal communications and interaction
               with the Pages.

           4. Kayla Sanchez
              Address Unknown (Fort Bliss, El Paso, TX)
              432-248-7542

               Ms. Sanchez is a friend of the Pages who previously resided at Fort Bragg,
               North Carolina. Ms. Sanchez was present when Corvias conducted water
               intrusion testing at 274 Spear Drive and other repair work.

           5. Jonathan Whalen
              Morganton, NC
              828-334-7251




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      Mr. Whalen is a friend of the Pages who visited frequently and has personal
      knowledge of housing defects via verbal communications and interaction with
      the Pages.

   6. Suzy Fitzgerald
      2850 Fish Hatchery Road
      Morganton, NC
      828-438-9944

      Ms. Fitzgerald is a friend of the Pages who visited frequently and has personal
      knowledge of the housing defects via verbal communications and interaction
      with the Pages.

   7. Capt. Jason Ritch
      Fort Polk, LA
      803-727-5302

      Capt. Ritch was the officer in charge of inspecting military following the “town
      hall meetings”. Capt. Ritch was also Sfg. Shane Page’s team leader.

   8. John Picerne
      Founder/Chairman of the Board – Corvias
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

      Plaintiffs are informed and believe that Mr. Picerne has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   9. Patrick Bucolo
      Resident Manager-Corvias
      Fort Bragg

      Plaintiffs are informed and believe that Mr. Bucolo has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   10. Leonard Jones
       Resident Manager-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Mr. Jones has knowledge related to all
      facets of Corvias’ military housing operations at Fort Bragg.

   11. Amber Smiley
       Resident Assistant Manager-Corvias
       Fort Bragg



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      Plaintiffs are informed and believe that Ms. Smiley has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   12. Vanessa Hargrave
       Resident Associate-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Ms. Hargrave has knowledge related
      to all facets of Corvias’ military housing operations at Fort Bragg.

   13. Jenneisha Monroe
       Resident Associate-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Ms. Monroe has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   14. Mallory Dixon
       Resident Service Specialist-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Ms. Dixon has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   15. Kianna Amos
       Resident Service Specialist-Corvias
       Fort Bragg
       Plaintiffs are informed and believe that Ms. Amos has knowledge related to all
       facets of Corvias’ military housing operations at Fort Bragg.

   16. Heather Fuller
       Operations Director- Corvias Management
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Ms. Fuller has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   17. Deb Osmanski
       Former Program Office Administrator (Office Manager)
       Corvias-Fort Bragg
       Current Address Unknown
       Current Employer is ER Wagner in Menomonee Falls, Wisconsin
       800-558-5596



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      Plaintiffs are informed and believe that Ms. Osmanski has knowledge related
      to all facets of Corvias’ military housing operations at Fort Bragg.

   18. Michael Melia
       Former Director of Construction – Corvias
       Current Address Unknown
       Current Employer is RQ Construction in Pinehurst, North Carolina
       760-631-7707

      Plaintiffs are informed and believe that Mr. Melia has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   19. Jeremy Stefanko
       Former Senior Maintenance Manager
       Corvias Military Living, LLC
       Current Address Unknown
       Currently Employed by Cumberland County, NC

      Plaintiffs are informed and believe that Mr. Stefanko has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   20. Steve Maxwell
       Former Facilities Director
       Corvias Military Living, LLC
       Current Address Unknown
       Currently Employed by Balfour Beatty Communities in Wetumpka, Alabama

      Plaintiffs are informed and believe that Mr. Maxwell has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   21. Steve Boothe
       Former Director of Facilities Operations
       Corvias Military Living, LLC
       Current Address Unknown
       Currently Employed by Hunt Companies in Providence, Rhode Island

      Plaintiffs are informed and believe that Mr. Boothe has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   22. Charles Connors
       Director of Capital Assets



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      Corvias Group
      1405 S County Trail #530
      East Greenwich, RI 02818
      401-228-2800

      Plaintiffs are informed and believe that Mr. Connors has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   23. Chuck Cavaretta
       Former Vice President of Construction
       Corvias
       Current Address Unknown
       Current Employed by The Cassidy in Winter Haven, Florida

      Plaintiffs are informed and believe that Mr. Cavaretta has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   24. John Shay
       Senior Vice President of Construction & Development
       Corvias
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Shay has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   25. Cindy Hart
       Assistant Operations Director- Corvias
       Fort Bragg, North Carolina

      Plaintiffs are informed and believe that Ms. Hart has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   26. Mike Sarisky
       Operations Director-Corvias
       Fort Bragg, North Carolina

      Plaintiffs are informed and believe that Mr. Sarisky has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.




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   27. Mark Foraker
       Former Business Director – Corvias (Fort Bragg)
       Current Address Unknown
       Currently Employed by Barvin in Houston, Texas

      Plaintiffs are informed and believe that Mr. Foraker has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   28. Toni Cornelius
       Professional Engineer-Cornelius Consulting
       4004 Park Avenue
       Wilmington, NC 28403

      Plaintiffs are informed and believe that Ms. Cornelius has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   29. Robert Smith
       Maintenance Manager- Corvias, Fort Bragg
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Smith has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   30. Robert Leonard
       Facilities Director- Corvias, Fort Bragg
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Leonard has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   31. John Teague
       Service Center Coordinator- Corvias, Fort Bragg
       51 Skytrain Drive
       Fort Bragg, NC 28307
       910-764-4868




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      Plaintiffs are informed and believe that Mr. Teague has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   32. Katie Culbreth
       Service Center Coordinator-Corvias, Fort Bragg
       51 Skytrain Drive
       Fort Bragg, NC 28307
       910-764-4868

      Plaintiffs are informed and believe that Ms. Culbreth has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   33. Michele Wooten
       Staff Accountant- Corvias
       406 Pershing Ct.
       Fort Riley, KS 66442
       785-717-2244

      Plaintiffs are informed and believe that Ms. Wooten has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   34. Scottie Miller
       Former Senior Manager- Corvias, Fort Bragg
       Current Address Unknown
       Currently Employed by Hunt Military Housing in Austin, Arkansas

      Plaintiffs are informed and believe that Mr. Smith has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   35. Matt Brigman
       HVAC Installer
       Sandhills Heating, Refrigeration & Electrical
       Laurinburg, NC

      Plaintiffs are informed and believe that Mr. Brigman is a maintenance worker
      for an outside vendor who worked on HVAC systems in military houses at Fort
      Bragg, NC.

   36. Scotty Locklear
       J&L Contractors & Maintenance Services
       Pembroke, NC 28372
       910-280-0901



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      Plaintiffs are informed and believe that Mr. Locklear has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   37. Elizabeth A. Field
       Director, Defense Capabilities and Management
       United States Government Accountability Office
       441 G St., NW
       Washington, DC 20548
       202-512-2775

      Ms. Field has knowledge of the GAO’s monitoring of privatized housing
      including analysis of data provided by all 14 private partners. Ms. Field
      authored a report entitled, “Military Housing Privatization: Preliminary
      Observations on DOD’s Oversight of the Condition of Privatized Military
      Housing. Ms. Fields testified on these topics before the Senate Armed Services
      Committee.

   38. Hon. Ryan D. McCarthy
       Former Secretary of the United States Army
       Millennium Corporation
       1400 Crystal Drive, Suite 400
       Arlington, VA 22202
       703-436-1343

      As part of his duties as Secretary of the Army, Mr. McCarthy monitored the
      status and condition of military housing. He visited Army installations across
      the country to observe the condition of military housing, including a visit to
      Fort Bragg in September 2020. Following his visit, McCarthy stated, "What
      you saw over time is an abdication of responsibility. We outsource this to a
      corporation. That's the danger when you set up these public-private
      partnerships. Over time, you get lazy. As an institution, we got lazy. The wake-
      up call came two years ago. It is embarrassing and it is awful”.

   39. Col. Phillip Sounia
       Former Garrison Commander- Fort Bragg
       United States Army
       Address Unknown

      May have knowledge regarding the housing conditions given his post.

   40. Senator Elizabeth Warren
       309 Hart Senate Office Building
       Washington, DC 20510
       202-224-4543



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      Senator Warren investigated military housing companies and submitted a
      written report dated April 30, 2019.

   41. Shannon Razsadin
       Executive Director of Military Family Advisory Network
       22015 W. 66th St.
       Unit 860635
       Shawnee, KS 66286
       202-821-4195

      Ms. Razsadin and MFAN released a report that over 67% of all Bragg families
      surveyed reported manifest effects from maintenance, repairs and
      remediation.

   42. Heather Beckstrom
       Current or Former Tenant/Resident
       Address Unknown
       bckstromheather@gmail.com

      Ms. Beckstrom has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   43. Stephanie Blackadar
       Current or Former Tenant/Resident
       Address Unknown
       juggalatis@hotmail.com

      Ms. Blackadar has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   44. Jessica Brueck
       Current of Former Tenant/Resident
       Address Unknown
       Jessica.lynn.brueck@gmail.com

      Ms. Brueck has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   45. Regan Burke
       Current or Former Tenant/Resident
       Address Unknown
       morethanamilkmaid@yahoo.com

      Ms. Burke has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.



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   46. Courtney Burks
       Current or Former Tenant/Resident
       Address Unknown
       courtflavin@yahoo.com

      Ms. Burks has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   47. Cacee Cobarrubia
       Current or Former Tenant/Resident
       Address Unknown
       Cacee.nesbit93@yahoo.com

      Ms. Cobarrubia has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   48. Shyla Curry
       Current or Former Tenant/Resident
       Address Unknown
       Shylacurry98@gmail.com

      Ms. Curry has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   49. Marissa Dilliard
       Current or Former Tenant Resident
       Address Unknown
       Marrissa.dilliard@gmail.com

      Ms. Dilliard has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   50. Pennalla Evans
       Current or Former Tenant/Resident
       Address Unknown
       Mrsevans3013@gmail.com

      Ms. Evans has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   51. Vicki Ragsdale
       Current or Former Tenant/Resident
       Address Unknown
       Mrsforcier1031@gmail.com




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      Ms. Ragsdale has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   52. Tia Geisler
       Current or Former Tenant/Resident
       Address Unknown
       Tia.c.geisler@gmail.com

      Ms. Geisler has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   53. Julie Hilliard
       Current or Former Tenant/Resident
       Address Unknown
       Juliehilliard23@gmail.com

      Ms. Hilliary has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   54. Sarah Lenox
       Current or Former Tenant/Resident
       Address Unknown
       Sarahjclark1747@gmail.com

      Ms. Lenox has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   55. Jacqueline Haven Lyons
       Current or Former Tenant/Resident
       Address Unknown
       havenbrandhorst@gmail.com

      Ms. Lyons has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   56. Chanda Martin
       Current or Former Tenant/Resident
       Address Unknown
       Chandamartin279@gmail.com

      Ms. Martin has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   57. Emya Roberts
       Current or Former Tenant/Resident
       Address Unknown



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      Emyareneerob15@gmail.com

      Ms. Roberts has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   58. Tamara Terry
       Current or Former Tenant/Resident
       Address Unknown
       Jcm72611@gmail.com

      Ms. Terry has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   59. Amber Woollett
       Current or Former TenantResident
       Address Unknown
       amberdw@live.com

      Ms. Woollett has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   60. Sabrina Collins
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Collins has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   61. Danielle Olson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Olson has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   62. Tara Michelle
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Michelle has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   63. Ashlee Monzalvo
       Current or Former Tenant/Resident
       Current Contact Information Unknown




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      Ms. Monzalvo has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.


   64. Toby DeJoinville
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. DeJoinville has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   65. Amber Lace
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Lace has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   66. Courtney Wong
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Wong has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   67. Alexis Danielle Martin
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Martin has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   68. Liz Stitt
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Stitt has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   69. Taylor Hinshaw
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Hinshaw has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.




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   70. Cassandra Manis
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Manis has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   71. Lillian Bradford
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Bradford has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   72. Lorena Butler
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Butler has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   73. Jennalynn Apedaile Thomas
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Thomas has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   74. Danielle Jackson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Jackson has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   75. Lee Nash
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Mr. Nash has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   76. Tyler Cissna
       Current or Former Tenant/Resident
       Current Contact Information Unknown




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      Ms. Cissna has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   77. Jessica Lynn Brueck
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Brueck has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   78. Alena Martinez
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Martinez has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   79. Meagan Heady Solorzano
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Solorzano has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   80. Sharon Land
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Land has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   81. Taylor Bryant
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Bryant has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   82. Jessica Allen
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Allen has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   83. Jennifer Burt



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      Current or Former Tenant/Resident
      Current Contact Information Unknown

      Ms. Burt has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   84. Briana Kramp
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Kramp has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   85. KayKay Jackson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Jackson has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   86. Hannah Gagnon
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Gagnon has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   87. Cat Billet
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Billet has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   88. JayBee Bar
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Bar has personal knowledge of housing defects based on her experience as
      a tenant/resident of Corvias at Fort Bragg, NC.

   89. Jayla Garcia
       Current or Former Tenant/Resident
       Current Contact Information Unknown




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      Ms. Garcia has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   90. Kayla Reed
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Reed has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   91. Brittany Opsomer
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Opsomer has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   92. Kaytlin Erickson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Erickson has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   93. Amanda Anderson
       Current or Former Tenant/Resident
       Address Unknown
       a.anderson0228@gmail.com

      Ms. Anderson has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   94. Amy Lohrenz and Major Michael Lohrenz are former residents. These
       individuals may have knowledge as per their lawsuit, see Lohrenz v. Bragg
       Communities, LLC, No. 5:2022cv00044 (E.D.N.C.).


   95. Plaintiffs in the Addi case and witnesses identified in that case may have
       knowledge regarding Corvias business operations, customer service, repair
       and maintenance practices, which while occurring at Fort Meade in Maryland
       could be relevant insofar as they reflect common corporate practices that were
       also used and imposed at Fort Bragg. See Addi v. Corvias Management-Army,
       LLC, No. 1:2019cv03253 (D. Md.).



Supplemental Answer dated 5/6/22:


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 DESIGNATED AS CONFIDENTIAL PER PROTECTIVE ORDER


CONFIDENTIAL - REDACTED




 NONCONFIDENTIAL:

         Hannah Hurd, Assistant Resident Manager at Corvias, Fort Bragg, North Carolina,
 United States. May have knowledge regarding Corvias property management practices.
 States that she oversees a team of five in the Pope and Ardennes communities.

       Don Agel, Agel’s Home Inspections, Fayetteville NC. Phone: (910) 224-5076. May
 have knowledge regarding repair, maintenance, tenant service issues.

         Wina Hathaway. Employed in contracts and vendor management with Corvias, at
 Fort Bragg, since 2014. May have knowledge regarding repair, maintenance, tenant service
 issues.

       PFC Anthony Blankenship, wife Brittney, son Jason. Per news reports, this family
 moved to Fort Bragg in August 2018:




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        Pfc. Anthony Blankenship points to mold on the grout of his bathroom and a
        greenish mildew stain around the tiles next to the toilet.

        "That's kind of a mold pattern growing underneath," he says. "Workers at
        times just put new grout over the mold. At times, contractors wouldn't show
        up at all for problems ranging from clogged plumbing to faulty ventilation
        ducts."

        "We'd call again, and they'd say we don't have any recollection you put in a
        work order," says Blankenship, who moved into this ranch-style house at Fort
        Bragg, N.C., back in August with his wife, Brittney, and their toddler, Jason.
        "A lot of families, unfortunately, their house is worse than ours," says
        Brittney. 2

         Heath Burleson. Corvias Partnership Advisor. Public biography shows intimate
involvement in Corvias MHPI matters. 3 Corvias materials state that in 2019 he was one of
the key executives who belatedly agreed that Corvias would fund $325M in direct investment
into its Army portfolio in order to remedy the longstanding housing problems. According to
Corvias, as the Senior Vice President of Operations, he was responsible for the oversight and
management of Corvias’ managers across the Army and AF portfolio. In 2018 he assumed
the role of Partnership Advisor for the Corvias Property Management portfolio which has a
2020 annual budget of $435M and development/construction budget of $335M.

      Mark Esper. In his role as Secretary of Defense, Esper went on record regarding the
poor housing conditions. Examples:

        "In too many cases, it is clear the private housing companies failed to uphold
        their end of the bargain, a failure that was enabled by the Army's insufficient
        oversight," Esper said. "We are determined to investigate these problems and
        to hold our housing contractors and chains of command accountable." 4

      SGT Terry Blood and wife, Krysta. Tenants of the Corvias housing at Fort Bragg.
Ms. Blood may have subsequently been hired by Corvias. Their complaints are described in
news articles:

        Sgt. Terry Blood and his wife, Krysta … showed the shoddy repairs at their
        house at Fort Bragg.

        Krysta points to the ceiling inside a closet in her garage. She says a
        subcontractor just plastered over what is a widening stain from a leak that has
        also damaged the floor. The source of the leak is the bathtub.


2
  https://www.cpr.org/2019/03/08/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders/
3
  https://www.congress.gov/116/meeting/house/110611/witnesses/HHRG-116-AP18-Bio-BurlesonM-20200303.pdf
4
  https://apnews.com/article/2f34561f12c743ec8ef349becd9c0802.


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        "For four years, that tub water has been leaking from children's baths," she
        says. "Can you imagine what kind of water has been in between the floors for
        that time?"

        Are their friends having troubles as well?

        "Pretty much the exact same issues," says Terry Blood. "Actually one of our
        friends right across the street, they just got surveyed, and they have found
        cracks. In the summer months they have grass growing up through their
        floor." 5

       Col. Kyle Reed, Fort Bragg Garrison Commander. May have knowledge regarding
the Corvias MHPI involvement at Fort Bragg. Should have knowledge regarding the fallout
from the press coverage, publicity and Congressional hearings occurring in 2018-19,
including steps the Army forced Corvias to take to remedy matters. 6

       Greg Jackson, Chief of Housing, Fort Bragg, Directorate of Public Works. May have
knowledge regarding the Corvias MHPI involvement at Fort Bragg. Should have knowledge
regarding the fallout from the press coverage, publicity and Congressional hearings
occurring in 2018-19, including steps the Army forced Corvias to take to remedy matters.
Has knowledge regarding how in the past, residents thought Housing (Army) and Corvias
were synonymous (which would tend to disincentivize soldiers from complaining). 7

       Krista Lindholm. Fort Bragg tenant. May have knowledge of housing problems at
Fort Bragg. Quoted as saying: "I've seen the mold, and it's legit," Krista Lindholm said of
mold in a neighbor's house. "They're sick, their kids are sick and housing is just not coming
and dealing with it." 8

      Donnie R. Smith, Maintenance Manager at Corvias. May have knowledge regarding
Corvias repair and maintenance practices. Contact information: Administrator, Dual
Impact LLC, Fayetteville, North Carolina; Donnie Smith Construction, LLC, 426 North
Whittington Lane, Dunn, NC, donniecsmith@embarqmail.com, (910) 890-3660, (910) 897-
4847.

     Lisa Sanford. She was an assistant property manager, Corvias, Fort Bragg, 2005 to
November 2017. She may now be working as a community manager in the Raleigh area.

     Marcy C. Woodard. 2908 Winton Drive, Fayetteville NC. Employed as an IT service
manager at Corvias, Fort Bragg, November 2017 to present. Previously employed as an IT


5
  https://www.wamc.org/2019-03-07/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders.
6
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
7
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
8
  https://www.wral.com/soldiers-families-complain-to-tillis-about-fort-bragg-housing/18662015/


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management lead (2015-17), a network administrator (2010-2015) and as a desktop
administrator (2006-2010), and resident service specialist (2005-06) for Corvias/Picerne.

       Peter Sims, managing director for Corvias. He has knowledge regarding Corvias
being compelled to install HVAC replacements and other renovations at 5,300 homes at Fort
Bragg. 9 This renovation work was being done as part of Corvias’ agreement to pay $325
million toward housing improvements subsequent to the late 2018 Reuters news article and
resultant controversy and Congressional hearings.

       Taylor Padgett. Fort Bragg Corvias housing resident. Complained of mold problems
in her housing occurring since February 2021.

        As the problem got worse, she hired an independent home inspector who went
        through the house and found major issues with the maintenance of the home.
        He said they contributed to the mold problem.

        “We found a bunch of damage issues with the exterior and roofing problems,”
        said Don Agel of Agel Home inspections. “There was cracked brick veneer
        allowing water to get into her child’s playroom.”

        He also found problems with the water heater and stove.

        “There is a natural gas leak at the water heater and a natural gas leak at the
        oven,” Agel said.

        The Padgett family is currently in an on-post hotel while the property
        management company makes repairs. 10

      Mary Humphreys. Corvias corporate spokesperson. Denied that there were any
problems at the Padgett’s residence.

      Fort Bragg Garrison Command Sgt. Major Jeffery Loehr. May have knowledge
regarding the MHPI housing program and the Corvias housing issues.

      Regan Burke. Fort Bragg Corvias home tenant. Complained of mold problems with
her Corvias home:

        Regan Burke’s family was moved to two different temporary houses on-post
        since September 2020 after mold was found all over her original house.

        Burke said a military inspector from on-post said the home “was
        uninhabitable.”


9
 https://www.corvias.com/news/corvias-updates-more-85-percent-fort-bragg-homes
10
  https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/


                                       23
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        Last week, the family was finally placed into new permanent housing but was
        still trying to get someone to pay for the replacement of their mold-infested
        possessions.

        Regarding the problems being experienced Padgett, Burke, and other
        homeowners, Loehr said: “As the housing property management, Corvias is
        responsible for ensuring prompt and professional maintenance. 11

        Unidentified Corvias employee, first name Leonard. Leonard was a gentleman who
called into CSPAN to speak about how he was working for Corvias when he was fired from
his job at Fort Bragg in 2019. He called on or about July 22, 2019 to complain that he was
being unjustly blamed for the housing issues. He said he was age 67; that it was a shame how
the residents were treated; that he and other employees lost their jobs; that the company was
trying to make the workers feel it was their fault; that they did what they had to do to keep
their jobs; that he was there for 10 years; and that he knew what these military wives were
talking about. 12

        Authors of the Army Inspector General Report, Report ID-1903, Feb.-March 2019. 13
The report found that family concerns about health and safety issues in military housing are
widespread, revealing systemic problems with relationships between the Army and housing
contractors. The government’s current oversight of these projects was insufficient to identify
housing challenges. Inspectors found there was lack of joint authority, confusion regarding
roles and responsibilities, lack of training, dramatic personnel cuts and lack of transparency
among privatized housing companies. Inspectors uncovered a 2013 Army policy that
specifically prohibited health and welfare inspections of military housing. Two-thirds of the
1,180 residents of military privatized housing communities who participated in the IG survey
stated they were dissatisfied with their overall housing experience. Sixty-four percent said
they would move off post if there were no financial costs or concerns, according to the report.
The review was ordered by then-Secretary of the Army Mark Esper in the wake of reports
about widespread problems of mold, water leakage, vermin infestations and other problems
in military housing. 14


        Interrogatory No. 3. State in detail Your employment history for the last ten (10) years.

For all military service, identify where You were stationed, where You resided while stationed

there, and Your duties and responsibilities at each station.


        Answer:

11
   https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/
12
   https://www.c-span.org/video/?c4809169/user-clip-corvias-employee-fired-called-report-unjustly-blamed-
housing-issues
13
   https://www.army.mil/e2/downloads/rv7/families/releaseable-housing-inspection.pdf
14
   https://www.upandcomingweekly.com/local-news-briefs/6565-military-housing-still-a-problem


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        Plaintiffs object to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiffs
further object on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

       1.      Brittany Page: Prior to the Page’s marriage in February 2015, Ms. Page resided
at 219 Erwin St., Morganton, NC, 28655, where she rented an apartment. Ms. Page worked as
an in-home nursing aid. That work was for Bayada and one other company, name not known.
In 2019, Ms. Page started working as a substitute teacher at Fort Bragg, NC, until end-2021. It
was for Department of Defense education, DOD GA. Ms. Page has also been working at Lowe’s
Home Improvement in Rayford, NC, for approximately one year. She is currently working only
at Lowe’s, in the garden center.

       2.     Shane Page: In 2012, SSG Page was at Fort Wainright, AL, and resided in
Army barracks housing. He returned from Afghanistan in April 2012, then was a “fire team
leader” and a “gun team leader”. He was at Fort Drum, NY, starting July 2013, and lived
in Army barracks housing. He was a “fire team leader”, a “gun team leader”, and held
various other specialty roles. In February 2015, the Pages were married. Starting April 2015,
the Pages relocated to Fort Bragg, North Carolina, where they first resided at 686 Daharan
Drive, Fayetteville, NC, 28314, for approximately one year. That first home was not with
Corvias. The Pages then moved to 274 Spear Drive, Fort Bragg, NC, in summer 2016, and
remained there until summer 2020. They moved there because SSG Page was deploying to
Afghanistan and there had been break-ins in the neighborhood, so it was a safety issue. They
thought Spear Drive would be safer. The Pages currently live at 69 Baltic Circle, Fort Bragg,
NC. SSG Page was a squad leader in the 82nd Airborne and is currently a combat advisor.

       Interrogatory No. 4. Identify where You have lived in the last ten (10) years including the

address, the dates You resided there, whether it was a single family or multifamily structure,

whether You owned or rented/leased the residence, and the name and contact information of any

owner, lessor and/or property manager if you rented/leased the residence.


       Answer:

        Plaintiffs object to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiffs
further object on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:



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       See Plaintiff’s Response to Interrogatory #3.

Supplemental Answer dated 5/6/22:

     Ms. Page’s public records data reflects that as of 2007, she was residing at 990
Hopewell Road, Morganton NC 28655-8252. This was her mother’s house.

       Prior to the Page’s marriage in February 2015, Ms. Page had moved from her
mother’s house to 219 Erwin St., Morganton, NC, 28655, where she rented an apartment in
a house. The landlord was a local man. Brittany cannot remember his name. She lived
there until circa 2015-16 when she got married and she and her husband moved to Fort
Bragg. The structure was a home that had been converted into apartments. She believes
there were three total apartments in it. She believes that a company called Breeden Real
Estate owns that home now. It is still being let out as apartments. Brittany believes that the
owner of Breeden is a woman named Cindy.

       An internet search reflects Breeden Real Estate, phone 1-828-438-4111, email
info@breedenrealestate.com, address 301-B South Green Street, Morganton, NC 28655,
with Cindy Ross as a Property Manager there.

       The public records data also reflects Brittany Page residing at 686 Daharan Drive,
Fayetteville NC circa 2016. This was rented. The landlord was a private woman that owned
the home, but Plaintiffs do not recall her name.

        A GIS search reflects the record owner of 686 Daharan Drive today is Corette Rogers,
at that address.

       The Page family then moved from the Daharan Drive address to the Fort Bragg
address of 274 Spear Drive. Public record information indicates that the census data for that
geographical region is as follows: median head of household age is 21; median income is
$44,276; median education is 14 years.

      Public records reflect other prior addresses for Shane Page of: 290 N Indiana Ave,
Watertown NY 13601-2985; and 2970 Stillwater Drive, Billings MT 59102-6145.

       Interrogatory No. 5. Describe in detail any inspection, remediation, maintenance and/or

repairs related to housing or habitability issues, including but not limited to mold, water intrusion,

water leakage, water seepage, or flooding You experienced at any address identified in Your

previous answer, including all communications and actions that You or others took in response.




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       Answer:

       Plaintiffs object to the extent that the interrogatory is overly broad and unduly
burdensome and seeks information neither relevant nor likely to lead to the discovery of
admissible evidence, including to the extent that the discovery requests seeks information
predating the relevant class period.

       Without waiving any objections, Plaintiffs state:

        Plaintiffs are informed and believe that Defendants possess all inspection,
remediation, maintenance and/or repair records that are responsive to this request.
Plaintiffs make reference to the facts alleged in the Amended Complaint. Plaintiffs also add
the following:

      During the Page’s stay in Fort Bragg housing (274 Spear), they ran into an enormous
number of problems with their home and with how Corvias customer service, repair and
maintenance service worked so poorly.

       The family had to deal with long-outstanding issues that resulted in many personal
hours of the family’s time spent arguing their case and missing special occasions and family
time, only to have Corvias come and cut more corners instead of fixing the original issue at
hand.

       Damage originally started in their youngest son’s bedroom upstairs; his window
started leaking after rain from a hurricane. Later the Pages noticed the leaking throughout
the home. The Pages became very concerned about the quality of the housing for their son
and for the family. It became a constant source of worry. Meanwhile, the company was
every month taking rent in the form of the family’s whole BAH.

        At the Corvias home, after Hurricane Matthew, the Pages began noticing water
damage in their living room window, dining room window, their back entryway door into
their living room, and above their pantry. There was serious water intrusion and Corvias
acted improperly and very poorly and would never fix the root cause.

        When the Pages first noticed this damage, they called in a work order to have the
water damage fixed. Corvias sent in workers but all that they did was to put a “band aid”
on the problem – they sanded down water spots and repainted the area. The real underlying
issue of why and how all this water intrusion was happening, and what sort of long-term
damage it was causing both in the visible parts of the home, and the parts that were not easily
visible, was never resolved.

       The first time the walls were opened was after the family noticed the damage in their
son’s bedroom. Months prior to the talk of opening the walls and the mold inhibitors, the
Pages made them open the wall upstairs in their son’s room. That was how they knew there
was mold in the home.




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      Corvias would not allow testing on the mold. The Carothers brothers who were the
contractors at that specific time told Mrs. Page that it was mold but that they were not
allowed to say that because they would lose their contract with Corvias. They were only
allowed to say that it was mildew and nothing to worry about.

      When Mrs. Page asked for a sample to send off for testing at her expense, Desi the
maintenance manager said that was fine, but before Mrs. Page could do it, he bagged it all
up and threw it in the back of his truck and left.

       There were numerous contractors who came out to work on the windows.

      There were numerous times Corvias employees came out to evaluate the damage and
work on the damage.

      The problems went on for weeks and months. It was a grinding daily source of
concern for the family and especially with the young child.

      At one point, an ICE (Interactive Customer Evaluation) complaint was sent in and
the Pages had a sit-down meeting with Cindy, the Corvias housing manager for their
neighborhood, and then maintenance manager Jeremy.

       They came to an agreement that the walls would be opened and a water intrusion test
would be completed on all the walls in the home. When the water intrusion test was complete
and after any mold was removed that was found, at that point, mold inhibitors were supposed
to be applied to the windows and any spots that the company deemed to be a place where
water could leak in the future.

      At one point Corvias' contractor told the Pages that they were only hired to sand
down water spots and repaint the walls. SSG Page told them that this was not what Cindy
and himself had discussed and that he needed to contact Cindy before they began the work.

       The workers came back out later and said their contract had been updated and that
they were to open the walls and clean any areas that looked like mold and to caulk the inside
of the windows. When SSG Page asked them about the water intrusion test and the mold
inhibitor, they stated that this was not something they did and that Corvias would have to
use someone else to complete this work after the windows were re-closed.

        SSG Page tried to contact Cindy (from Corvias) about that and despite multiple
efforts, he was unable to contact her by phone call, text message or otherwise. Having to
attend to these problems with his housing made SSG Page’s life more difficult with the
demands of his military service.

       The family made Corvias re-open the work order. When the maintenance worker
from Corvias opened the window, the Pages noticed the paint on the windows and asked
what the chances were that it contained lead due to the multiple times the windows had been
worked on. They noted the decaying and chipped state of the paint and the multiple times



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the windows had been worked on. The Corvias employee called his boss, who was
maintenance manager Steve Maxwell.

        Mr. Maxwell came out and conducted a 3M lead test on the windows but it looked
like he did it incorrectly, and then he told the family that the windows were safe. Mrs. Page
had a feeling that the test was done incorrectly so the Pages went to the 3M webpage and
watched the tutorial video on how to properly conduct the lead test. They then went to their
local store and purchased four 3M lead test kits to test the paint on their own.

       The Page’s children at this time had been sleeping downstairs in their living room on
an air mattress to prevent the chance of the lead and dust entering their systems. This was
a further unreasonable and substantial interference with their use and enjoyment of their
home, for which they were paying a full BAH and the military family had very limited
financial resources to start with.

      Mrs. Page then proceeded to conduct the lead test based on the instruction tutorial
on 3M's website and identified that the window frames tested positive for lead-based paint.

      The Pages then contacted DPW who told them to have a lead exposure test done on
Mrs. Page and their two children. The family got lead tests done through their health care
provider on post.

       Mrs. Page spoke with the housing director, Cindy, and others at DPW. Nick, the
environmental specialist, came to their house with a maintenance worker, Chris. Much to
the Page’s dismay, Steve (Corvias maintenance manager) who had incorrectly conducted the
lead test was not there to see the result. Steve had said that he would be there for him and
Nick to discuss all of the work that was going to be done to ensure that the lead-based paint
would not be a health issue to the family. The family felt left in the lurch.

       The Pages also at one point attended a Corvias town hall meeting, which was being
held online on “Facebook Live.” During the meeting, the Pages tried to speak to the Corvias
people, but they were not very accommodating. Corvias would not engage and said they
could talk about things later.

       Again, the problems went on for weeks and months. The above is only a summary of
some of what happened. The customer service, repair and maintenance records of Corvias
should contain additional information.

      The experience caused harassment, discomfort, annoyance, and loss of use and
enjoyment of the leasehold, for the Plaintiffs’ family.

Supplemental Answer dated 5/6/22:

       With regard to whether Mr. or Mrs. Page ever had significant inspections or repairs
at other residences where they have lived aside from the Corvias home at Fort Bragg: They
do not recall any at this time.



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       Further facts regarding the habitability issues at the Bragg home include the
following: On the medical issues, Brittany Page had chronic sinusitis. She has access on her
patient portal to certain medical information. The sinusitis problem is still ongoing. The
Pages are allowing medical records production in this regard.

       On the HVAC ducts, Brittany recalls that right before the Pages moved out of the
Bragg home, the company never fixed it during their tenancy. She was not able to look in
the ducts, but they could see in the vents, which looked like they had not been cleaned in
years. They could see the buildup. Also, when they moved it was supposed to be for a
maintenance move over and they were supposed to get $600 back to pay for the move.
However, Corvias changed it to a change in rank move over and Corvias eliminated the
return of any payment to the family. Corvias actually told the family that they owed money
because of alleged damage to the house. The family never paid it and has never heard from
anyone about it again.

         The house was constantly dusty, dust on doorframes, even with the change of the
filters for the HVAC. This is consistent with the HVAC being worn out and clogged up.

       Corvias finally came in and fixed the HVAC right before the Pages left. They have
now supposedly fixed the HVAC post-wide. Based on what the Pages have heard, that
happened maybe a year back. Corvias made a big deal out of it. They started with senior
enlisted, moved down to junior enlisted, and redid everyone’s HVAC post-wide. The
Plaintiffs believe it was reckless and intentional for Corvias to have failed to make these
renovations in years past. The Pages had to suffer through living in the housing before it
was renovated or rebuilt.

       At one point, Brittany saw a junior enlisted home with black mold. The home was on
Seay Street, in the junior enlisted housing. (To her, Junior enlisted means – E 1 thru E 5.
Senior is E 6 to E 9.) She learned about the mold by accident when she was just following
up on a report on Tik Tok on homes being vandalized in their neighborhood. She called
Corvias.

         The MPs said we won’t go in to take pictures because the black mold is so bad.

      Brittany worries that Corvias was not giving new incoming families a warning about
the mold and the other bad conditions.

         Brittany asked her friend Kayla Sanchez about these issues, she knows most of the
facts.

       Brittany recalls that another neighborhood in the Casablanca community also had
older homes. She heard that Corvias moved everybody out, then later tore them all down.
She does not know what it was about the homes that caused the teardown. She is concerned
that older homes may have had lead or asbestos in the homes.




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       Today her husband is in senior enlisted – so no wonder it is somewhat better at Baltic
Circle. But it depends on the neighborhood. Some of the Normandy houses are very old.
The generals’ housing, by contrast, is really nice.

       She recalls that the Corvias people called the mold mildew instead.

       She recalls how one worker/contractor guy said “I am going to go take a break, you
can go and youtube black mold. I will be back in a minute.” In other words, he could not
use the word mold, but was encouraging Brittany to research it for herself.

       Another time the workers showed up having been drinking. There was another
contractor where the employees fought in front of their children. Brittany asked them to
leave and the next day the owner came by her house, apologized and asked if his company
could continue to work on the house, and Brittany allowed it because of the apology.

       There was another time when Corvias came in and opened up windows in the
childrens’ rooms and they were sanding the walls with lead paint exposed. Brittany told them
that they could not perform that work until they used a proper enclosure to ensure it would
not create lead exposure issues through the HVAC or any other way. She made them stop
the work, seal the bedrooms and shut the vents until they could come back and properly
address the lead exposure risk. Her children, during this time, had no access to their
bedrooms and belongings.

      Regarding the mold – at one point, the Corvias person, Dezi (maintenance manager),
another person who was a contractor, said Brittany can have a sample. But the Corvias
person bagged and took it off before Brittany could get it.

       She recalls hearing that there was housing on Riley and Adkin Streets, that area,
where in the past multiple infants had reportedly died. She did not know the reason. She
heard that later they tore the whole neighborhood down. It was on Riley Road, you pass it
going to Riley or the Yadkin Gate.


       Interrogatory No. 6. State each and every instance in which You contend a defendant

failed to properly address a housing or habitability issue, including but not limited to alleged water

or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural issue, lead-based paint,

mold, or suspect fungal growth; provide the dates thereof; and state what You contend the

defendant should have done differently. Set forth all facts on which You base Your contentions. If

You are relying on any written documents or records, identify those documents and records, and

state the material in each document which You contend demonstrates improper conduct.


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       Answer: See Plaintiffs’ response to Interrogatory #5.


       Supplemental Answer dated 5/6/22:

       Plaintiffs have provided responsive information regarding Defendants’ failures to
address housing issues and habitability in connection with the other interrogatories herein,
one or more of which ask overlapping questions.

        Defendants have asked Plaintiffs to describe “what the defendant should have done
differently.” (See discovery letter dated 4/25/22, p. 11). To the extent that the question calls
for expert testimony, it is largely premature, as the due date for the Plaintiffs to name their
experts has not yet arrived. To the extent this is a contention interrogatory, it is once again
somewhat premature. However, based on the information obtained to date, Plaintiffs show
as follows:

       The things the Defendants should have done differently include:

           1. Making a full and fair assessment of the existing housing conditions for the
              inventory of 6000 to 7000 housing units, or homes, that Corvias took over
              responsibility for when it won the bid for the 50 year ground lease for the
              housing at Fort Bragg in 2003.

           2. Communicating a fair and accurate assessment of the true condition of the
              existing housing inventory, and what would be needed to make sure the
              housing was in an acceptable and habitable status for the military families, to
              the Army, prior to or at the time of the bid award in 2003.

           3. Once Corvias won the bid and entered into the 50 year contract, Corvias had
              a duty to use Corvias Construction to tear down and rebuild or extensively
              renovate the deficient units. It should never have required the amount of
              tenant suffering from living in poor conditions, that occurred, before Corvias
              would remedy the problems. As it turned out, it was only after tenant
              complaints across multiple bases, investigative news coverage by Reuters and
              others, and Congressional hearings, that Corvias announced it would spend
              over $300 million to remedy the problems. If Corvias had timely and properly
              remedied the problems years earlier when it should have done so, the Plaintiffs
              would not have incurred their suffering and damages.

           4. Once Corvias won the 50 year contract, the evidence indicates that the
              company’s top management was far more interested in expanding Corvias’
              portfolio of bases, and branching out into new areas like managing the housing
              for students bodies at schools, rather than carrying out and adequately
              funding its 50 year commitment to provide excellent livable housing. Corvias
              should have focused on carrying out the duties it had agreed to perform at the
              outset of the 50 year contract, rather than abandoning them.




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   5. By the time the putative class period opened, in 2016, the situation on the
      ground at Fort Bragg was that Corvias was understaffing its tenant service,
      repair and maintenance capacity, and had not spent the monies or exercised
      the initiative to tear down and renovate the numerous units (like those of the
      Plaintiffs) that were in unacceptable condition. Corvias should have been
      better funding and staffing tenant service, repair and maintenance, and should
      have rebuilt or renovated applicable units.

   6. As of 2016, Corvias was using remote call centers to save money. Corvias
      should have had adequate, properly funded, supported, overseen, audited, and
      trained, employed Corvias staff at the base, to interact and communicate with
      tenants and their families and to address their concerns.

   7. As of 2016, Corvias had engendered a corporate culture which led to a pattern
      and practice of fraudulent, unfair and deceptive conduct and practices by its
      customer service and repair and maintenance personnel. Corvias should not
      have allowed these practices to occur.

   8. Most of the repair and maintenance personnel were outsourced, that is to say,
      the typical Corvias repair and maintenance workers who came out to the
      families’ homes were not employed by Corvias at all, due to Corvias’ desire to
      minimize costs and overhead and not have to pay employee wages and benefits.
      Corvias should not have used outsourced personnel. It should have had more
      of a directly employed, well-supported presence.

   9. As of 2016, the outside vendors Corvias used for repair and maintenance
      received poor to mediocre pay. They were not well-supervised by Corvias.
      Corvias should have paid them better and supervised and trained them better.
      Instead, Corvias made sure that they acted unfairly and deceptively toward
      customers when it came to root causes, chronic and longstanding unit
      problems, water damage and rot and mold. Corvias should not have allowed
      this situation to flourish. Corvias was aware of the fact that (or was willfully
      blind to the fact that) the housing was replete with units that were plagued
      with problems and unacceptable for leasing out to families. Corvias should
      have replaced or rebuilt those units to start with. But aside from that fact,
      Corvias should have adequately repaired and maintained those units. Corvias
      should have not told contractors not to use the word “mold.” It should not
      have encouraged contractors to minimize problems and lie to tenants about
      conditions. It should not have kept its repair and maintenance vendors on
      such a limited budget and scope of authority that they were not allowed to
      work to address root cause problems.

   10. As of 2016, Corvias was using its pattern and practice of fraud and deception
       with regard to repair and maintenance to result in purported work orders and
       unit and tenant records that were false because they omitted key data
       regarding water damage, mold, tenant complaints, and other such things.



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   11. As of 2016, Corvias in the tenant-facing part of its enterprise, both through its
       own direct employees and through its contractors, took a position of blanket
       denial that mold problems existed. This was improper given the true facts.

   12. Corvias should have trained and overseen its staff and vendors such that their
       work order records and tenant and unit records were true and accurate and
       could later be properly reviewed and audited. It did not. The faulty state of
       the records was later noted by the GAO and by one or more of the Plaintiffs
       themselves.

   13. Corvias knew or should have known as of 2016 that the HVAC systems in units
       were badly compromised by water damage, mold and filth collecting in the
       HVAC ductwork. Corvias furthermore knew or should have known that in
       the cases of many of the homes, access to see inside the ductwork was
       impractical. In short, Corvias knew, while the tenants did not, of conditions
       like those reflected by the ductwork in the home of the Thomas family (see
       supplemental documents produced). Corvias never should have allowed the
       conditions to grow to that extent, and never should have allowed unwitting
       tenants, mainly families with young children, to live in that environment.

   14. Corvias knew that the housing for the lower enlisted servicemembers was far
       worse than some of the housing reserved only for the higher ranked tenants
       such as upper level officers. Corvias however failed to remedy the problem in
       time to prevent the experiences endured by the Plaintiffs.

   15. Corvias knew that lower ranked servicemember tenants who leased the
       Corvias homes were much more likely to have spouses, and one or more
       infants or young children, compared to other families in other leased housing
       settings. This cohort group has higher vulnerability to filthy and unsafe
       conditions in the homes.

   16. Corvias knew that many of the families resided in leased units that were not
       self-standing, but rather, were in structures that also had one, two, or three
       other units in them. Corvias as the owner and the landlord had the duty to
       ensure the upkeep and safety of the structure exterior, the roofing, the HVAC
       system, and the common areas. Corvias knew that the conditions in one unit
       could suffer due to the conduct of tenants in other adjoining units or due to its
       own failure to adequately maintain and service the other units. One or more
       of the Plaintiffs who lived in structures with more than one unit in them noted
       the presence of smells of moldy, mildewed, water-rotted conditions, and
       Corvias was also aware that the older the unit or the structure, the more like
       that it had problems that worsened over time unless Corvias rebuilt or
       renovated the structure.




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       Interrogatory No. 7. Describe in detail every instance in which You sent or received a

complaint, inquiry, or other communication concerning a housing or habitability issue, including

but not limited to water or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural

issue, lead-based paint, mold, or suspect fungal growth in (or on the outside or perimeter of)

military housing at Fort Bragg, including all follow-up communications and actions that You or

others took in response to each such issue and identify the persons involved.


       Answer:

       Objection. This interrogatory is vague and overly broad. Plaintiffs cannot recall
“every instance” where a communication was made concerning military housing defects.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs are informed and believe that Defendants are in possession of all
maintenance and repair requests submitted by Plaintiffs, along with all records related to
Defendants’ responses. Additionally, Plaintiffs make reference to the facts and allegations
set out in the Amended Complaint.

Supplemental Answer dated 5/6/22:

       Plaintiffs complained of housing and habitability issues to Corvias with regard to the
Fort Bragg home as should be documented in Corvias’ own records, to the extent they are
reliable. Plaintiffs describe their complaints and their communications with Corvias in their
response to interrogatory number 5, above.


       Interrogatory No. 8. If You allege you were exposed to mold, lead-based paint, or other

allegedly harmful substances while at Fort Bragg, describe such exposure in detail including the

date such exposure took place, where such exposure took place, the date You first experienced

symptoms and any how You confirmed such exposure involved the alleged substance. If You are

relying on any written documents or records, identify those documents and records, and state the

material in each document which You contend demonstrates the presence of the alleged substance.



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       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

Supplemental Answer dated 5/6/22:

    Plaintiffs allege that they were exposed to mold and air that passed through filthy
HVAC ducts while at the Fort Bragg address.


       Interrogatory No. 9. State whether or not You have been treated by, diagnosed by, or

admitted to any hospital or other healthcare facility in the last ten (10) years and if so, state the

name of the hospital or facility, the dates of treatment, diagnosis, or admission , the illness or

condition involved and the names and addresses of the health care provider(s) who treated You.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:


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       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.


Supplemental Answer dated 5/6/22:

      The Page family will agree to allow Defendants to obtain their family’s medical
records for the past ten years.

Names of doctors:

Dr. Edwin B. Robins
Robinson Health Clinic
1722 Tagatay St Bldg C, Fort Bragg, NC, 28310
Phone: 910 907 8282

Joel Health Clinic & Dental Clinic
4861 Logistics St, Fort Bragg, NC 28307
Phone: (910) 907-5635

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       Plaintiffs provided their signed revised Medical Authorizations to Defendants on May
27, 2022 and June 8, 2022.

      As to medical providers Plaintiffs have seen in the last 10 years, other than the
Robinson Health Clinic and Joel Health Clinic, Plaintiffs recall the following:

While in Morganton, Brittany did not have a primary physician and was only seen at a local
urgent care. She does not recall the address of the urgent care location. Also, was seen
at Mountainview Pediatrics and saw Dr. Whally and Dr. Clapp.

Prior to being at Fort Bragg, Shane was at Fort Drum and was seen by team medic (sick
call). He does not recall any names of those medics.

While in Fort Bragg,         and           have been seen by Dr. Robins at Robinson Health
Clinic (now Joel Health Clinic, because the Army moved the clinics around). They have seen
Dr. Robins the entire time since the Page family has been at Bragg.           has also seen
Dr. Ursulla Chesney (Joel Health Clinic) here.

If Shane is sick: he goes to sick call if it is in the morning; or, the team medic if it’s after PT
hours. He does not recall the names of medics he has seen. These change constantly as well.

Brittany has always been seen at Robinson Health Clinic and is currently being seen by Dr.
Diagastoni. She does not recall the name of any prior doctor she has seen here.



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Plaintiffs do not recall any additional information related to their family’s ten-year medical
history.


       Interrogatory No. 10. State whether You have undergone a physical examination in the

last ten (10) years. If so, state the date of any such examination, where it was conducted, who

conducted the examination and whether there is a report or other Document concerning such

physical examination.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      The Page family will agree to allow Defendants to obtain their family’s medical
records for the past ten years.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       Plaintiffs provided their signed revised Medical Authorizations to Defendants on May
27, 2022 and June 8, 2022.

      As to medical providers Plaintiffs have seen in the last 10 years, other than Shane
Page being seen by the team medic (sick call), Plaintiffs only recall having been seen by the
providers listed above.




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       Interrogatory No. 11. State whether You have consulted any health care provider in the

past ten (10) years. If so, specify in detail the nature of the condition for which You consulted the

health care provider and the name and address of each health care provider who provided treatment

for the condition.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      The Page family will agree to allow Defendants to obtain their family’s medical
records for the past ten years.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 12. State whether You ever experienced any respiratory conditions,

breathing difficulties, asthma, allergies, headaches, skin conditions, chronic nasal congestion,

chronic sinus infections, or lead poisoning symptoms. If so, describe the treatment You received

for such condition, including the name and address of each healthcare provider who treated you,




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the time period in which you were treated, and any prescription or over-the-counter medications

taken to treat such conditions.


          Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

          Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      The Page family will agree to allow Defendants to obtain their family’s medical
records for the past ten years.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

          See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.

          Interrogatory No. 13. Describe the injuries You contend You sustained as a result of the

Your military housing experience at Fort Bragg. If you claim You are still afflicted with or

suffering from the effects of any such injury, describe Your claim and all supporting evidence in

detail.




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       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs during the pertinent times suffered discomfort, annoyance, irritation and
loss of use of their ability to enjoy their property. See In re NC Swine Farm Nuisance Litig.,
No. 5 7:14-cv-00180-BR (E.D.N.C.), jury instructions filed at Doc. 262, on April 26, 2018, at
p. 14 (private nuisance jury instruction for damages: “The plaintiffs claim that the
interference with the use and enjoyment of his or her property has caused him or her anger,
embarrassment, annoyance, inconvenience, decreased quality of life, and/or physical and
mental discomfort. There is no fixed formula for placing a value on these alleged harms. You
will determine what is fair compensation by applying logic and common sense to the
evidence.”).

      Plaintiffs further suffered from a loss of the comfort, quiet and enjoyment and
habitability of their rented premises during the pertinent times.

        Plaintiffs further suffered from the injury of not getting the benefit of their bargain
with regard to their rented housing. During the pertinent times, the Plaintiffs duly and
timely paid any and all rent that was due and owing for their rented Corvias military housing
home. However, they did not receive the quality of rented housing to which they were
entitled and for which, with their limited means, they paid.

Supplemental Answer dated 5/6/22:

      The Page family will agree to allow Defendants to obtain their family’s medical
records for the past ten years.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.




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       Interrogatory No. 14. If You were treated, attended or examined by any physician(s) or

others for the injuries identified in responses to Interrogatories 12-13, state the names and

addresses of all such persons and the nature of the medical treatment given by each physician or

other person. If any diagnostic tests were performed, state the type of test performed, name and

address of the place where it was performed, date each test was performed and what each test

disclosed.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

      The Page family will agree to allow Defendants to obtain their family’s medical
records for the past ten years.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.




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       Interrogatory No. 15. Identify any communications, whether written or oral, You had

with any person, including but not limited to other residents of Fort Bragg, environmental

consultants, and members and civilian employees of the Army, media outlet, or federal, state or

local government agency, official, staff member or employee wherein you discussed any alleged

housing issues at Fort Bragg, including but not limited to mold, health or habitability issues.


       Answer:

       Objection. This Interrogatory is vague and overly broad. Plaintiffs cannot possibly
remember and recount each and every conversation, written or oral, that they had over the
course of multiple years, let alone the topic of each conversation.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Defendants are believed to have records kept in the normal course of business and
reflecting numerous of the complaints and relevant communications from, to and with the
Plaintiffs, or either of them.

Supplemental Answer dated 5/6/22:

      Plaintiffs described their interactions and communications that they could recall with
regard to their housing at Fort Bragg, in their response to interrogatory number 5.


       Interrogatory No. 16. If You have ever been convicted or pleaded guilty, no contest, or

entered an Alford plea to an offense punishable by imprisonment of more than one year or any

crime of dishonesty or false statement, regardless of the punishment actually imposed, please state

the date of each conviction or plea, the name and location of the court in which You were convicted

or pleaded in, and the crime of which you were convicted or pleaded guilty, no contest, or entered

an Alford plea to.




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       Answer:


       Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence. Plaintiffs further
object that the scope of the request is unlimited in time. Plaintiffs further object to the extent
the discovery requests would purport to elicit information on old matters or misdemeanor
matters with no potential relevance herein.

       Without waiving any objections:

       Not applicable.

       Interrogatory No. 17. Identify each person whom You may call as an expert witness at

trial. With respect to each expert, state his or her name and address, the subject matter on which

the expert is expected to testify, the substance of the facts and opinion to which the expert is

expected to testify, and a summary of the grounds for each opinion.


       Answer:


       Objection. The time for the Plaintiffs to be obligated to name any of their experts in
this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their expert witnesses in this matter.

       Plaintiffs reserve the right to supplement this response in due course.



       Interrogatory No. 18. List any photographs, diagrams, or other exhibits which You or

your attorney have which you will or may introduce at trial.


       Answer:

         Objection. The time for the Plaintiffs to be obligated to determine and disclose their
list of exhibits for trial in this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:


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       Plaintiffs have not yet selected their exhibits in this matter.

       Plaintiffs reserve the right to supplement this response in due course.


       Interrogatory No. 19. Have You ever been named as a plaintiff or defendant in any type

of litigation other than this lawsuit? If so, please state the name, county court or federal district,

and case number as well as the outcome of the litigation.


       Answer:


      Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence.

       Without waiving any objections:

       No.


       Interrogatory No. 20. Please state the full names and dates of birth of any person who

resides, or resided at the time period of the allegations contained in the Amended Complaint, with

You at Fort Bragg.


       Answer:

       Objection. Plaintiffs wish to safeguard relevant information regarding their minor
children.

       Without waiving any objections, Plaintiffs state:

       No other individuals resided with Plaintiffs’ family during the relevant times.

       Objection. Plaintiffs’ do not wish to identify their minor children.                No other
individuals resided with Plaintiffs.

Supplemental Answer dated 5/6/22:

       Plaintiffs provide the names of their minor children as Confidential information
under the terms of the protective order:



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       Names of minors:

       1.

       2.

       Interrogatory No. 21. Itemize and show how you calculate any damages claimed by You

in this Action, whether economic, non-economic, or other.


       Answer:

     Objection. This interrogatory calls for a legal conclusion and attorney work product.
Moreover, Plaintiffs have not formulated a settlement demand at this stage.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #13.


Supplemental Answer dated 5/6/22:

       Actual damages will be calculated in accordance with the allowable categories of
damages under the North Carolina Pattern Jury Instructions and/or traditional jury
instructions for whichever causes of action the Court may allow to go to trial. Contract
damages could be measured by the total amount of the BAH rent paid by the soldier or on
his behalf, or some percentage thereof, on the theory that the soldier paid to receive decent
accommodations, did not receive them, and did not receive the benefit or the bargain.
Damages for private nuisance would include damages for discomfort, annoyance, irritation,
annoyance, and loss of use and enjoyment. Damages for breach of the warranty of
habitability may include via the measure of damages by the difference between the value of
the rented premises in its uninhabitable condition and its fair market rental value otherwise.
Under Chapter 75, a prevailing plaintiff may be entitled to three times actual damages.

       Plaintiffs reserve the right to supplement to the extent they are able to identify
damages in other respects including out of pocket expenses; moving expenses; costs
associated with relocating to a new home that would not otherwise have been expended;
values of lost or damaged clothing, linens or furniture; etc.

      Plaintiffs do not claim lost wages or lost income (e.g., taking time away from work
because of the conditions at the home, and suffering lost wages as a result).

       Plaintiffs reserve the right to allege other claims including but not limited to punitive
damages if the discovery so supports in assessing the gravity of the fraud and recklessness-
related allegations in the complaint, e.g. regarding the work order process and purported
tenant customer service facility of the enterprise.


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Date: July 8, 2022.                 Respectfully submitted,

                                    s/John Hughes
                                    Mona Lisa Wallace
                                    NC State Bar No. 009201
                                    John Hughes
                                    NC State Bar No. 22126
                                    WALLACE & GRAHAM, PA
                                    525 N. Main Street
                                    Salisbury, North Carolina 28144
                                    Telephone: 704-633-5244
                                    Fax: 704-633-9434
                                    mwallace@wallacegraham.com
                                    jhughes@wallacegraham.com

                                    J. Anthony Penry
                                    N.C. Bar No. 8936
                                    PENRY | RIEMANN PLLC
                                    2245 Gateway Access Point, Suite 203
                                    Raleigh, NC 27607
                                    (919) 792-3891
                                    Andy.Penry@PenryRiemann.com

                                    Robert S. Metro
                                    S.C. Bar No. 69494
                                    BAUER & METRO, PC
                                    Post Office Box 7965
                                    Hilton Head, SC 29938
                                    (843) 842-5297
                                    Rmetro@bauerandmetro.com
                                    Appearing pursuant to Local Rule 83.1(e)

                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022 I served this document on counsel for the Defendants

herein, by email, as follows:

                                      Mark P. Henriques
                                      Matthew F. Tilley
                           WOMBLE BOND DICKINSON (US) LLP
                               3500 One Wells Fargo Center
                                  301 South College Street
                            Charlotte, North Carolina 28202-6025
                            E-mail: Mark.Henriques@wbd-us.com
                            E-mail: Matthew.Tilley@wbd-us.com

                                       Thomas J. Yoo
                                 HOLLAND & KNIGHT LLP
                                  400 S. Hope St., 8th Floor
                                   Los Angeles, CA 90071
                                  Thomas.Yoo@hklaw.com

                                        Jessica L. Farmer
                                 HOLLAND & KNIGHT LLP
                                800 17th Street, N.W., Suite 1100
                                    Washington, D.C. 20006
                                  Jessica.Farmer@hklaw.com

Date: July 8, 2022.                         Respectfully submitted,

                                            s/John Hughes
                                            Mona Lisa Wallace
                                            NC State Bar No. 009201
                                            John Hughes
                                            NC State Bar No. 22126
                                            WALLACE & GRAHAM, PA
                                            525 N. Main Street
                                            Salisbury, North Carolina 28144
                                            Telephone: 704-633-5244
                                            Fax: 704-633-9434
                                            mwallace@wallacegraham.com
                                            jhughes@wallacegraham.com




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                                                       VERIFICATION
            I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
            correct:
                     1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                        personal knowledge.

                     2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                        for the housing at Fort Bragg.

                     3. From time to time, I have provided information to my lawyers to prepare
                        “interrogatory responses.”

                     4. I have now been asked to verify that as to the responses being served, the information
                        that is in them that came from me or that I know personally, in fact is true to the best
                        of my knowledge. I have gone over these interrogatory responses.

                     5. Where those responses contain facts about my family or me personally and other facts
                        of which I have personal knowledge, I swear and affirm under penalty of perjury that
                        those facts and statements are true to the best of my knowledge.

                     6. Where the facts are based on information provided by other people, I state that I
                        believe that information to be true.

                     7. Where the facts are about other things like facts learned from public records, I am
                        relying on my attorneys and the investigation that my attorneys did.

                     8. I declare under penalty of perjury that the foregoing is true and correct.


            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Brittany Page

                       7/8/2022
            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Shane Page




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                                                        VERIFICATION
             I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
             correct:
                     1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                        personal knowledge.

                     2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                        for the housing at Fort Bragg.

                     3. From time to time, I have provided information to my lawyers to prepare
                        “interrogatory responses.”

                     4. I have now been asked to verify that as to the responses being served, the information
                        that is in them that came from me or that I know personally, in fact is true to the best
                        of my knowledge. I have gone over these interrogatory responses.

                     5. Where those responses contain facts about my family or me personally and other facts
                        of which I have personal knowledge, I swear and affirm under penalty of perjury that
                        those facts and statements are true to the best of my knowledge.

                     6. Where the facts are based on information provided by other people, I state that I
                        believe that information to be true.

                     7. Where the facts are about other things like facts learned from public records, I am
                        relying on my attorneys and the investigation that my attorneys did.

                     8. I declare under penalty of perjury that the foregoing is true and correct.

                       7/8/2022
             Dated: ________________________________
             Signature: _____________________________________
             Printed name: Brittany Page


             Dated: ________________________________
             Signature: _____________________________________
             Printed name: Shane Page




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                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


 SSG SHANE PAGE, et al.                           )
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )           CASE NO. 5:20-cv-00336-D
                                                  )
 BRAGG COMMUNITIES, LLC, et al.                   )
                                                  )
        Defendants.                               )
                                                  )
 ____________________________________

              SFC CHRISTOPHER WILKES’ AND ASHLEY WILKES’
                 SUPPLEMENTAL JULY 8, 2022 RESPONSES TO
               DEFENDANTS’ FIRST SET OF INTERROGATORIES

       Plaintiffs, Sergeant First Class (SFC) Christopher Wilkes and Ashley Wilkes, by and

through their undersigned attorneys, and by way of supplementing their answers to the

interrogatories propounded by Defendants, pursuant to Fed. R. Civ. P. 26 and 33, state as follows:

       Plaintiffs assert attorney-client privileges and immunities as to all communications

between Plaintiffs and legal counsel, and thus object to producing or disclosing such

communications. Undersigned counsel asserts work-product privileges and immunities as to their

own work product. Plaintiffs therefore object to producing such work-product. Plaintiffs assert

work-product privileges and immunities as to all communications and documentation prepared in

anticipation of litigation and thus object to producing such work product.

       In setting forth these answers, Plaintiffs do not waive any attorney-client, work-product, or

other privilege or immunity which may attach to information called for in, or which may be

responsive to, these interrogatories. Plaintiffs do not concede the relevance or materiality of these

interrogatories, the subject matter of these interrogatories, or documents produced in response to




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these interrogatories.    Plaintiffs reserve the right to question the competency, relevancy,

materiality, privilege, and admissibility of any documents produced or referred to herein.

Plaintiffs also reserve the right to revise, correct, supplement, or clarify any of their answers or

documents referred to herein. The above objections, privileges, and immunities are asserted in

response to each of the following interrogatories as if set forth verbatim at the beginning of the

answers to each interrogatory:

       Interrogatory No. 1. State Your full name, address, date of birth, current and past marital

status (including the date(s) of marriage and the full name of your spouse(s) (if applicable), Social

Security number, driver’s license number and cell phone number(s) and email(s) used while

residing at Fort Bragg.


       Answer:

      Plaintiffs object to the interrogatory to the extent it is overbroad, unduly burdensome
and harassing. For example, information about a past marriage outside of the pertinent time
period relevant herein is irrelevant nor likely to lead to the discovery of material and
admissible evidence.

       Without waiving any objections, Plaintiffs state:

       Ashley Wilkes
       Westefalenstr.22
       Apt. 2
       Wiesbaden, Germany 65191


       +49 015224465487
       TN 113196122
       ashleyrisonwilkes@gmail.com

       Sergeant First Class (SFC) Christopher Wilkes
       Westefalenstr.22
       Apt. 2
       Wiesbaden, Germany 65191

       +49 015224464657



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       TN 132893888
       Wilkes180sx@gmail.com

       Interrogatory No. 2. Identify all persons who are likely to have personal knowledge of

any fact alleged in the pleadings, and state the subject matter of the personal knowledge possessed

by each such person.


       Answer:


      Plaintiffs object to the extent the discovery request would require the disclosure of
information that may only be appropriately disclosed under the auspices of an appropriate
Court-approved confidentiality protective order. Without waiving any objections:

           1. All named Plaintiffs and Defendants, along with the individuals identified in
              their respective initial disclosures and discovery responses.

           2. All current and former tenants/residents of Corvias military housing at Fort
              Bragg during the class period.

           3. Deborah J. Coulter
              198 Marguis Way
              Freeport, FL 32435
              615-584-5414

               Ms. Coulter is Ashley’s Wilkes’ mother and has personal knowledge of housing
               defects based on her visits to Fort Bragg and interaction with Ashley Wilkes.

           4. Terry W. Coulter
              198 Marguis Way
              Freeport, FL 32435
              615-594-3214

               Mr. Coulter is Ashley Wilkes’ stepfather and has personal knowledge of
               housing defects based on his visits to Fort Bragg and interaction with Ashley
               Wilkes.

           5. Dawn Wilkes
              133 Apple Valley Way
              Florence, MT 59833
              406-370-3354




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       Case 5:20-cv-00336-D Document 98-1 Filed 09/02/22 Page 163 of 210
      Ms. Wilkes is Christopher Wilkes’ mother and has personal knowledge of
      housing defects based on her interaction with Ashley Wilkes and Christopher
      Wilkes.

   6. Clay Bodo and Katie Bodo
      104 Hirsch Circle
      Fort Bragg, NC
      330-265-7380

      The Bodos were neighbors of the Wilkes at Fort Bragg and have personal
      knowledge of housing defects.

   7. Cody Cloteaux and Ruby Cloteaux
      114 Hirsch Circle
      Fort Bragg, NC
      832-580-2776

      The Cloteauxs were neighbors of the Wilkes at Fort Bragg and have personal
      knowledge of housing defects.

   8. Kevin Faz and Dinorah Faz
      Current Address Unknown
      214-744-9849

      The Fazs were neighbors of the Wilkes at Fort Bragg and have personal
      knowledge of housing defects.

   9. Stefan Smith and Ali Smith
      Current Address Unknown
      801-725-8502

      The Smiths were neighbors of the Wilkes at Fort Bragg and have personal
      knowledge of housing defects.

   10. Brandon Southerland and Miranda Southerland
       Current Address Unknown
       915-491-3354

      The Southerlands are friends of the Wilkes and have personal knowledge of
      housing defects at Fort Bragg.

   11. Command Sergeant Major (CSM) Brian Narducci
       United States Army
       Address Unknown




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      CSM Narducci was stationed at Fort Bragg and has personal knowledge of
      housing defects including the Wilkes’ complaints.

   12. Mitchell D. Holbrooks
       Roofing Contractor
       Address Unknown

      Mr. Holbrooks was the roofing contractor who repaired the Wilkes’ roof. He
      is a former employee of Corvias. He was last known to be employed by
      “Roofman” in Lawrenceville, GA.

   13. John Picerne
       Founder/Chairman of the Board – Corvias
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Picerne has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   14. Patrick Bucolo
       Resident Manager-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Mr. Bucolo has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   15. Leonard Jones
       Resident Manager-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Mr. Jones has knowledge related to all
      facets of Corvias’ military housing operations at Fort Bragg.

   16. Amber Smiley
       Resident Assistant Manager-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Ms. Smiley has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   17. Vanessa Hargrave
       Resident Associate-Corvias
       Fort Bragg




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      Plaintiffs are informed and believe that Ms. Hargrave has knowledge related
      to all facets of Corvias’ military housing operations at Fort Bragg.

   18. Jenneisha Monroe
       Resident Associate-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Ms. Monroe has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   19. Mallory Dixon
       Resident Service Specialist-Corvias
       Fort Bragg

      Plaintiffs are informed and believe that Ms. Dixon has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   20. Kianna Amos
       Resident Service Specialist-Corvias
       Fort Bragg
       Plaintiffs are informed and believe that Ms. Amos has knowledge related to all
       facets of Corvias’ military housing operations at Fort Bragg.

   21. Heather Fuller
       Operations Director- Corvias Management
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Ms. Fuller has knowledge related to
      all facets of Corvias’ military housing operations at Fort Bragg.

   22. Deb Osmanski
       Former Program Office Administrator (Office Manager)
       Corvias-Fort Bragg
       Current Address Unknown
       Current Employer is ER Wagner in Menomonee Falls, Wisconsin
       800-558-5596

      Plaintiffs are informed and believe that Ms. Osmanski has knowledge related
      to all facets of Corvias’ military housing operations at Fort Bragg.

   23. Michael Melia
       Former Director of Construction – Corvias
       Current Address Unknown
       Current Employer is RQ Construction in Pinehurst, North Carolina



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      760-631-7707

      Plaintiffs are informed and believe that Mr. Melia has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   24. Jeremy Stefanko
       Former Senior Maintenance Manager
       Corvias Military Living, LLC
       Current Address Unknown
       Currently Employed by Cumberland County, NC

      Plaintiffs are informed and believe that Mr. Stefanko has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   25. Steve Maxwell
       Former Facilities Director
       Corvias Military Living, LLC
       Current Address Unknown
       Currently Employed by Balfour Beatty Communities in Wetumpka, Alabama

      Plaintiffs are informed and believe that Mr. Maxwell has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   26. Steve Boothe
       Former Director of Facilities Operations
       Corvias Military Living, LLC
       Current Address Unknown
       Currently Employed by Hunt Companies in Providence, Rhode Island

      Plaintiffs are informed and believe that Mr. Boothe has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   27. Charles Connors
       Director of Capital Assets
       Corvias Group
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Connors has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.



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   28. Chuck Cavaretta
       Former Vice President of Construction
       Corvias
       Current Address Unknown
       Current Employed by The Cassidy in Winter Haven, Florida

      Plaintiffs are informed and believe that Mr. Cavaretta has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   29. John Shay
       Senior Vice President of Construction & Development
       Corvias
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Shay has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   30. Cindy Hart
       Assistant Operations Director- Corvias
       Fort Bragg, North Carolina

      Plaintiffs are informed and believe that Ms. Hart has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   31. Mike Sarisky
       Operations Director-Corvias
       Fort Bragg, North Carolina

      Plaintiffs are informed and believe that Mr. Sarisky has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   32. Mark Foraker
       Former Business Director – Corvias (Fort Bragg)
       Current Address Unknown
       Currently Employed by Barvin in Houston, Texas

      Plaintiffs are informed and believe that Mr. Foraker has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.



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   33. Robert Smith
       Maintenance Manager- Corvias, Fort Bragg
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Smith has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   34. Robert Leonard
       Facilities Director- Corvias, Fort Bragg
       1405 S County Trail #530
       East Greenwich, RI 02818
       401-228-2800

      Plaintiffs are informed and believe that Mr. Leonard has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   35. John Teague
       Service Center Coordinator- Corvias, Fort Bragg
       51 Skytrain Drive
       Fort Bragg, NC 28307
       910-764-4868

      Plaintiffs are informed and believe that Mr. Teague has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   36. Katie Culbreth
       Service Center Coordinator-Corvias, Fort Bragg
       51 Skytrain Drive
       Fort Bragg, NC 28307
       910-764-4868

      Plaintiffs are informed and believe that Ms. Culbreth has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   37. Michele Wooten
       Staff Accountant- Corvias
       406 Pershing Ct.
       Fort Riley, KS 66442
       785-717-2244



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      Plaintiffs are informed and believe that Ms. Wooten has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   38. Scottie Miller
       Former Senior Manager- Corvias, Fort Bragg
       Current Address Unknown
       Currently Employed by Hunt Military Housing in Austin, Arkansas

      Plaintiffs are informed and believe that Mr. Smith has knowledge related to
      construction, maintenance, and management of military housing at Fort
      Bragg.

   39. Matt Brigman
       HVAC Installer
       Sandhills Heating, Refrigeration & Electrical
       Laurinburg, NC

      Plaintiffs are informed and believe that Mr. Brigman is a maintenance worker
      for an outside vendor who worked on HVAC systems in military houses at Fort
      Bragg, NC.

   40. Scotty Locklear
       J&L Contractors & Maintenance Services
       Pembroke, NC 28372
       910-280-0901

      Plaintiffs are informed and believe that Mr. Locklear has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   41. Toni Cornelius
       Professional Engineer-Cornelius Consulting
       4004 Park Avenue
       Wilmington, NC 28403

      Plaintiffs are informed and believe that Ms. Cornelius has knowledge related
      to construction, maintenance, and management of military housing at Fort
      Bragg.

   42. Elizabeth A. Field
       Director, Defense Capabilities and Management
       United States Government Accountability Office
       441 G St., NW
       Washington, DC 20548



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      202-512-2775

      Ms. Field has knowledge of the GAO’s monitoring of privatized housing
      including analysis of data provided by all 14 private partners. Ms. Field
      authored a report entitled, “Military Housing Privatization: Preliminary
      Observations on DOD’s Oversight of the Condition of Privatized Military
      Housing. Ms. Fields testified on these topics before the Senate Armed Services
      Committee.

   43. Hon. Ryan D. McCarthy
       Former Secretary of the United States Army
       Millennium Corporation
       1400 Crystal Drive, Suite 400
       Arlington, VA 22202
       703-436-1343

      As part of his duties as Secretary of the Army, Mr. McCarthy monitored the
      status and condition of military housing. He visited Army installations across
      the country to observe the condition of military housing, including a visit to
      Fort Bragg in September 2020. Following his visit, McCarthy stated, "What
      you saw over time is an abdication of responsibility. We outsource this to a
      corporation. That's the danger when you set up these public-private
      partnerships. Over time, you get lazy. As an institution, we got lazy. The wake-
      up call came two years ago. It is embarrassing and it is awful”.

   44. Col. Phillip Sounia
       Former Garrison Commander- Fort Bragg
       United States Army
       Address Unknown

      May have knowledge regarding the housing conditions given his post.

   45. Senator Elizabeth Warren
       309 Hart Senate Office Building
       Washington, DC 20510
       202-224-4543

      Senator Warren investigated military housing companies and submitted a
      written report dated April 30, 2019.

   46. Shannon Razsadin
       Executive Director of Military Family Advisory Network
       22015 W. 66th St.
       Unit 860635
       Shawnee, KS 66286
       202-821-4195



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      Ms. Razsadin and MFAN released a report that over 67% of all Bragg families
      surveyed reported manifest effects from maintenance, repairs and
      remediation.

   47. Heather Beckstrom
       Current or Former Tenant/Resident
       Address Unknown
       bckstromheather@gmail.com

      Ms. Beckstrom has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   48. Stephanie Blackadar
       Current or Former Tenant/Resident
       Address Unknown
       juggalatis@hotmail.com

      Ms. Blackadar has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   49. Jessica Brueck
       Current of Former Tenant/Resident
       Address Unknown
       Jessica.lynn.brueck@gmail.com

      Ms. Brueck has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   50. Regan Burke
       Current or Former Tenant/Resident
       Address Unknown
       morethanamilkmaid@yahoo.com

      Ms. Burke has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   51. Courtney Burks
       Current or Former Tenant/Resident
       Address Unknown
       courtflavin@yahoo.com

      Ms. Burks has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   52. Cacee Cobarrubia



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      Current or Former Tenant/Resident
      Address Unknown
      Cacee.nesbit93@yahoo.com

      Ms. Cobarrubia has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   53. Shyla Curry
       Current or Former Tenant/Resident
       Address Unknown
       Shylacurry98@gmail.com

      Ms. Curry has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   54. Marissa Dilliard
       Current or Former Tenant Resident
       Address Unknown
       Marrissa.dilliard@gmail.com

      Ms. Dilliard has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   55. Pennalla Evans
       Current or Former Tenant/Resident
       Address Unknown
       Mrsevans3013@gmail.com

      Ms. Evans has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   56. Vicki Ragsdale
       Current or Former Tenant/Resident
       Address Unknown
       Mrsforcier1031@gmail.com

      Ms. Ragsdale has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   57. Tia Geisler
       Current or Former Tenant/Resident
       Address Unknown
       Tia.c.geisler@gmail.com

      Ms. Geisler has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.



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   58. Julie Hilliard
       Current or Former Tenant/Resident
       Address Unknown
       Juliehilliard23@gmail.com

      Ms. Hilliary has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   59. Sarah Lenox
       Current or Former Tenant/Resident
       Address Unknown
       Sarahjclark1747@gmail.com

      Ms. Lenox has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   60. Jacqueline Haven Lyons
       Current or Former Tenant/Resident
       Address Unknown
       havenbrandhorst@gmail.com

      Ms. Lyons has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   61. Chanda Martin
       Current or Former Tenant/Resident
       Address Unknown
       Chandamartin279@gmail.com

      Ms. Martin has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   62. Emya Roberts
       Current or Former Tenant/Resident
       Address Unknown
       Emyareneerob15@gmail.com

      Ms. Roberts has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   63. Tamara Terry
       Current or Former Tenant/Resident
       Address Unknown
       Jcm72611@gmail.com




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      Ms. Terry has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   64. Amber Woollett
       Current or Former TenantResident
       Address Unknown
       amberdw@live.com

      Ms. Woollett has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   65. Sabrina Collins
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Collins has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   66. Danielle Olson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Olson has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC

   67. Tara Michelle
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Michelle has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   68. Ashlee Monzalvo
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Monzalvo has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   69. Toby DeJoinville
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. DeJoinville has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.




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   70. Amber Lace
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Lace has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   71. Courtney Wong
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Wong has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   72. Alexis Danielle Martin
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Martin has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   73. Liz Stitt
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Stitt has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   74. Taylor Hinshaw
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Hinshaw has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   75. Cassandra Manis
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Manis has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   76. Lillian Bradford
       Current or Former Tenant/Resident
       Current Contact Information Unknown




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      Ms. Bradford has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   77. Lorena Butler
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Butler has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   78. Jennalynn Apedaile Thomas
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Thomas has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   79. Danielle Jackson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Jackson has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   80. Lee Nash
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Mr. Nash has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   81. Tyler Cissna
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Cissna has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   82. Jessica Lynn Brueck
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Brueck has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   83. Alena Martinez



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      Current or Former Tenant/Resident
      Current Contact Information Unknown

      Ms. Martinez has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   84. Meagan Heady Solorzano
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Solorzano has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   85. Sharon Land
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Land has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   86. Taylor Bryant
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Bryant has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   87. Jessica Allen
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Allen has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   88. Jennifer Burt
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Burt has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   89. Briana Kramp
       Current or Former Tenant/Resident
       Current Contact Information Unknown




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      Ms. Kramp has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   90. KayKay Jackson
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Jackson has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   91. Hannah Gagnon
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Gagnon has personal knowledge of housing defects based on her
      experience as a tenant/resident of Corvias at Fort Bragg, NC.

   92. Cat Billet
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Billet has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   93. JayBee Bar
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Bar has personal knowledge of housing defects based on her experience as
      a tenant/resident of Corvias at Fort Bragg, NC.

   94. Jayla Garcia
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Garcia has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   95. Kayla Reed
       Current or Former Tenant/Resident
       Current Contact Information Unknown

      Ms. Reed has personal knowledge of housing defects based on her experience
      as a tenant/resident of Corvias at Fort Bragg, NC.

   96. Brittany Opsomer



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          Current or Former Tenant/Resident
          Current Contact Information Unknown

          Ms. Opsomer has personal knowledge of housing defects based on her
          experience as a tenant/resident of Corvias at Fort Bragg, NC.

       97. Kaytlin Erickson
           Current or Former Tenant/Resident
           Current Contact Information Unknown

          Ms. Erickson has personal knowledge of housing defects based on her
          experience as a tenant/resident of Corvias at Fort Bragg, NC.

       98. Amanda Anderson
           Current or Former Tenant/Resident
           Address Unknown
           a.anderson0228@gmail.com

          Ms. Anderson has personal knowledge of housing defects based on her
          experience as a tenant/resident of Corvias at Fort Bragg, NC.

       99. Amy Lohrenz and Major Michael Lohrenz are former residents. These
           individuals may have knowledge as per their lawsuit, see Lohrenz v. Bragg
           Communities, LLC, No. 5:2022cv00044 (E.D.N.C.).


       100.      Plaintiffs in the Addi case and witnesses identified in that case may have
          knowledge regarding Corvias business operations, customer service, repair
          and maintenance practices, which while occurring at Fort Meade in Maryland
          could be relevant insofar as they reflect common corporate practices that were
          also used and imposed at Fort Bragg. See Addi v. Corvias Management-Army,
          LLC, No. 1:2019cv03253 (D. Md.).

    Supplemental Answer dated 5/6/22:

DESIGNATED AS CONFIDENTIAL PER PROTECTIVE ORDER


CONFIDENTIAL - REDACTED


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CONFIDENTIAL - REDACTED




NONCONFIDENTIAL:

        Hannah Hurd, Assistant Resident Manager at Corvias, Fort Bragg, North Carolina,
United States. May have knowledge regarding Corvias property management practices.
States that she oversees a team of five in the Pope and Ardennes communities.

      Don Agel, Agel’s Home Inspections, Fayetteville NC. Phone: (910) 224-5076. May
have knowledge regarding repair, maintenance, tenant service issues.

        Wina Hathaway. Employed in contracts and vendor management with Corvias, at
Fort Bragg, since 2014. May have knowledge regarding repair, maintenance, tenant service
issues.

      PFC Anthony Blankenship, wife Brittney, son Jason. Per news reports, this family
moved to Fort Bragg in August 2018:

      Pfc. Anthony Blankenship points to mold on the grout of his bathroom and a
      greenish mildew stain around the tiles next to the toilet.

      "That's kind of a mold pattern growing underneath," he says. "Workers at
      times just put new grout over the mold. At times, contractors wouldn't show
      up at all for problems ranging from clogged plumbing to faulty ventilation
      ducts."

      "We'd call again, and they'd say we don't have any recollection you put in a
      work order," says Blankenship, who moved into this ranch-style house at Fort
      Bragg, N.C., back in August with his wife, Brittney, and their toddler, Jason.




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        "A lot of families, unfortunately, their house is worse than ours," says
        Brittney. 1

         Heath Burleson. Corvias Partnership Advisor. Public biography shows intimate
involvement in Corvias MHPI matters. 2 Corvias materials state that in 2019 he was one of
the key executives who belatedly agreed that Corvias would fund $325M in direct investment
into its Army portfolio in order to remedy the longstanding housing problems. According to
Corvias, as the Senior Vice President of Operations, he was responsible for the oversight and
management of Corvias’ managers across the Army and AF portfolio. In 2018 he assumed
the role of Partnership Advisor for the Corvias Property Management portfolio which has a
2020 annual budget of $435M and development/construction budget of $335M.

      Mark Esper. In his role as Secretary of Defense, Esper went on record regarding the
poor housing conditions. Examples:

        "In too many cases, it is clear the private housing companies failed to uphold
        their end of the bargain, a failure that was enabled by the Army's insufficient
        oversight," Esper said. "We are determined to investigate these problems and
        to hold our housing contractors and chains of command accountable." 3

      SGT Terry Blood and wife, Krysta. Tenants of the Corvias housing at Fort Bragg.
Ms. Blood may have subsequently been hired by Corvias. Their complaints are described in
news articles:

        Sgt. Terry Blood and his wife, Krysta … showed the shoddy repairs at their
        house at Fort Bragg.

        Krysta points to the ceiling inside a closet in her garage. She says a
        subcontractor just plastered over what is a widening stain from a leak that has
        also damaged the floor. The source of the leak is the bathtub.

        "For four years, that tub water has been leaking from children's baths," she
        says. "Can you imagine what kind of water has been in between the floors for
        that time?"

        Are their friends having troubles as well?

        "Pretty much the exact same issues," says Terry Blood. "Actually one of our
        friends right across the street, they just got surveyed, and they have found




1
  https://www.cpr.org/2019/03/08/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders/
2
  https://www.congress.gov/116/meeting/house/110611/witnesses/HHRG-116-AP18-Bio-BurlesonM-20200303.pdf
3
  https://apnews.com/article/2f34561f12c743ec8ef349becd9c0802.


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        cracks. In the summer months they have grass growing up through their
        floor." 4

       Col. Kyle Reed, Fort Bragg Garrison Commander. May have knowledge regarding
the Corvias MHPI involvement at Fort Bragg. Should have knowledge regarding the fallout
from the press coverage, publicity and Congressional hearings occurring in 2018-19,
including steps the Army forced Corvias to take to remedy matters. 5

       Greg Jackson, Chief of Housing, Fort Bragg, Directorate of Public Works. May have
knowledge regarding the Corvias MHPI involvement at Fort Bragg. Should have knowledge
regarding the fallout from the press coverage, publicity and Congressional hearings
occurring in 2018-19, including steps the Army forced Corvias to take to remedy matters.
Has knowledge regarding how in the past, residents thought Housing (Army) and Corvias
were synonymous (which would tend to disincentivize soldiers from complaining). 6

       Krista Lindholm. Fort Bragg tenant. May have knowledge of housing problems at
Fort Bragg. Quoted as saying: "I've seen the mold, and it's legit," Krista Lindholm said of
mold in a neighbor's house. "They're sick, their kids are sick and housing is just not coming
and dealing with it." 7

      Donnie R. Smith, Maintenance Manager at Corvias. May have knowledge regarding
Corvias repair and maintenance practices. Contact information: Administrator, Dual
Impact LLC, Fayetteville, North Carolina; Donnie Smith Construction, LLC, 426 North
Whittington Lane, Dunn, NC, donniecsmith@embarqmail.com, (910) 890-3660, (910) 897-
4847.

     Lisa Sanford. She was an assistant property manager, Corvias, Fort Bragg, 2005 to
November 2017. She may now be working as a community manager in the Raleigh area.

      Marcy C. Woodard. 2908 Winton Drive, Fayetteville NC. Employed as an IT service
manager at Corvias, Fort Bragg, November 2017 to present. Previously employed as an IT
management lead (2015-17), a network administrator (2010-2015) and as a desktop
administrator (2006-2010), and resident service specialist (2005-06) for Corvias/Picerne.

       Peter Sims, managing director for Corvias. He has knowledge regarding Corvias
being compelled to install HVAC replacements and other renovations at 5,300 homes at Fort
Bragg. 8 This renovation work was being done as part of Corvias’ agreement to pay $325
million toward housing improvements subsequent to the late 2018 Reuters news article and
resultant controversy and Congressional hearings.

4
  https://www.wamc.org/2019-03-07/shoddy-maintenance-of-military-housing-under-scrutiny-by-senate-military-
leaders.
5
  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
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  https://www.fayobserver.com/story/news/2019/04/19/installation-housing-initiatives-see-way-forward-residents-
speak-up-at-town-halls/64863691007/
7
  https://www.wral.com/soldiers-families-complain-to-tillis-about-fort-bragg-housing/18662015/
8
  https://www.corvias.com/news/corvias-updates-more-85-percent-fort-bragg-homes


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       Taylor Padgett. Fort Bragg Corvias housing resident. Complained of mold problems
in her housing occurring since February 2021.

        As the problem got worse, she hired an independent home inspector who went
        through the house and found major issues with the maintenance of the home.
        He said they contributed to the mold problem.

        “We found a bunch of damage issues with the exterior and roofing problems,”
        said Don Agel of Agel Home inspections. “There was cracked brick veneer
        allowing water to get into her child’s playroom.”

        He also found problems with the water heater and stove.

        “There is a natural gas leak at the water heater and a natural gas leak at the
        oven,” Agel said.

        The Padgett family is currently in an on-post hotel while the property
        management company makes repairs. 9

      Mary Humphreys. Corvias corporate spokesperson. Denied that there were any
problems at the Padgett’s residence.

      Fort Bragg Garrison Command Sgt. Major Jeffery Loehr. May have knowledge
regarding the MHPI housing program and the Corvias housing issues.

      Regan Burke. Fort Bragg Corvias home tenant. Complained of mold problems with
her Corvias home:

        Regan Burke’s family was moved to two different temporary houses on-post
        since September 2020 after mold was found all over her original house.

        Burke said a military inspector from on-post said the home “was
        uninhabitable.”

        Last week, the family was finally placed into new permanent housing but was
        still trying to get someone to pay for the replacement of their mold-infested
        possessions.

        Regarding the problems being experienced Padgett, Burke, and other
        homeowners, Loehr said: “As the housing property management, Corvias is
        responsible for ensuring prompt and professional maintenance. 10

9
  https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/
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   https://www.cbs17.com/news/local-news/cumberland-county-news/fort-bragg-officials-call-mold-issues-with-on-
base-housing-a-high-priority/


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        Unidentified Corvias employee, first name Leonard. Leonard was a gentleman who
called into CSPAN to speak about how he was working for Corvias when he was fired from
his job at Fort Bragg in 2019. He called on or about July 22, 2019 to complain that he was
being unjustly blamed for the housing issues. He said he was age 67; that it was a shame how
the residents were treated; that he and other employees lost their jobs; that the company was
trying to make the workers feel it was their fault; that they did what they had to do to keep
their jobs; that he was there for 10 years; and that he knew what these military wives were
talking about. 11

        Authors of the Army Inspector General Report, Report ID-1903, Feb.-March 2019. 12
The report found that family concerns about health and safety issues in military housing are
widespread, revealing systemic problems with relationships between the Army and housing
contractors. The government’s current oversight of these projects was insufficient to identify
housing challenges. Inspectors found there was lack of joint authority, confusion regarding
roles and responsibilities, lack of training, dramatic personnel cuts and lack of transparency
among privatized housing companies. Inspectors uncovered a 2013 Army policy that
specifically prohibited health and welfare inspections of military housing. Two-thirds of the
1,180 residents of military privatized housing communities who participated in the IG survey
stated they were dissatisfied with their overall housing experience. Sixty-four percent said
they would move off post if there were no financial costs or concerns, according to the report.
The review was ordered by then-Secretary of the Army Mark Esper in the wake of reports
about widespread problems of mold, water leakage, vermin infestations and other problems
in military housing. 13

        Supplemental Answer dated 7/8/22:

             101.         Aledrea Bogner
                          Casablanca Community Manager
                          Current Contact Information Unknown to Wilkes Family

                          This was one of the main people Ashley Wilkes talked to with Corvias
                          about her family’s housing issues.

             102.         Tammy Wilbur-Hoistad
                          Tammy was the “ombudsman” for all of Bragg.
                          Current Contact Information Unknown to Wilkes Family

                          This was one of the main people Ashley Wilkes talked to with Corvias
                          about her family’s housing issues.




11
   https://www.c-span.org/video/?c4809169/user-clip-corvias-employee-fired-called-report-unjustly-blamed-
housing-issues
12
   https://www.army.mil/e2/downloads/rv7/families/releaseable-housing-inspection.pdf
13
   https://www.upandcomingweekly.com/local-news-briefs/6565-military-housing-still-a-problem


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           103.        Anthony “Ty” Morris
                       Mr. Morris worked for Directorate of Public Works (DPW) at Fort
                       Bragg.
                       Current Contact Information Unknown

                       In his role at DPW, Mr. Morris became knowledgeable about some of
                       the Wilkes Family Corvias housing problems while family was at
                       Bragg.

           104.        Chris Barnes
                       Mr. Barnes worked for DPW at Fort Bragg.
                       Current Contact Information Unknown

                       In his role at DPW, Mr. Barnes became knowledgeable about some of
                       the Wilkes Family Corvias housing problems while family was at
                       Bragg.


       Interrogatory No. 3. State in detail Your employment history for the last ten (10) years.

For all military service, identify where You were stationed, where You resided while stationed

there, and Your duties and responsibilities at each station.


       Answer:

        Plaintiffs object to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiffs
further object on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

      1.     Ashley Wilkes: September 2012-May 2013: Student; July 2013-December
2014: Hairstylist at “Tiffany’s Hair Spa” in Clarksville, TN; December 2014-present: Stay-
at-home parent.

       2.       Christopher Wilkes: February 2012-March 2014: Sergeant/Aviation Section
and skills instructor; March 2014-present: Sergeant First Class; stationed in Germany since
2021.

       Interrogatory No. 4. Identify where You have lived in the last ten (10) years including the

address, the dates You resided there, whether it was a single family or multifamily structure,




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whether You owned or rented/leased the residence, and the name and contact information of any

owner, lessor and/or property manager if you rented/leased the residence.


       Answer:

        Plaintiffs object to the interrogatory to the extent that it purports to seek information
that is irrelevant and not likely to lead to the discovery of admissible evidence. Plaintiffs
further object on grounds the interrogatory is overly broad and unduly burdensome in
seeking employment information pre-dating the relevant time period.

       Without waiving any objections, Plaintiffs state:

       1.     Ashley Wilkes: February 2014-April 2014: 709 Red Hollow Dr. Springfield
TN 37172 (single family home owned by parents). April 2014-October 2014: 1722
Thistlewood Drive, Clarksville TN 37042 (rental townhome). October 2014-March 2017:
1480 Trainer Rd, Clarksville TN 37042 (owned; single family residence). March 2017-July
2020: 112 Hirsch Circle, Fort Bragg NC (rental; single family unit). July 2020-December
2020: 39 Viking Court, Fort Bragg NC (rental; duplex/townhome). January 2021-present:
Westfalenstr. 22, apt. 2, Wiesbaden, Germany 65191 (rental; apartment). Previous property
managers are unknown.

      2.     Christopher Wilkes: Feb 2012-April 2014: Barracks on Fort Campbell. April
2014-October 2014: 1722 Thistlewood Drive, Clarksville TN 37042 (rental; townhome).
October 2014-March 2017: 1480 Trainer Rd, Clarksville TN 37042 (owned; single family).
March 2017-July 2020: 112 Hirsch Circle, Fort Bragg NC (rental; single family). July 2020-
December 2020: 39 Viking Court, Fort Bragg NC (rental; duplex/townhome). January 2021-
present: Westfalenstr. 22, apt. 2, Wiesbaden Germany 65191 (rental; apartment).


       Interrogatory No. 5. Describe in detail any inspection, remediation, maintenance and/or

repairs related to housing or habitability issues, including but not limited to mold, water intrusion,

water leakage, water seepage, or flooding You experienced at any address identified in Your

previous answer, including all communications and actions that You or others took in response.


       Answer:

       Plaintiffs object to the extent that the interrogatory is overly broad and unduly
burdensome and seeks information neither relevant nor likely to lead to the discovery of
admissible evidence, including to the extent that the discovery requests seek information
predating the relevant class period.



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       Without waiving any objections, Plaintiffs state:

       Plaintiffs are informed and believe that Defendants possess inspection, remediation,
maintenance and/or repair records that are responsive to this request. Plaintiffs make
reference to the facts alleged in the Complaint, as amended. Plaintiffs recall submitting
approximately 33 work orders. Additionally, Plaintiffs would add the following:

      In March of 2017, SFC Wilkes and Mrs. Wilkes and their young son moved to Fort
Bragg, NC. They decided to live on post due to the projected short time frame that SFC
Wilkes would be stationed at Fort Bragg.

       At that point, SFC Wilkes was ranked as an E6 and the housing allowance (BAH or
Basic Allowance for Housing) rate for the Wilkes family in the Bragg area was $1,344.

       The Wilkes were in contact with a Corvias employee for approximately three months
before their arrival at Fort Bragg. This employee told them that they only qualified for one
type of home in the Casablanca community.

       The Wilkes knew it would be smaller than what they were used to, but again, this
would be short-term and the Plaintiffs reasonably believed the housing would be acceptable
for a military family with a two-year-old and soon-to-be newborn come August 2017.

       The Wilkes were pressured to sign for a home before arriving by being told it could
be months of wait if they did not accept the home. They were only offered a junior enlisted
home due to the low availability of homes for three-bedroom families with senior enlisted
soldiers.

       After moving in, however, within about 33 months, the family had about 33 work
orders. These work orders consisted mostly of structural issues with their Corvias military
housing rented home.

        Upon moving in, the Wilkes filled out an inspection sheet to write down damages that
existed before they moved in to prevent themselves from being charged when they later
moved out. On this sheet, Mrs. Wilkes listed sagging blinds, loose hardware for towel racks,
cracked brick in the carport, sagging floors in the master bathroom, among many other
issues. Some of the issues were rectified within a week. Others were never taken care of and
were ignored by Corvias.

        The family had several plumbing issues during the first nine months, but the big issues
began in January 2018. Their freezer started leaking water, and the fridge would also turn
into a freezer. All of their food would be ruined every time. They had put in work orders
several times over 2018.

        The first time someone came out, they asked Mrs. Wilkes for a wire hanger, and used
it to "fix" their refrigerator. This did not work, and the issue continued. The water was




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spilling out onto the floor in the kitchen. Mrs. Wilkes asked for a permanent fix, but Corvias
continued to only clear the ice out and that was the only thing they did to fix it.

       On September 15, 2018, Hurricane Florence came through. This blew shingles off of
their roof. SFC Wilkes had to tarp their roof himself because water was pouring into the
family’s living room and they were told no one was coming. No one made it to their home for
this work order until October 10, 2017, even after repeated calls.

       Notes were made on the work order that there was no sheet rock damage and that the
family needed roof repairs. Mrs. Wilkes heard nothing for weeks. Maintenance was coming
to their home for other work orders, but for some reason, Corvias was not contracting
anyone out for hanging sheetrock and for the roof repairs that they needed.

      SFC Wilkes was away for a military school and had to call Corvias and plead with
someone to help get the home fixed. He spoke with several people and finally in late
November 2017, someone agreed to meet with Mrs. Wilkes to see their home.

       Corvias at that time finally replaced our fridge, and were able to get a contractor to
come out. These contractors placed shingles over the same damp plywood, which led to a
slew of continuous roof issues for the next year and a half that the family was still battling in
December 2019.

       In November of 2018, Mrs. Wilkes had noticed the base of her toilet was leaking a
disgusting fluid. Corvias replaced the wax seal, but this did nothing to fix the issue. At this
time, the floor in the bathroom started to get even softer and sag even more.

        In March of 2019, Corvias finally sent out a contractor to assess the master bathroom
floor. The contractor agreed the floor needed to be replaced. They also had to jack the entire
bathroom up because there was no support joist under the bathroom at all. This repair left
a visible seam in the bathroom floor.

        The floors in the living room and kitchen were in such horrible shape, that Corvias
finally agreed to replace them after multiple complaints in October 2019. Their home was
torn apart for five days during this time. Corvias also had their cracked brick replaced on
the side of the home in the carport. This took around a week and the Wilkes were unable to
use their carport during that time.

        The work order was in for three months before being completed. The contractor
would only complete the masonry work if a giant pine tree was removed from beside their
home. It was only one foot away from the side of the home, and its roots were causing uneven
floors, cracking brick and driveway issues.

        Mrs. Wilkes began to notice July 2019 that their roof was sagging where the repairs
had been made in December 2018. Corvias sent out the same contractor to assess and repair
the issue. They found that the wood under the shingles was moldy, warped, and rotted and
needed to be replaced. They ripped out the entire section of the roof and redid the repair.



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        The roof immediately began to sag again. Mrs. Wilkes had Corvias look at this section
of their roof since October 2019 numerous times. Corvias sent the same contractor to assess
the roof. He stated the old work was done correctly and he believed there was no reason to
redo the roof.

       In December 2019, Corvias finally sent out a new contractor who immediately said
their entire roof needed to be replaced. This was set to begin on Friday, December 13, but
was delayed to Wednesday, December 18. Meanwhile, there was a dumpster in the family’s
driveway, making it unusable for another week.

       Whenever the family did have the Corvias workers/contractors come out and finally
begin the work, the roof was so weak from sagging and from the use of quarter-inch plywood
where the original repair was, that the contractor fell through the roof, causing a giant piece
of sheet rock to fall in to the family’s living room just feet away from the children.

       There was insulation and sheetrock dust all over the home. Corvias sent over a
contractor to patch the hole in their ceiling and these contractors cut the sheetrock inside of
the home, covering it in sheetrock dust so bad, that the family could not stay in the home that
night, and they had to stay at a hotel. They had to have Corvias pay for someone to clean
their entire home due to the abysmal performance.

       The family had mold growing on their window frames in many rooms in their home
the entire time that they lived in the home. Within a week of wiping them clean, the spots
came back. Mrs. Wilkes met with contractors, maintenance staff, management, and more
about all of these issues. She had to schedule her entire life around repairs on the home.

       This home should have never had tenants move into it.

        The Wilkes spent around $1,468 on their Corvias home per month. They thus
cumulatively spent close to $56,000+ in rent for a home that should not have had anyone
living in it, never mind a family with a young child and a pregnant mother.




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Supplemental Answer dated 5/6/22:

       With regard to whether Mr. or Mrs. Wilkes ever had significant inspections or repairs
at other residences where they have lived aside from the Corvias home at Fort Bragg: The
family recalls that there were no major repairs made to any of their other homes except the
home that Ashley Wilkes owned (Trainer Road) before Fort Bragg had an HVAC issue in
maybe 2015 or 2016. The Wilkes were landlords of the home and had some repairs done
after they moved out over the years. They just sold it in October but haven’t lived there
since March 2017.

       Also, the Wilkes have had two work orders for their current home, where they have
been for a little under 1.5 years.

       Interrogatory No. 6. State each and every instance in which You contend a defendant

failed to properly address a housing or habitability issue, including but not limited to alleged water

or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural issue, lead-based paint,

mold, or suspect fungal growth; provide the dates thereof; and state what You contend the

defendant should have done differently. Set forth all facts on which You base Your contentions. If

You are relying on any written documents or records, identify those documents and records, and

state the material in each document which You contend demonstrates improper conduct.


       Answer: See Plaintiffs’ response to Interrogatory #5.


Supplemental Answer dated 5/6/22:

       Plaintiffs have provided responsive information regarding Defendants’ failures to
address housing issues and habitability in connection with the other interrogatories herein,
one or more of which ask overlapping questions.

        Defendants have asked Plaintiffs to describe “what the defendant should have done
differently.” (See discovery letter dated 4/25/22, p. 13). To the extent that the question calls
for expert testimony, it is largely premature, as the due date for the Plaintiffs to name their
experts has not yet arrived. To the extent this is a contention interrogatory, it is once again
somewhat premature. However, based on the information obtained to date, Plaintiffs show
as follows:

       The things the Defendants should have done differently include:



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   1. Making a full and fair assessment of the existing housing conditions for the
      inventory of 6000 to 7000 housing units, or homes, that Corvias took over
      responsibility for when it won the bid for the 50 year ground lease for the
      housing at Fort Bragg in 2003.

   2. Communicating a fair and accurate assessment of the true condition of the
      existing housing inventory, and what would be needed to make sure the
      housing was in an acceptable and habitable status for the military families, to
      the Army, prior to or at the time of the bid award in 2003.

   3. Once Corvias won the bid and entered into the 50 year contract, Corvias had
      a duty to use Corvias Construction to tear down and rebuild or extensively
      renovate the deficient units. It should never have required the amount of
      tenant suffering from living in poor conditions, that occurred, before Corvias
      would remedy the problems. As it turned out, it was only after tenant
      complaints across multiple bases, investigative news coverage by Reuters and
      others, and Congressional hearings, that Corvias announced it would spend
      over $300 million to remedy the problems. If Corvias had timely and properly
      remedied the problems years earlier when it should have done so, the Plaintiffs
      would not have incurred their suffering and damages.

   4. Once Corvias won the 50 year contract, the evidence indicates that the
      company’s top management was far more interested in expanding Corvias’
      portfolio of bases, and branching out into new areas like managing the housing
      for students bodies at schools, rather than carrying out and adequately
      funding its 50 year commitment to provide excellent livable housing. Corvias
      should have focused on carrying out the duties it had agreed to perform at the
      outset of the 50 year contract, rather than abandoning them.

   5. By the time the putative class period opened, in 2016, the situation on the
      ground at Fort Bragg was that Corvias was understaffing its tenant service,
      repair and maintenance capacity, and had not spent the monies or exercised
      the initiative to tear down and renovate the numerous units (like those of the
      Plaintiffs) that were in unacceptable condition. Corvias should have been
      better funding and staffing tenant service, repair and maintenance, and should
      have rebuilt or renovated applicable units.

   6. As of 2016, Corvias was using remote call centers to save money. Corvias
      should have had adequate, properly funded, supported, overseen, audited, and
      trained, employed Corvias staff at the base, to interact and communicate with
      tenants and their families and to address their concerns.

   7. As of 2016, Corvias had engendered a corporate culture which led to a pattern
      and practice of fraudulent, unfair and deceptive conduct and practices by its
      customer service and repair and maintenance personnel. Corvias should not
      have allowed these practices to occur.




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   8. Most of the repair and maintenance personnel were outsourced, that is to say,
      the typical Corvias repair and maintenance workers who came out to the
      families’ homes were not employed by Corvias at all, due to Corvias’ desire to
      minimize costs and overhead and not have to pay employee wages and benefits.
      Corvias should not have used outsourced personnel. It should have had more
      of a directly employed, well-supported presence.

   9. As of 2016, the outside vendors Corvias used for repair and maintenance
      received poor to mediocre pay. They were not well-supervised by Corvias.
      Corvias should have paid them better and supervised and trained them better.
      Instead, Corvias made sure that they acted unfairly and deceptively toward
      customers when it came to root causes, chronic and longstanding unit
      problems, water damage and rot and mold. Corvias should not have allowed
      this situation to flourish. Corvias was aware of the fact that (or was willfully
      blind to the fact that) the housing was replete with units that were plagued
      with problems and unacceptable for leasing out to families. Corvias should
      have replaced or rebuilt those units to start with. But aside from that fact,
      Corvias should have adequately repaired and maintained those units. Corvias
      should have not told contractors not to use the word “mold.” It should not
      have encouraged contractors to minimize problems and lie to tenants about
      conditions. It should not have kept its repair and maintenance vendors on
      such a limited budget and scope of authority that they were not allowed to
      work to address root cause problems.

   10. As of 2016, Corvias was using its pattern and practice of fraud and deception
       with regard to repair and maintenance to result in purported work orders and
       unit and tenant records that were false because they omitted key data
       regarding water damage, mold, tenant complaints, and other such things.

   11. As of 2016, Corvias in the tenant-facing part of its enterprise, both through its
       own direct employees and through its contractors, took a position of blanket
       denial that mold problems existed. This was improper given the true facts.

   12. Corvias should have trained and overseen its staff and vendors such that their
       work order records and tenant and unit records were true and accurate and
       could later be properly reviewed and audited. It did not. The faulty state of
       the records was later noted by the GAO and by one or more of the Plaintiffs
       themselves.

   13. Corvias knew or should have known as of 2016 that the HVAC systems in units
       were badly compromised by water damage, mold and filth collecting in the
       HVAC ductwork. Corvias furthermore knew or should have known that in
       the cases of many of the homes, access to see inside the ductwork was
       impractical. In short, Corvias knew, while the tenants did not, of conditions
       like those reflected by the ductwork in the home of the Thomas family (see
       supplemental documents produced). Corvias never should have allowed the



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               conditions to grow to that extent, and never should have allowed unwitting
               tenants, mainly families with young children, to live in that environment.

           14. Corvias knew that the housing for the lower enlisted servicemembers was far
               worse than some of the housing reserved only for the higher ranked tenants
               such as upper level officers. Corvias however failed to remedy the problem in
               time to prevent the experiences endured by the Plaintiffs.

           15. Corvias knew that lower ranked servicemember tenants who leased the
               Corvias homes were much more likely to have spouses, and one or more
               infants or young children, compared to other families in other leased housing
               settings. This cohort group has higher vulnerability to filthy and unsafe
               conditions in the homes.

           16. Corvias knew that many of the families resided in leased units that were not
               self-standing, but rather, were in structures that also had one, two, or three
               other units in them. Corvias as the owner and the landlord had the duty to
               ensure the upkeep and safety of the structure exterior, the roofing, the HVAC
               system, and the common areas. Corvias knew that the conditions in one unit
               could suffer due to the conduct of tenants in other adjoining units or due to its
               own failure to adequately maintain and service the other units. One or more
               of the Plaintiffs who lived in structures with more than one unit in them noted
               the presence of smells of moldy, mildewed, water-rotted conditions, and
               Corvias was also aware that the older the unit or the structure, the more like
               that it had problems that worsened over time unless Corvias rebuilt or
               renovated the structure.



       Interrogatory No. 7. Describe in detail every instance in which You sent or received a

complaint, inquiry, or other communication concerning a housing or habitability issue, including

but not limited to water or moisture intrusion, leak, ceiling or roof leak, flooring issue, structural

issue, lead-based paint, mold, or suspect fungal growth in (or on the outside or perimeter of)

military housing at Fort Bragg, including all follow-up communications and actions that You or

others took in response to each such issue and identify the persons involved.


       Answer:

       Objection. This interrogatory is vague and overly broad. Plaintiffs cannot recall
“every instance” where a communication was made concerning military housing defects.




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       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs are informed and believe that Defendants are in possession of all
maintenance and repair requests submitted by Plaintiffs, along with all records related to
Defendants’ responses. Additionally, Plaintiffs make reference to the facts and allegations
set out in the Amended Complaint.

Supplemental Answer dated 5/6/22:

       The Plaintiffs have described what they can recall in terms of their efforts to complain
and communicate to Corvias in their answers to the other interrogatories. Plaintiffs
respectfully direct the Defendants to those answers. Further, the Plaintiffs have produced
and are continuing to produce all responsive complaint or communication-related
documents they can locate. Plaintiffs note that culled from its own business records, Corvias
already should have a full set of all emails and other written documentation of such
communications between Corvias and the Plaintiffs.

       Interrogatory No. 8. If You allege you were exposed to mold, lead-based paint, or other

allegedly harmful substances while at Fort Bragg, describe such exposure in detail including the

date such exposure took place, where such exposure took place, the date You first experienced

symptoms and any how You confirmed such exposure involved the alleged substance. If You are

relying on any written documents or records, identify those documents and records, and state the

material in each document which You contend demonstrates the presence of the alleged substance.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:



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       See Plaintiffs’ response to Interrogatory #5.

       Plaintiffs make reference to the facts and allegations in the Amended Complaint.
Plaintiffs are informed and believe that Defendants possess all maintenance and repair
records, including Plaintiffs’ work requests.

Supplemental Answer dated 5/6/22:

       Plaintiffs have provided information regarding their recollections as to exposures to
mold, carbon monoxide and other harmful substances while at the Corvias housing, in their
answers to the other interrogatories above. Plaintiffs respectfully direct the Defendants to
those answers.


       Interrogatory No. 9. State whether or not You have been treated by, diagnosed by, or

admitted to any hospital or other healthcare facility in the last ten (10) years and if so, state the

name of the hospital or facility, the dates of treatment, diagnosis, or admission, the illness or

condition involved and the names and addresses of the health care provider(s) who treated You.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

       The Wilkes did not make any allegations whatsoever about health effects. See FAC
¶¶ 143-157. They are hesitant to produce medical records and they feel their records are not


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necessary to support any claim they are personally making. However, they are having the
undersigned counsel to obtain their medical records. Once the undersigned counsel receives
and reviews the records with the family, Plaintiffs will further supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       Plaintiffs provided their signed revised Medical Authorizations to Defendants on May
27, 2022 and June 8, 2022.

       As to medical providers Plaintiffs have seen in the last 10 years, Plaintiffs recall the
following:

In Springfield, TN, and from 2012-2014, Ashley was seen for dental work. She also may have
gone to an urgent care center. She does not recall the names of the providers, the doctors
seen, or the location of the provider office; but even then, it would’ve been before 10-year
mark.

At Fort Campbell, Christopher saw multiple military doctors at Blanchfield Army
Community Hospital. He does not remember the doctors’ names.

In Clarksville, TN, Ashley saw midwives/OBGYN at Vanderbilt center for women’s health
in Springfield TN. As a part of this, she saw multiple midwives through birth and post-
partum and one doctor. She cannot remember any of their names.

In Clarksville, TN, Christopher saw military doctors at Blanchfield Army Medical Center.
He does not remember any of the doctors’ names.

In Clarksville, TN,         saw the following providers: Dr. Hunter Butler at Pleasant View
Children’s Clinic. It is important to note that she was seen by this same doctor at two of the
Pleasant View Children’s Clinic’s locations (Springfield and Clarksville). It is Ashley’s
recollection that this clinic is tied to Vanderbilt and all of the medical records would be
obtained from one location.          possibly had 2 ER visits to Blanchfield Army Community
Hospital as well. No other information is recalled about the providers.

In Fort Bragg, Ashley saw the following providers: Midwives at Baby & Co in Cary, NC, one
visit to Womack Army Medical Center Labor and Delivery, and, OBGYN/NP at Fayetteville
Women’s Health in Fayetteville, NC. One of the midwife’s names was Jualeah Earl (certified
nurse and midwife). She does not remember any of the other provider names.

In Fort Bragg, Christopher saw Womack Army Medical Center doctors. They do not
remember any of the doctors’ names.

In Fort Bragg,      saw the following providers: Dr. Caban at Phycinity PLLC, and he had
to go to the Womack Medical Center ER one time (they do not remember doctor’s name).




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                                                                                      Redacted - Confidential

In Fort Bragg,        saw the following providers: Dr. Caban at Phycinity PLLC.        also
had a referral to see a pediatric orthopedic surgeon at Duke first and then UNC Chapel Hill
for a second opinion. They cannot remember the names of the treating doctors.

In Germany: the Wilkes family all saw their PCMs at Wiesbaden Health Clinic. These
doctors have changed and they are not certain of the doctors’ names. Also, Christopher,
Ashley and         have been seen at Landstuhl Regional Medical Center. They do not recall
the names of the treating doctors, except for one. Christopher just had surgery in November
- Dr. Shray was the treating doctor (pediatrist – foot surgery).

       Interrogatory No. 10. State whether You have undergone a physical examination in the

last ten (10) years. If so, state the date of any such examination, where it was conducted, who

conducted the examination and whether there is a report or other Document concerning such

physical examination.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

       The Wilkes did not make any allegations whatsoever about health effects. See FAC
¶¶ 143-157. They are hesitant to produce medical records and they feel their records are not
necessary to support any claim they are personally making. However, they are having the
undersigned counsel to obtain their medical records. Once the undersigned counsel receives
and reviews the records with the family, Plaintiffs will further supplement this response.




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       Interrogatory No. 11. State whether You have consulted any health care provider in the

past ten (10) years. If so, specify in detail the nature of the condition for which You consulted the

health care provider and the name and address of each health care provider who provided treatment

for the condition.


       Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

       The Wilkes did not make any allegations whatsoever about health effects. See FAC
¶¶ 143-157. They are hesitant to produce medical records and they feel their records are not
necessary to support any claim they are personally making. However, they are having the
undersigned counsel to obtain their medical records. Once the undersigned counsel receives
and reviews the records with the family, Plaintiffs will further supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 12. State whether You ever experienced any respiratory conditions,

breathing difficulties, asthma, allergies, headaches, skin conditions, chronic nasal congestion,

chronic sinus infections, or lead poisoning symptoms. If so, describe the treatment You received



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for such condition, including the name and address of each healthcare provider who treated you,

the time period in which you were treated, and any prescription or over-the-counter medications

taken to treat such conditions.


          Answer:

        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

          Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

       The Wilkes did not make any allegations whatsoever about health effects. See FAC
¶¶ 143-157. They are hesitant to produce medical records and they feel their records are not
necessary to support any claim they are personally making. However, they are having the
undersigned counsel to obtain their medical records. Once the undersigned counsel receives
and reviews the records with the family, Plaintiffs will further supplement this response.

SUPPLEMENTAL ANSWER DATED 7/8/2022:

          See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


          Interrogatory No. 13. Describe the injuries You contend You sustained as a result of the

Your military housing experience at Fort Bragg. If you claim You are still afflicted with or

suffering from the effects of any such injury, describe Your claim and all supporting evidence in

detail.



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       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Plaintiffs during the pertinent times suffered discomfort, annoyance, irritation and
loss of use of their ability to enjoy their property. See In re NC Swine Farm Nuisance Litig.,
No. 5 7:14-cv-00180-BR (E.D.N.C.), jury instructions filed at Doc. 262, on April 26, 2018, at
p. 14 (private nuisance jury instruction for damages: “The plaintiffs claim that the
interference with the use and enjoyment of his or her property has caused him or her anger,
embarrassment, annoyance, inconvenience, decreased quality of life, and/or physical and
mental discomfort. There is no fixed formula for placing a value on these alleged harms. You
will determine what is fair compensation by applying logic and common sense to the
evidence.”).

      Plaintiffs further suffered from a loss of the comfort, quiet and enjoyment and
habitability of their rented premises during the pertinent times.

        Plaintiffs further suffered from the injury of not getting the benefit of their bargain
with regard to their rented housing. During the pertinent times, the Plaintiffs duly and
timely paid any and all rent that was due and owing for their rented Corvias military housing
home. However, they did not receive the quality of rented housing to which they were
entitled and for which, with their limited means, they paid.

Supplemental Answer dated 5/6/22:

       The Wilkes did not make any allegations whatsoever about health effects. See FAC
¶¶ 143-157. They are hesitant to produce medical records and they feel their records are not
necessary to support any claim they are personally making. However, they are having the
undersigned counsel to obtain their medical records. Once the undersigned counsel receives
and reviews the records with the family, Plaintiffs will further supplement this response.




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SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 14. If You were treated, attended or examined by any physician(s) or

others for the injuries identified in responses to Interrogatories 12-13, state the names and

addresses of all such persons and the nature of the medical treatment given by each physician or

other person. If any diagnostic tests were performed, state the type of test performed, name and

address of the place where it was performed, date each test was performed and what each test

disclosed.


       Answer:


        Objection. Plaintiffs are not claiming personal injury damages and do not intend to
adduce expert medical causation or treating provider testimony at trial with regard to
allegations of any diagnosed medical disease or illness caused to the Plaintiffs by the exposure
to the harmful conditions at the Fort Bragg home. Rather, Plaintiffs are seeking, inter alia,
allowable damages for private nuisance, including for their discomfort, annoyance and loss
of use and enjoyment of their home during the pertinent times. See In re NC Swine Farm
Nuisance Litig., Master Case No. 5:15-CV-00013-BR, 2017 U.S. Dist. LEXIS 92674, 2017 WL
11575366 (E.D.N.C. June 16, 2017) (finding that nuisance claim regarding effects of living
with unpleasant swine farm odor did not require medical expert testimony). Accordingly,
Plaintiffs should not be obligated to cooperate with intrusive medical discovery.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs are willing to meet and confer with Defendants for purposes of facilitating
appropriately limited medical records discovery. However, broad medical discovery such as
in a personal injury case is not appropriate herein.

Supplemental Answer dated 5/6/22:

       The Wilkes did not make any allegations whatsoever about health effects. See FAC
¶¶ 143-157. They are hesitant to produce medical records and they feel their records are not
necessary to support any claim they are personally making. However, they are having the
undersigned counsel to obtain their medical records. Once the undersigned counsel receives
and reviews the records with the family, Plaintiffs will further supplement this response.




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SUPPLEMENTAL ANSWER DATED 7/8/2022:

       See Plaintiffs’ Answer to Interrogatory 9 above, as supplemented.


       Interrogatory No. 15. Identify any communications, whether written or oral, You had

with any person, including but not limited to other residents of Fort Bragg, environmental

consultants, and members and civilian employees of the Army, media outlet, or federal, state or

local government agency, official, staff member or employee wherein you discussed any alleged

housing issues at Fort Bragg, including but not limited to mold, health or habitability issues.


       Answer:

       Objection. This Interrogatory is vague and overly broad. Plaintiffs cannot possibly
remember and recount each and every conversation, written or oral, that they had over the
course of multiple years, let alone the topic of each conversation.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #5.

        Defendants are believed to have records kept in the normal course of business and
reflecting numerous of the complaints and relevant communications from, to and with the
Plaintiffs, or either of them.

Supplemental Answer dated 5/6/22:

       Plaintiffs described their interactions and communications that they could recall with
regard to their housing at Fort Bragg, in their response to the interrogatories above. They
respectfully direct Defendants to those responses.


       Interrogatory No. 16. If You have ever been convicted or pleaded guilty, no contest, or

entered an Alford plea to an offense punishable by imprisonment of more than one year or any

crime of dishonesty or false statement, regardless of the punishment actually imposed, please state

the date of each conviction or plea, the name and location of the court in which You were convicted




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or pleaded in, and the crime of which you were convicted or pleaded guilty, no contest, or entered

an Alford plea to.


       Answer:


       Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence. Plaintiffs further
object that the scope of the request is unlimited in time. Plaintiffs further object to the extent
the discovery requests would purport to elicit information on old matters or misdemeanor
matters with no potential relevance herein.

       Without waiving any objections:

       Not applicable.

       Interrogatory No. 17. Identify each person whom You may call as an expert witness at

trial. With respect to each expert, state his or her name and address, the subject matter on which

the expert is expected to testify, the substance of the facts and opinion to which the expert is

expected to testify, and a summary of the grounds for each opinion.


       Answer:


       Objection. The time for the Plaintiffs to be obligated to name any of their experts in
this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their expert witnesses in this matter.

       Plaintiffs reserve the right to supplement this response in due course.

       Interrogatory No. 18. List any photographs, diagrams, or other exhibits which you or

your attorney have which you will or may introduce at trial.




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       Answer:

         Objection. The time for the Plaintiffs to be obligated to determine and disclose their
list of exhibits for trial in this matter has not yet arrived.

       Without waiving any objections, Plaintiffs state:

       Plaintiffs have not yet selected their exhibits in this matter.

       Plaintiffs reserve the right to supplement this response in due course.


       Interrogatory No. 19. Have You ever been named as a plaintiff or defendant in any type

of litigation other than this lawsuit? If so, please state the name, county court or federal district,

and case number as well as the outcome of the litigation.


       Answer:


      Objection. Plaintiffs object to the extent that the discovery requests is overly broad,
unduly burdensome, unlimited in time, and otherwise harassing and seeking of irrelevant
information that is not likely to lead to the discovery of relevant evidence.

       Without waiving any objections:

       No.


       Interrogatory No. 20. Please state the full names and dates of birth of any person who

resides, or resided at the time period of the allegations contained in the Amended Complaint, with

You at Fort Bragg.


       Answer:

       Objection. Plaintiffs wish to safeguard relevant information regarding their minor
children.

       Without waiving any objections, Plaintiffs state:

       No other individuals resided with Plaintiffs’ family during the relevant times.




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Supplemental Answer dated 5/6/22:

       The names of Plaintiffs’ minor children are:




       The family lived at 1480 Trainer Rd Clarksville, TN when           was born.

       They lived at 112 Hirsch Ft Bragg when           was born.

       Interrogatory No. 21. Itemize and show how you calculate any damages claimed by You

in this Action, whether economic, non-economic, or other.


       Answer:

     Objection. This interrogatory calls for a legal conclusion and attorney work product.
Moreover, Plaintiffs have not formulated a settlement demand at this stage.

       Without waiving any objections, Plaintiffs state:

       See Plaintiffs’ response to Interrogatory #13.

Supplemental Answer dated 5/6/22:

       Actual damages will be calculated in accordance with the allowable categories of
damages under the North Carolina Pattern Jury Instructions and/or traditional jury
instructions for whichever causes of action the Court may allow to go to trial. Contract
damages could be measured by the total amount of the BAH rent paid by the soldier or on
his behalf, or some percentage thereof, on the theory that the soldier paid to receive decent
accommodations, did not receive them, and did not receive the benefit or the bargain.
Damages for private nuisance would include damages for discomfort, annoyance, irritation,
annoyance, and loss of use and enjoyment. Damages for breach of the warranty of
habitability may include via the measure of damages by the difference between the value of
the rented premises in its uninhabitable condition and its fair market rental value otherwise.
Under Chapter 75, a prevailing plaintiff may be entitled to three times actual damages.

       Plaintiffs reserve the right to supplement to the extent they are able to identify
damages in other respects including out of pocket expenses; moving expenses; costs
associated with relocating to a new home that would not otherwise have been expended;
values of lost or damaged clothing, linens or furniture; etc.

      Plaintiffs do not claim lost wages or lost income (e.g., taking time away from work
because of the conditions at the home, and suffering lost wages as a result).



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       Plaintiffs reserve the right to allege other claims including but not limited to punitive
damages if the discovery so supports in assessing the gravity of the fraud and recklessness-
related allegations in the complaint, e.g. regarding the work order process and purported
tenant customer service facility of the enterprise.




Date: July 8, 2022.                         Respectfully submitted,

                                            s/John Hughes
                                            Mona Lisa Wallace
                                            NC State Bar No. 009201
                                            John Hughes
                                            NC State Bar No. 22126
                                            WALLACE & GRAHAM, PA
                                            525 N. Main Street
                                            Salisbury, North Carolina 28144
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                                            Rmetro@bauerandmetro.com
                                            Appearing pursuant to Local Rule 83.1(e)

                                            Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022, I served this document on counsel for the Defendants

herein, by email, as follows:

                                      Mark P. Henriques
                                      Matthew F. Tilley
                           WOMBLE BOND DICKINSON (US) LLP
                               3500 One Wells Fargo Center
                                  301 South College Street
                            Charlotte, North Carolina 28202-6025
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                            E-mail: Matthew.Tilley@wbd-us.com

                                       Thomas J. Yoo
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                                  400 S. Hope St., 8th Floor
                                   Los Angeles, CA 90071
                                  Thomas.Yoo@hklaw.com

                                        Jessica L. Farmer
                                 HOLLAND & KNIGHT LLP
                                800 17th Street, N.W., Suite 1100
                                    Washington, D.C. 20006
                                  Jessica.Farmer@hklaw.com

Date: July 8, 2022.                         Respectfully submitted,

                                            s/John Hughes
                                            Mona Lisa Wallace
                                            NC State Bar No. 009201
                                            John Hughes
                                            NC State Bar No. 22126
                                            WALLACE & GRAHAM, PA
                                            525 N. Main Street
                                            Salisbury, North Carolina 28144
                                            Telephone: 704-633-5244
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                                            jhughes@wallacegraham.com




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                                                       VERIFICATION
            I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
            correct:
                    1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                       personal knowledge.

                    2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                       for the housing at Fort Bragg.

                    3. From time to time, I have provided information to my lawyers to prepare
                       “interrogatory responses.”

                    4. I have now been asked to verify that as to the responses being served, the information
                       that is in them that came from me or that I know personally, in fact is true to the best
                       of my knowledge. I have gone over these interrogatory responses.

                    5. Where those responses contain facts about my family or me personally and other facts
                       of which I have personal knowledge, I swear and affirm under penalty of perjury that
                       those facts and statements are true to the best of my knowledge.

                    6. Where the facts are based on information provided by other people, I state that I
                       believe that information to be true.

                    7. Where the facts are about other things like facts learned from public records, I am
                       relying on my attorneys and the investigation that my attorneys did.

                    8. I declare under penalty of perjury that the foregoing is true and correct.


            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Ashley Wilkes

                     7/8/2022
            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Christopher Wilkes




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                                                       VERIFICATION
            I, pursuant to 28 U.S.C. § 1746 hereby declare under penalty of perjury the following is true and
            correct:
                    1. I am a competent adult, over the age of eighteen, and this Declaration is based on my
                       personal knowledge.

                    2. I am a Plaintiff in the military housing lawsuit brought against the Corvias enterprise
                       for the housing at Fort Bragg.

                    3. From time to time, I have provided information to my lawyers to prepare
                       “interrogatory responses.”

                    4. I have now been asked to verify that as to the responses being served, the information
                       that is in them that came from me or that I know personally, in fact is true to the best
                       of my knowledge. I have gone over these interrogatory responses.

                    5. Where those responses contain facts about my family or me personally and other facts
                       of which I have personal knowledge, I swear and affirm under penalty of perjury that
                       those facts and statements are true to the best of my knowledge.

                    6. Where the facts are based on information provided by other people, I state that I
                       believe that information to be true.

                    7. Where the facts are about other things like facts learned from public records, I am
                       relying on my attorneys and the investigation that my attorneys did.

                    8. I declare under penalty of perjury that the foregoing is true and correct.

                       7/8/2022
            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Ashley Wilkes


            Dated: ________________________________
            Signature: _____________________________________
            Printed name: Christopher Wilkes




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